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             8                                       UNITED STATES DISTRICT COURT
             9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                               SAN FRANCISCO DIVISION
           11
           12
                 Dmitry Dolgov,                                                Case No. 3:20-cv-7140
           13
                                                                               COMPLAINT FOR CONSPIRACY TO
           14                            Plaintiff,                            CONDUCT AND CONDUCTING
                                                                               ENTERPRISE’S AFFAIRS THROUGH
           15                                                                  A PATTERN OF RACKETEERING
                                                                               ACTIVITY IN VIOLATION OF 18
           16                    v.                                            U.S.C. §§ 1962(d) AND (c) (RICO),
                                                                               CRYPTOCURRENCY MARKET
           17                                                                  MANIPULATION IN VIOLATION OF 7
                                                                               U.S.C. § 9(1) (USE OF DECEPTIVE OR
           18    HDR Global Trading Limited (A.K.A.                            MANIPULATIVE DEVICE), 7 U.S.C. §§
                 BitMEX), ABS Global Trading Limited,                          9(3) AND 13(a)(2) (PRICE
           19    Grape Park LLC, Mark Sweep LLC,                               MANIPULATION), PRINCIPAL
                 Unknown Exchange, Arthur Hayes, Ben Delo,                     AGENT LIABILITY, AIDING AND
           20    Samuel Reed, Agata Maria Reed (A.K.A.                         ABETTING PRICE MANIPULATION
                 Agata Maria Kasza), Barbara A. Reed and                       IN VIOLATION OF 7 U.S.C. § 25(a)(1),
           21    Trace L. Reed,                                                NEGLIGENCE, FRAUD, CIVIL
                                                                               CONSPIRACY, UNFAIR BUSINESS
           22                                                                  PRACTICES IN VIOLATION OF CAL.
                                         Defendants.                           BUS. & PROF. CODE §§ 17200 ET SEQ,
           23                                                                  UNJUST ENRICHMENT
                                                                               (RESTITUTION), CONSTRUCTIVE
           24                                                                  TRUST, ACCOUNTING AND
                                                                               CONVERSION
           25
                                                                               DEMAND FOR JURY TRIAL
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           27
           28
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  ATTORNEYS           COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -1-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                                                                          COMPLAINT
             2
                        Plaintiff Dmitry Dolgov (“Dolgov”) (“Plaintiff”), by and through his undersigned
             3
                 attorneys, for his Complaint against Defendant HDR Global Trading Limited (“HDR”),
             4
                 Defendant ABS Global Trading Limited (“ABS”), Defendant Grape Park LLC (“Grape Park”),
             5
                 Defendant Mark Sweep LLC (“Mark Sweep”), Defendant Unknown Exchange (“Unknown
             6
                 Exchange”), Defendant Arthur Hayes (“Hayes”), Defendant Ben Delo (“Delo”), Defendant
             7
                 Samuel Reed (“Reed”), Defendant Agata Maria Reed (A.K.A. Agata Maria Kasza) (“Agata
             8
                 Reed”), Defendant Barbara A. Reed (“Barbara Reed”) and Defendant Trace L. Reed (“Trace
             9
                 Reed”) (collectively “Defendants”) alleges as follows:
           10
                                                        INTRODUCTION
           11          “It just costs more to bribe them.” Defendant Arthur Hayes (about U.S. authorities).
           12           1.         Plaintiff Dolgov is informed and believes and thereon alleges that popular
           13    cryptocurrency derivatives exchange platform called Bitcoin Mercantile Exchange or BitMEX
           14    (“BitMEX” or “BitMEX platform”) owned and operated from within this District by Defendants
           15    ABS, HDR, Hayes, Delo and Reed, and each of them, in a brazenly lawless manner, was
           16    deliberately designed from ground up with the purpose to engage in, facilitate, aid, abet, counsel,
           17    induce and/or procure a myriad of illegal activities including, without limitation, racketeering in
           18    violation of 18 U.S.C. §§ 1962(d) and (c) (RICO), wire fraud in violation of 18 U.S.C. § 1343;
           19    money laundering in violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in
           20    property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting,
           21    controlling, managing, supervising, directing, or owning all or part of an unlicensed money
           22    transmitting business in violation of 18 U.S.C. § 1960(a), interstate transportation of stolen
           23    property in violation of 18 U.S.C. § 2314 and cryptocurrency market manipulation in violation of
           24    the Commodity Exchange Act (the “CEA”), 7 U.S.C. §§ 1 et seq. (2012) and Commodity Futures
           25    Trading Commission (“CFTC”) Regulations (“Regulations”) promulgated thereunder, 17 C.F.R.
           26    §§ 1 et seq. (2018). Defendants, and each of them, specifically designed BitMEX to financially
           27    benefit from the alleged racketeering activity and other unlawful conduct, earning Defendants
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -2-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 billions of dollars in illicit profits, Ex. 1, 2, 3.
             2
                         2.         On October 1, 2020, Defendants Hayes, Delo and Reed were indicted by United
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                 States Department of Justice on felony charges of violating the Bank Secrecy Act and conspiring
             4
                 to violate the Bank Secrecy Act, by willfully failing to establish, implement, and maintain an
             5
                 adequate anti-money laundering (“AML”) program at BitMEX. In announcing the indictment,
             6
                 Ex. 4, FBI Assistant Director William F. Sweeney Jr. said: “As we allege here today, the four
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                 defendants, through their company’s BitMEX crypto-currency trading platform, willfully violated
             8
                 the Bank Secrecy Act by evading U.S. anti-money laundering requirements. One defendant went
             9
                 as far as to brag the company incorporated in a jurisdiction outside the U.S. because bribing
           10
                 regulators in that jurisdiction cost just ‘a coconut.’ Thanks to the diligent work of our agents,
           11
                 analysts, and partners with the CFTC, they will soon learn the price of their alleged crimes will
           12
                 not be paid with tropical fruit, but rather could result in fines, restitution, and federal prison time."
           13
                 Defendant Reed was apprehended by the FBI in Boston, Massachusetts. Defendants Hayes and
           14
                 Delo remain at large and are currently fugitives wanted by the U.S. Government.
           15
                         3.         On the same day, the CFTC announced the filing of a civil enforcement action in
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                 the U.S. District Court for the Southern District of New York charging Defendants HDR, ABS,
           17
                 Hayes, Delo and Reed with operating an unregistered trading platform and violating multiple
           18
                 CFTC Regulations, including failing to implement required anti-money laundering procedures.
           19
                 The CFTC complaint is attached hereto as Ex. 5 and all allegations therein are made part hereof.
           20
                         4.         Among those charged were company owners Defendants Hayes, Delo, and Reed,
           21
                 who operate BitMEX’s platform through a maze of corporate entities, including Defendants HDR
           22
                 and ABS. BitMEX’s platform has received more than $11 billion in bitcoin deposits and made
           23
                 more than $1 billion in fees, while conducting significant aspects of its business from the U.S.
           24
                 and accepting orders and funds from U.S. customers.
           25
                         5.         The key facts of the racketeering scheme run by Defendants are rather simple and
           26
                 easy to understand. In 2014, Defendants launched the bitcoin derivatives trading platform
           27
                 BitMEX, which enables traders to place bets on direction of cryptocurrency prices. In designing
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -3-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 their platform, Defendants decided to sidestep any financial controls mandated by the traditional
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                 banking system by transacting only in bitcoin and refused to implement any know your customer
             3
                 (KYC) or anti-money laundering (AML) checks what so ever, Ex. 1. In other words, Defendants
             4
                 would open account and accept unlimited funds from anyone, without a single question asked.
             5
                        6.         In fact, one can open an account, deposit unlimited funds and start trading without
             6
                 furnishing a single document, all is required is a user name and email address, which are not
             7
                 verified by BitMEX in any way. The entire account registration and funding process takes about
             8
                 10 minutes and no documents are even looked at. Understandably, because of total lack of
             9
                 controls of any kind, hackers, tax evaders, money launderers, smugglers, drug dealers all flocked
           10
                 to BitMEX flooding the platform with hot money, Ex. 1. A recent and very telling example is the
           11
                 infamous Twitter hacker, who turned out to be a BitMEX trader, Ex. 6.
           12
                        7.         Having a large pool of hot money at their disposal, Defendants designed the
           13
                 internal workings of their trading platform to enable, encourage and benefit from money
           14
                 laundering and market manipulation. It all has to do with anonymity, lack of trading limits, high
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                 leverage and how the index price for bitcoin derivatives is calculated. Defendants deliberately
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                 designed this index price to be based on bitcoin spot price on two or three illiquid bitcoin spot
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                 exchanges. Illiquid in this context means that, to precipitously move bitcoin price on those
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                 exchanges, relatively small market orders will suffice. Therefore, a relatively small market order
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                 on a spot exchange results in a relatively large bitcoin index price move on the very liquid
           20
                 BitMEX.
           21
                        8.         A money launderer (Defendants) would open two exchange accounts – a helper
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                 account on one or more exchanges used by BitMEX to calculate its index price (Coinbase Pro,
           23
                 Kraken and BitStamp) and a winner account on BitMEX. The money launderer (Defendants)
           24
                 would then enter into a large leveraged derivatives position on BitMEX and immediately execute
           25
                 market orders from the helper account with maximum slippage to move the index price in a
           26
                 favorable direction, Ex. 2, 3, 7. Due to disparity in liquidity between BitMEX and the spot
           27
                 exchanges, the aforesaid deliberate design of the index price by Defendants, and the cascading
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -4-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 liquidations of leveraged trader positions on BitMEX, the amount spent from the helper account
             2
                 is multiplied greatly and translates into outsized profit in the winner account on BitMEX, Ex. 2,
             3
                 3, 7. Because BitMEX accounts are by design anonymous, the laundered money cannot be traced
             4
                 from the helper account to the winner account. Thus, the money laundering proceeds in the
             5
                 winner account on BitMEX appear as legitimate trading gains and the money laundering scheme
             6
                 achieves its purpose. The described money laundering and other nefarious acts are well
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           22    documented and take place on BitMEX almost daily, Ex. 2, 3, 7. Moreover, to exacerbate the
           23    described price manipulations, BitMEX intentionally locks users out of their accounts during
           24    manipulation times, falsely telling the users that their “system is overloaded”.
           25           9.         Defendants’ own Leaderboard, which lists the most profitable trading accounts on
           26    BitMEX, is replete with evidence of market manipulation and money laundering. For example,
           27    BitMEX’s Leaderboard account under assumed name Quick-Grove-Mind shows multimillion-
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -5-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 dollar profit spikes, which exactly match known market manipulation events, while entirely
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           19    avoiding any and all trading losses. Notably, Defendants’ own data shows that this market
           20    manipulator generated over $30,000,000 in profit during three market manipulation events that
           21    took place on September 24, 2019, November 18-19, 2019 and March 11-12, 2020, at the expense
           22    of retail traders, including Plaintiff. In view of the fact that to generate $30,000,000 in profit, the
           23    trader would need to open at least $100,000,000 leveraged position on the BitMEX platform,
           24    Plaintiff Dolgov is informed and believes and thereon alleges that the Leaderboard account under
           25    the assumed name Quick-Grove-Mind was a market manipulation winner account used by one of
           26    the individual Defendants Hayes, Delo or Reed.
           27           10.        BitMEX directly participates in and financially benefits from the market
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -6-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 manipulation and money laundering through its internal trading desk and indirectly, by collecting
             2
                 increased trading fees and also by liquidating users’ accounts. Specifically, BitMEX knowingly
             3
                 collects high trading fees for the above money laundering transactions, which constitute
             4
                 “proceeds” of money laundering under 18 U.S.C. §§ 1956 and 1957 and which are deposited into
             5
                 its general account (bitcoin wallet), from which it pays all its employees and even its attorneys
             6
                 (after currency conversion). Thus, the salaries of all BitMEX employees as well as legal fees
             7
                 paid to its lawyers are tainted with the proceeds of money laundering in violation of 18 U.S.C.
             8
                 §§ 1956 and 1957.
             9
           10    Manipulation        Manipulative Conduct Involved                         Place of Manipulative Conduct
                   Component
           11    Helper            Defendants deliberately moved                     BitStamp, Coinbase Pro and Kraken, all
           12    Component         BitMEX’s .BXBT index price by                     located in the United States
                                   placing large market orders with
           13                      maximum slippage from helper
                                   accounts on three illiquid exchanges
           14                      that are used by BitMEX to calculate
                                   .BXBT index
           15
                 The deliberate BitMEX’s .BXBT index price move                      BitMEX, having the majority of cloud
           16    by Defendants directly and proximately caused                       service providers, employees,
                 liquidation cascades on Kraken and BitMEX that                      engineering and software development
           17    resulted in Plaintiff’s swap positions on those                     team and the nerve center of operations
                 exchanges to be liquidated, resulting in monetary                   in this District and Kraken, also located
           18    damages as alleged herein.                                          in this District.
           19
           20    Winner               Defendants capturing multiplied                BitMEX, having the majority of cloud
                 Component            (due to disparity in liquidity)                service providers, employees,
           21                         manipulation profits caused by the             engineering and software development
                                      deliberate .BXBT index price move              team and the nerve center of operations
           22                         using winner account(s) on BitMEX.             in this District.
           23    Facilitation         Defendants freezing BitMEX                     This District, where all three site
                 Component            servers and accepting orders on only           reliability engineers Jerry Aldrich, Scott
           24                         one side of the market to exacerbate           H. and Armando Cerna of BitMEX, who
                                      the price moves during manipulation            are responsible for the trading platform
           25                         times                                          uptime and server freezes, are located
                                                                                     and who personally perpetrated the
           26
                                                                                     BitMEX server freezes.
           27           11.        In the described money laundering scheme, the market manipulation gains realized
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -7-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 by the launderer (Defendants) in the winner account and the funds confiscated by BitMEX as the
             2
                 result of liquidations induced by the launderer are generated at the expense of Plaintiff and other
             3
                 cryptocurrency traders like Plaintiff. Notably, BitMEX deposits proceeds from the user account
             4
                 liquidations into its so called “Insurance Fund,” which has steadily grown over the years and now
             5
                 amounts to over $427,000,000 dollars, all misappropriated from traders, including Plaintiff.
             6
                        12.        Moreover, BitMEX has been recently caught red-handed doing at least
             7
                 $70,000,000 of business in New York and California without obtaining a money transmitting
             8
                 license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.
             9
                 § 1960(a), see Paragraph 106, Ex. 8. This violation has been conclusively proven using
           10
                 BitMEX’s own Leaderboard, see Paragraph 106. Even Defendants themselves acknowledged this
           11
                 fact by hastily instituting a “User Verification Programme” less than 48 hours after being caught
           12
                 doing unlicensed business in the United States, Ex. 9. In total, BitMEX has 65 individual and 14
           13
                 institutional United States traders that Plaintiff are aware of, without having any benefit of
           14
                 discovery, see Paragraphs 91, 92 and 97. The amount of $70,000,000 of unlicensed United States
           15
                 business exceeds any possible threshold for the obligation to obtain the money transmitting
           16
                 license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella, 39 F. Supp. 3d 544
           17
                 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was $1,000,000 in
           18
                 unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.Mo. 2017), the
           19
                 threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed bitcoin
           20
                 transmissions. Based on these cases, Defendants have exceeded the legal threshold for triggering
           21
                 18 U.S.C. § 1960(a) liability by a factor of 2,333x (two thousand three hundred thirty three
           22
                 times). Consequently, all the funds that BitMEX collected from its trading operations and
           23
                 deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
           24
                 business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
           25
                 in violation of 18 U.S.C. §§ 1956 and 1957, as explained above).
           26
                        13.        Awash with large amounts of tainted cash and encouraged by perceived lack of
           27
                 any accountability, Defendants grew so brazen that they do not even hesitate to publicly admit to
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -8-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 bribery and bank fraud, Ex. 10, 11. Despite the fact that the vast majority of personnel and
             2
                 managers are located in this District, to avoid being subject to United States laws, regulations and
             3
                 taxes, Defendants established 12 false shell companies, including Defendant ABS, with intent to
             4
                 create an appearance that Defendant HDR has no presence, operations or investors in regulated
             5
                 jurisdictions such as the United States.
             6
                        14.        The sheer magnitude of Defendants’ unlawful activity is truly staggering. In
             7
                 addition to being recently caught red-handed doing at least $70,000,000 of business in New York
             8
                 and California without obtaining a money transmitting license, see Paragraphs 106 and 107
             9
                 below, which by itself conclusively establishes the violation of 18 U.S.C. § 1960(a) by Defendant
           10
                 HDR1, “[s]everal sources close to the company” have disclosed to media sources that nearly 15
           11
                 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is attributable to
           12
                 traders located in the United States. Moreover, Defendant HDR’s high volume business with
           13
                 numerous residents of the United States and this District as alleged in detail below is vast and
           14
                 pervasive. Accordingly, Defendants were unquestionably on notice of the need to obtain a money
           15
                 transmission license in the United States, which Defendants willfully and deliberately failed to
           16
                 do. Therefore, according to Defendants’ own data, Defendant HDR’s unlicensed money
           17
                 transmitting business admittedly processed, on average, $3 billion of illegal and unlicensed
           18
                 money transfers each day, all in violation of United States federal statute 18 U.S.C. § 1960(a),
           19
                 which is the record volume for such unlawful activity in the entire history of the monetary
           20
                 regulation in the United States.
           21
                        15.        A combination of providing traders with extremely high trading leverage (up to
           22
                 100x), using .BXBT index price for highly liquid perpetual swap contracts calculated based on
           23
                 prices of two or three illiquid spot exchanges, enabling manipulators and money launderers to
           24
                 avoid detection by providing them with the ability to open unlimited number of anonymous
           25
                 1
           26      In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
                 U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27    Klein, 6:17-cr-03056 (W.D.Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less
                 than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants exceeded the
           28    legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x.
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   -9-    DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 document check-free trading accounts without any trading and withdrawal limits, weaponizing
             2
                 deliberate server freezes, using fraudulent “system overload” events to accept some trading orders
             3
                 and reject others during large market moves to exacerbate price fluctuations and cause the most
             4
                 liquidations all make BitMEX an exquisite “designer” tool for unsavory actors to launder funds
             5
                 and manipulate cryptocurrency markets. Because of the very high derivatives trading volume on
             6
                 BitMEX, the artificial prices caused by the BitMEX manipulations spread, like forest fires, from
             7
                 BitMEX to other exchanges wreaking havoc on the entire cryptocurrency ecosystem, costing
             8
                 traders and investors billions of dollars in losses and resulting in a domestic injury in the United
             9
                 States (“Domestic Injury”).
           10
                        16.        Moreover, on April 30, 2018, after repeated denials, Defendants finally admitted
           11
                 that BitMEX operates its own for-profit trading desk operated by an employee of Defendant
           12
                 HDR, a Ukrainian national Nick Andrianov (“Andrianov”), who, at all times relevant herein, was
           13
                 an agent and employee of Defendant HDR and who acted within the scope of his agency and
           14
                 employment with Defendant HDR. This desk trades against BitMEX’s own customers on their
           15
                 own exchange, using BitMEX’s inside information about its customers’ existing trading
           16
                 positions, stop loss orders, liquidation prices and open orders and enjoys many other unfair
           17
                 advantages not available to other users of the BitMEX platform. While making money trading
           18
                 against BitMEX’s own customers, this operation, which Defendants refer to as “anchor market
           19
                 maker,” receives many special trading privileges that are not available to other exchange users.
           20
                 This creates even greater financial incentive for Defendants to manipulate cryptocurrency markets
           21
                 and financially benefit from the manipulations through the aforesaid for-profit trading desk
           22
                 operation.
           23
                        17.        A substantial portion of the bitcoin-denominated proceeds of market manipulation,
           24
                 money laundering, operating unlicensed money transmitting business and multitude of various
           25
                 other nefarious acts taking place on the BitMEX platform were subsequently laundered and
           26
                 continue to be laundered, by all Defendants, through the Defendant Unknown Exchange, by
           27
                 means of converting bitcoins into various traditional (“fiat”) currencies, including United States
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 10 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                 dollars and Hong Kong dollars, and by Defendants Reed, Agata Reed, Barbara Reed and Trace
             2
                 Reed, through a real estate investment scheme that they set up in Wisconsin and Massachusetts.
             3
                 For this purpose, the aforesaid Defendants employed fraudulent nominee shell companies
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                 Defendant Grape Park and Defendant Mark Sweep to disguise or conceal the true illegal nature of
             5
                 the funds in the Defendants’ general account (bitcoin wallet), which were ultimately used to
             6
                 acquire the corresponding real estate properties and the acquired real estate’s true ownership or
             7
                 control, Ex. 12, 13. Defendants Agata Reed, Barbara Reed and Trace Reed are in possession of
             8
                 two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA 02061, with
             9
                 the aggregate market value of over $2,500,000, acquired using funds misappropriated from
           10
                 Plaintiff and laundered by Defendants through the Defendant Unknown Exchange and their real
           11
                 estate investment scheme.
           12
                        18.        Despite all the claims to the contrary, Defendants HDR, Hayes, Delo and Reed
           13
                 maintain numerous close connections with the United States and this District. Defendant HDR’s
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                 own website BitMEX.com lists San Francisco as the location of one of Defendant HDR’s offices,
           15
                 where all the technology behind BitMEX has been and continues to be developed. Defendants
           16
                 use United States – based Amazon, Inc. AWS infrastructure, with offices in northern California,
           17
                 for storing all of its customer and trading data and for executing its order matching system and its
           18
                 liquidation engine. Moreover, Defendants use Redwood City, California – based SendGrid, Inc.
           19
                 for handling all their bulk email communications with its customers. Finally, Defendants’
           20
                 website BitMEX.com is a commercial website, enabling traders to enter into binding derivative
           21
                 purchase and sale contracts, through which Defendants HDR, Hayes, Delo and Reed conduct
           22
                 high-volume derivatives trading business with numerous individuals and companies residing in
           23
                 the United States, State of California and this District and which by itself is sufficient for
           24
                 subjecting Defendants to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com,
           25
                 Inc., 952 F. Supp. 1119 (W.D. Pa. 1997).
           26
           27                                                      NATURE OF ACTION
                        19.        This is an action for conspiracy to conduct and conducting enterprise’s affairs
           28
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             1
                 through a pattern of racketeering activity, arising under Racketeer Influenced and Corrupt
             2
                 Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. (2012) and for cryptocurrency market
             3
                 manipulation arising under the CEA, 7 U.S.C. §§ 1 et seq. (2012).
             4
             5                                                                PARTIES
                         20.        Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-18 above as
             6
                 if fully set forth herein.
             7
                         21.       Plaintiff Dolgov is an individual, who is a citizen of Russian Federation, and who
             8
                 also presently resides in Moscow, Russian Federation. Plaintiff Dolgov is the real party in
             9
                 interest.
           10
                         22.       Defendant HDR was created by individual Defendants in order to perpetrate fraud
           11
                 and dodge regulation and taxes and purports to be a Republic of Seychelles International Business
           12
                 Company, company number 148707, with a registered office at Suite 23, 1st Floor, Eden Plaza,
           13
                 Vistra Corporate Services Centre, Eden Island, Mahe, Seychelles. Defendant HDR was
           14
                 organized by Defendants Hayes, Delo and Reed, who are the three primary ultimate owners of
           15
                 HDR and its various subsidiaries, each holding approximately a one-third ownership interest in
           16
                 Defendant HDR, in or about 2014. Despite being incorporated in the Seychelles, Defendant HDR
           17
                 does not have, and never has had, any operations or employees in the Seychelles. Defendant HDR
           18
                 operates, or has operated during the Relevant Period, out of various locations and offices
           19
                 throughout the world, including in New York, San Francisco, Milwaukee, Hong Kong,
           20
                 Singapore, and Bermuda. When asked about the reasons for incorporating Defendant HDR in the
           21
                 Republic of Seychelles, Defendant HDR’s Chief Executive Officer (CEO) Defendant Hayes has
           22
                 publicly claimed, in July of 2019, that the government of Seychelles was cheaper to bribe than the
           23
                 government of the United States and when asked how much he had to pay Seychelles to bribe
           24
                 them, Defendant Hayes answered “a coconut”, Ex. 11.
           25
                         23.       When, in July of 2019, an early investor in BitMEX Elfio Guido Capone asked
           26
                 Defendants Hayes, Delo and Reed about a status of his investment in the BitMEX platform,
           27
                 Defendant Delo responded with a meme image, cynically suggesting that BitMEX could dodge
           28
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             1
                 its legal obligations to its own investors simply by using a shell company incorporated in the
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                 Seychelles to defeat personal jurisdiction of the United States Courts.
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           15           24.        In addition to publicly admitting to bribery of foreign government officials as

           16    alleged in the preceding Paragraphs, Defendant Hayes has publicly admitted to perpetrating bank

           17    fraud by falsifying his residence address on bank account application documents with the purpose

           18    of opening a bank account in China, to which he, as a resident of Hong Kong, was not entitled,

           19    Ex. 10. The Chinese bank account was admittedly opened by Defendant Hayes using a fake

           20    Chinese residence address, which he personally falsified, in order to enrich himself on 40%

           21    premium in the price of bitcoin in China compared to the rest of the world, Ex. 10. In

           22    perpetrating the admitted bank fraud, Defendant Hayes was motivated by personal greed.

           23           25.        Admissions of multiple instances of personal greed-motivated illegal conduct as

           24    alleged in the previous Paragraphs, attempting to dodge legitimate legal obligations to its own

           25    investors using sham offshore companies as well as the alleged patently illegal manner in which

           26    BitMEX platform operates, all establish a clear pattern of brazen lawlessness on part of all

           27    Defendants.

           28           26.        Defendant HDR is controlled by Defendants Hayes, Delo and Reed, who all hold
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             1
                 themselves out as co-founders of BitMEX. In fact, name “HDR” is an abbreviation composed of
             2
                 first letters of last names of Defendants Hayes, Delo and Reed. Defendant Hayes serves as the
             3
                 CEO of Defendant HDR. Defendant Reed serves as the Chief Technology Officer (CTO) of
             4
                 Defendant HDR.
             5
                        27.        According to BitMEX’s website (https://www.BitMEX.com) (“BitMEX
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           12    website”), its owner HDR Global Trading Limited maintains three offices throughout the world,

           13    located in San Francisco, Hong Kong and Singapore. BitMEX’s Terms of Service (“Terms of

           14    Service”), posted on the BitMEX website, provide that: “BitMEX (website:

           15    https://www.BitMEX.com) is a Bitcoin-based trading platform that is wholly owned by HDR

           16    Global Trading Limited.”

           17           28.        The San Francisco office of Defendant HDR is the largest of all three by both the

           18    employee headcount and technical staff headcount. Its addresses are 301 Battery Street, 4th

           19    Floor, San Francisco, California 94111, 340 Brannan Street, 2nd Floor, San Francisco, California

           20    94107 and/or 2 Embarcadero Center, 8th Floor, San Francisco, California 94111. Defendant

           21    HDR closed its other United States offices and consolidated all of its United States personnel into

           22    an office location in San Francisco sometime in April of 2019, as confirmed by Defendant Hayes

           23    in an email to Defendant HDR’s early investor Mr. Elfio Guido Capone stating, “Consolidation of

           24    people in one office in SF.”

           25           29.        Hong Kong office of Defendant HDR is located at 45/F, Cheung Kong Centre, 2

           26    Queen's Road Central, Hong Kong Central, Hong Kong Island, Hong Kong Special

           27    Administrative Region of the People’s Republic of China. The employee headcount in the Hong

           28    Kong office of Defendant HDR is about half of the headcount in Defendant HDR’s San Francisco
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             1
                 office. Singapore office of Defendant HDR is the smallest of all three.
             2
                        30.        Defendant HDR’s affiliates and subsidiaries, including Defendant HDR’s wholly-
             3
                 owned subsidiary and alter ego Defendant ABS, are so organized and controlled, and their affairs
             4
                 are so conducted, as to make them merely an instrumentality, agency, conduit, or adjunct of a
             5
                 single unitary BitMEX enterprise. See Las Palmas Assoc. v. Las Palmas Ctr. Assoc., 235
             6
                 Cal.App. 3d 1220, 1249 (1991). Each Defendant HDR affiliate or subsidiary is so dominated in
             7
                 its finances, policies, and practices that these controlled corporations have no separate mind, will,
             8
                 or existence of their own, and are but business conduits for their principal, Defendant HDR, such
             9
                 that all of the affiliated corporations may be deemed to be a single business enterprise. See Toho-
           10
                 Towa Co., Ltd. v. Morgan Creek Prods., Inc., 217 Cal.App.4th 1096, 1107 (2013); Greenspan v.
           11
                 LADT LLC 191 Cal.App.4th 486, 514 (2010).
           12
                        31.        On information and belief, each entity in the BitMEX enterprise functions solely to
           13
                 contribute to and develop the BitMEM.com commercial website, which revenues then flow solely
           14
                 to Defendant HDR and its owners. These entities are analogous to departments within a single
           15
                 corporation and are run as such. On information and belief, each sub-entity in the BitMEX
           16
                 enterprise is funded solely by revenues provided by Defendant HDR.
           17
                        32.        Further, as Defendant Hayes has explained in a publicly filed sworn declaration, as
           18
                 CEO of Defendant HDR, he is “advised by an advisory body currently comprised of twelve
           19
                 individuals responsible for different departments within the HDR Group.” (emphasis added).
           20
                 Hayes labels Defendant HDR and its affiliates collectively as the “HDR Group” as opposed to the
           21
                 BitMEX enterprise, but in function the entities operate as a single corporate enterprise, and they
           22
                 may be properly held to account for each other’s wrongdoing.
           23
                        33.        Defendant Hayes himself has also admitted that the BitMEX enterprise entities are
           24
                 really a single entity. In a Monthly Report circulated on March 2, 2018, Defendant Hayes wrote
           25
                 “Ben [Delo], Sam [Reed], and myself are very excited to host the entire company at our Hong
           26
                 Kong office from March 12th – 25th. Given the rapid and continued growth in terms of headcount
           27
                 in 2017 and 2018, this offsite is our first chance to bond as a company.” (emphasis added).
           28
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             1
                        34.        All of this notwithstanding that Defendant HDR has submitted in multiple public
             2
                 filings that its only offices are in the Seychelles. It claims the offices in Hong Kong belong to
             3
                 another BitMEX-affiliated entity.
             4
                        35.        On April 11, 2018, Defendant Hayes wrote again to say that the Hong Kong
             5
                 “company offsite was a resounding success. Ben, Sam, and I were delighted to meet many of you
             6
                 for the first time. We continue to be amazed at the quality of people that work for the
             7
                 organization. BitMEX is a collection of individuals who are all interesting.” On information and
             8
                 belief, employees from all of the BitMEX enterprise’s entities were present at the March 2, 2018
             9
                 company-wide offsite, including those from San Francisco-based Defendant ABS.
           10
                        36.        Defendants’ casual disregard of corporate form and their regular usage of shell
           11
                 companies is also apparent through their latest corporate conduct: on July 15, 2020, Defendant
           12
                 Hayes announced that a new entity, “100x,”2 “will become the new holding structure for HDR
           13
                 Global Trading Limited” and all of BitMEX’s other assets, “including the BitMEX platform.” In
           14
                 turn, the “HDR Group” was also rebranded as the “100x Group.” This re-labeling makes little
           15
                 difference to the continued functioning of the entities as a single enterprise, however; Defendant
           16
                 Hayes explained that “[t]he BitMEX platform, brand and legal structure remain entirely
           17
                 unchanged.”
           18
                        37.        This further demonstrates that the unitary BitMEX enterprise consists of the
           19
                 various affiliates and subsidiaries worldwide, and that the enterprise and each of its constituent
           20
                 parts are fully dominated and controlled by Defendants Hayes, Delo, Reed and the other
           21
                 stakeholders as a single enterprise.
           22
                        38.        Defendant ABS is a California-based wholly owned subsidiary and alter ego of
           23
                 Defendant HDR, which designs, develops, implements, operates and supports the online
           24
                 derivatives trading platform BitMEX from within this District. Defendant ABS purports to be a
           25
                 Delaware corporation, Delaware Secretary of State file number 6393256, with registered office at
           26
           27
                 2
                   The name 100x is a reference to traders’ ability on the BitMEX platform to trade at 100 times
           28    the leverage of their deposited bitcoin.
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             1
                 3411 Silverside Road Tatnall Building, Ste 104, Wilmington, DE 19810. Defendant ABS was
             2
                 organized by Defendants Hayes, Delo and Reed on or about April 27, 2017. Name “ABS” is an
             3
                 abbreviation constructed of first letters of first names (Arthur, Ben and Samuel) of individual
             4
                 Defendants Hayes, Delo and Reed, who ultimately own and control Defendant ABS. Defendant
             5
                 Hayes asserted that Defendant HDR owns the entire issued share capital of Defendant ABS, and
             6
                 that Defendant ABS has an office in San Francisco, California.
             7
                        39.        Specifically, Defendant ABS, which is a United State-based alter ego of Defendant
             8
                 HDR, has two offices: 301 Battery St., 4th Fl., San Francisco, CA, 94111 and 340 Brannan Street,
             9
                 2nd Floor, San Francisco, California. Defendants Hayes, Delo and Reed continue to control
           10
                 Defendant ABS with Defendant Hayes serving as the President, CEO, Secretary and Chief
           11
                 Financial Officer thereof and Defendant Reed serving as a Chief Technology Officer of
           12
                 Defendant ABS.
           13
                        40.        Plaintiff Dolgov is informed and believes and thereon alleges that Defendant HDR
           14
                 dominates and controls every aspect of Defendant ABS’ operations and uses its San Francisco
           15
                 offices to manage BitMEX’s engineering, security and back-office operations, such that
           16
                 Defendant ABS is a mere instrumentality of the BitMEX enterprise. In particular, all its
           17
                 operations are controlled by its principal and alter ego, Defendant HDR, wherein Defendant ABS
           18
                 provides development, software engineering, containerized application deployment, site
           19
                 reliability and digital security services, including development of the interface of the BitMEX
           20
                 Platform, through which all trading transactions take place. Thus, Defendants ABS and HDR
           21
                 operate as a single business enterprise for the purpose of operating the BitMEX derivatives
           22
                 trading platform.
           23
                        41.         Plaintiff Dolgov is informed and believes and thereon alleges that Defendant
           24
                 HDR funds all of Defendant ABS operations, including paying for all of its employees, overhead,
           25
                 and lease and rent obligations, and is Defendant ABS’ sole source of income.
           26
                        42.        Defendants Hayes, Delo and Reed, collectively own a controlling interest in
           27
                 Defendant ABS through their ownership of Defendant HDR, which wholly owns Defendant ABS.
           28
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             1
                 Defendant Hayes is the sole director, president, secretary, and treasurer of Defendant ABS, and
             2
                 executes agreements on its behalf. Defendant Hayes runs Defendant ABS’s activities without
             3
                 regard to its corporate form and for the sole benefit of Defendant HDR.
             4
                        43.        Defendants Hayes, Delo and Reed have created Defendant ABS as a false “shell”
             5
                 company as part of a broader United State federal and state law, regulation and tax dodge
             6
                 designed to tell regulators and tax authorities that BitMEX has no California or United States
             7
                 operations or investors.
             8
                        44.        However, in reality, California is where most or all of its technology and services
             9
                 are managed and developed, and where almost all of the key personnel who perform those
           10
                 functions live, work and run BitMEX’s operations. Specifically, Defendant ABS handles the
           11
                 majority of the development of the BitMEX Platform, and it is both the heart of the BitMEX
           12
                 enterprise and its nerve center.
           13
                        45.        Plaintiff Dolgov is informed and believes and thereon alleges that Defendants
           14
                 intentionally and specifically targeted California when locating and developing the nerve center
           15
                 of the operations of the BitMEX enterprise. This is because, from the beginning of BitMEX’s
           16
                 existence, traders based in the United States accounted for the vast majority of the enterprise’s
           17
                 revenues, and even presently United States and California traders, as described below, are the
           18
                 most active and lucrative traders on the BitMEX Platform. This is also due to the fact that
           19
                 California’s Silicon Valley has some of the world’s best engineers and developers, and as such,
           20
                 Defendant ABS houses the most engineering personnel out of any BitMEX entity.
           21
                        46.        Defendant ABS aided and abetted, authorized, ratified and controlled Defendant
           22
                 HDR illegal acts described herein.
           23
                        47.        Defendants HDR and Hayes relied upon their domestic agents, employees and
           24
                 affiliates, including without limitation ABS, to help implement and conceal the illegal acts
           25
                 alleged herein. The agency relationships formed among the Defendants with respect to the acts,
           26
                 violations, and common course of conduct alleged herein were consensually formed.
           27
                        48.        Defendant ABS acted in the United States and abroad within the scope of its
           28
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             1
                 agency with the full knowledge, consent, permission, authorization and ratification, either express
             2
                 or implied, of each of the other Defendants in carrying out the acts alleged herein.
             3
                        49.        Defendants are individually sued as principals, participants, agents, aiders and
             4
                 abettors, and co-conspirators in the wrongful conduct complained of and the liability of each
             5
                 arises from each Defendant’s engagement in all or part of the illegal acts alleged herein.
             6
                        50.        Additional and other facts regarding Defendants’ joint action, alter ego status and
             7
                 aiding and abetting of one another regarding the misconduct against Defendants is hidden from
             8
                 Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody and
             9
                 control. Plaintiff accordingly reserve the right to supplement and amend these allegations if
           10
                 appropriate or necessary following completion of relevant fact discovery.
           11
                        51.        Defendant HDR is the sole and exclusive owner of BitMEX brand, as evidenced,
           12
                 for example, by the Terms of Service and by numerous trademark filings for the protection of this
           13
                 brand made by Defendant HDR in the United States and throughout the world.
           14
                        52.        Defendant Grape Park is a State of Delaware limited liability company, Delaware
           15
                 Secretary of State file number 7554178, with registered office at 3411 Silverside Road Tatnall
           16
                 Building, Ste 104, Wilmington, DE 19810, which was used by Defendants to further launder
           17
                 funds derived from money laundering, market manipulation, operating unlicensed money
           18
                 transmitting business and other nefarious acts taking place on the BitMEX platform through
           19
                 investments into United States real estate, Ex. 12. Defendant Reed dominates and controls every
           20
                 aspect of business of Defendant Grape Park and funds its operations. Defendant Grape Park is an
           21
                 alter ego of Defendant Reed.
           22
                        53.        Defendant Mark Sweep is a State of Delaware limited liability company, Delaware
           23
                 Secretary of State file number 7449568, with registered office at 3411 Silverside Road Tatnall
           24
                 Building, Ste 104, Wilmington, DE 19810, which was used by Defendants to further launder
           25
                 funds derived from money laundering, market manipulation, operating unlicensed money
           26
                 transmitting business and other nefarious acts taking place on the BitMEX platform through
           27
                 investments into United States real estate, Ex. 13. Defendant Reed dominates and controls every
           28
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             1
                 aspect of business of Defendant Mark Sweep and funds its operations. Defendant Mark Sweep is
             2
                 an alter ego of Defendant Reed. It should be noted that Defendants ABS, Grape Park and Mark
             3
                 Sweep share the same registered office address in the State of Delaware.
             4
                        54.        Defendant Unknown Exchange is a cryptocurrency-to-fiat off-ramp exchange
             5
                 (over-the-counter exchange services provider). Defendant Unknown Exchange was and is being
             6
                 used by Defendants to launder funds derived from money laundering, market manipulation,
             7
                 operating unlicensed money transmitting business and other nefarious acts taking place on the
             8
                 BitMEX platform through converting the illegally obtained bitcoins into various fiat currencies,
             9
                 including United States dollars and Hong Kong dollars. Plaintiff will amend this Complaint
           10
                 when they ascertain the identity of the Defendant Unknown Exchange based on discovery
           11
                 propounded on Defendants.
           12
                        55.        Defendant Hayes is an individual, who is a United States citizen. On papers filed
           13
                 with California Secretary of State, Defendant Hayes claimed to have resided in Kennedy Town,
           14
                 Hong Kong Special Administrative Region of the People’s Republic of China. However,
           15
                 Plaintiff is informed and believes and thereon alleges that Defendant Hayes also resides in
           16
                 Buffalo, NY 14221-1840 and was last seen at his residence there on August 18, 2020. Defendant
           17
                 Hayes owns property in the U.S., and files U.S. income tax returns. During the Relevant Period,
           18
                 Defendant Hayes held his ownership interest in the BitMEX entities through a Delaware limited
           19
                 liability company that maintains bank accounts at financial institutions in the U.S. and owns
           20
                 property in the U.S. Defendant Hayes is sued as sui juris.
           21
                        56.        Defendant Delo is an individual, who is a citizen of United Kingdom, and who
           22
                 resides in Hong Kong Special Administrative Region of the People’s Republic of China.
           23
                 Defendant Delo is sued as sui juris.
           24
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             1
                        57.        Defendant Reed is an individual, who is a United States citizen and who resides in
             2
                 Milwaukee, WI 53202. Defendant Reed is sued as sui juris. United States residence of
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           16
                 Defendant Reed is further evidenced by his own professional profile on LinkedIn professional
           17
                 network, where he lists the United States as his country of residence. Defendant Reed maintains
           18
                 an office in and conducts business from Milwaukee, Wisconsin.
           19
                        58.        Defendant Agata Reed is an individual, who is a citizen of the United States, and
           20
                 who resides in Norwell, MA 02061. Defendant Agata Reed is sued as sui juris.
           21
                        59.        Defendant Barbara Reed is an individual, who is a citizen of the United States, and
           22
                 who resides in Lake Tomahawk, WI 54539. Defendant Barbara Reed is sued as sui juris.
           23
                        60.        Defendant Trace Reed is an individual, who is a citizen of United States, and who
           24
                 resides in Lake Tomahawk, WI 54539. Defendant Trace Reed is sued as sui juris.
           25
                        61.        Plaintiff Dolgov is informed and believes and thereon alleges that each of the
           26
                 individual Defendants sued herein was the agent and employee of each of the remaining
           27
                 Defendants and was at all times acting within the purpose and scope of such agency.
           28
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             1            DEFENDANTS’ EXTENSIVE CONTACTS WITH THE UNITED STATES
                                            AND THIS DISTRICT
             2
                         62.       Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-61 above as
             3
                 if fully set forth herein.
             4
                         63.       Defendant ABS is qualified to do business in California and has appointed an
             5
                 agent for service of process in this State. Despite all the claims to the contrary, Defendants HDR,
             6
                 Hayes, Delo and Reed maintain numerous close connections with the United States, State of
             7
                 California and this District.
             8
                         64.       Corporate Defendants HDR and ABS were established by individual Defendants
             9
                 Hayes, Delo and Reed due to seed funding provided by at least two United States-based entities –
           10
                 Ohio-based RGB COIN LTD. and a startup accelerator SOSV with offices in San Francisco and
           11
                 New York.
           12
                         65.       Defendant HDR is managed by Defendants Hayes, Delo and Reed with advice of
           13
                 an advisory board consisting of 12 members, three of which are located in the United States.
           14
                         66.       Due to his role as the President, CEO, Secretary and Chief Financial Officer of
           15
                 Defendant ABS and his CEO position with Defendant HDR, Defendant Hayes manages and
           16
                 directs operations of both Defendants HDR and ABS in the United States and in this District.
           17
                         67.       On the most recent California Secretary of State Statement of Information form
           18
                 filed by Defendant ABS with the State of California on or about August 22, 2019, Defendant
           19
                 Hayes’s address in the State of California is listed as: 340 Brannan Street, 2nd Floor, San
           20
                 Francisco, California 94107.
           21
           22
           23
           24
           25            68.       Due to his role as the CTO of both Defendants HDR and ABS and his supervisory

           26    involvement in the software development of the BitMEX platform, Defendant Reed, who resides

           27    in Wisconsin, manages and directs operations of both Defendants HDR and ABS in the United

           28    States and in this District, where the majority of the software developers and engineers working
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             1
                 on the BitMEX platform are located.
             2
                        69.        As evidenced by BitMEX website, on or about April 27, 2018, Defendant Reed
             3
                 stated: “We serve customers all over the world, in five languages, and have become the premier
             4
                 platform for Bitcoin price discovery and liquidity” (emphasis added). This statement constitutes
             5
                 an admission that Defendants knowingly serve customers in the United States and the State of
             6
                 California.
             7
                        70.        BitMEX website www.BitMEX.com/careers/ lists San Francisco as the location of
             8
             9
           10
           11
           12
           13    one of the Defendant HDR’s offices, where all the technology behind BitMEX is being

           14    developed. Defendant HDR actively recruited individuals for this office using recruiting websites

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             1
                 such as GlassDoor.com, Angel.co and LinkedIn.com. According to professional network
             2
                 LinkedIn, BitMEX’s owner Defendants HDR has at least 74 current and former employees in the
             3
                 United States, most of which are residents of this District.
             4
                        71.        In a publicly released and publicly available video first aired on CNBC news
             5
                 channel, Defendant Hayes can be seen broadcasting from the San Francisco office of CNBC, on
             6
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             8
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           12
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           14
           15
           16    or about July 19, 2018.
           17           72.        United States residents can freely trade on BitMEX platform from the United
           18    States because, as Defendant Hayes concedes and journalists and other commentators have
           19    explained, and BitMEX’s marketing of itself in the United States demonstrates, accessing
           20    BitMEX is trivially easy from the United States using widely available and inexpensive virtual
           21    private network (VPN) software that masks trader’s geographical location. This is because
           22    Defendants purport to restrict access to the BitMEX Platform for residents in the United States
           23    and California, by using an impotent IP-address check mechanism. Defendants, however,
           24    knowingly allow United States and California residents to circumvent the IP-address check
           25    mechanism via simple, inexpensive, and widely available software tools such as by using a VPN.
           26    Defendants have exploited this loophole to avail themselves of United States and California
           27    markets. Defendant Hayes stated in a January 2019 interview that BitMEX users can mask their
           28
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             1
                 location using VPNs to assign their computer an IP address from other countries, bypassing filters
             2
                 put in place. In fact, all web pages on BitMEX.com commercial website, except for a user
             3
                 account page, are freely accessible from the United States without any VPN. This is done
             4
                 purposefully in order to entice United States persons to trade on the BitMEX platform. If
             5
                 Defendants truly wanted to exclude United States traders from their platform, they would have
             6
                 blocked access to all web pages on the BitMEX.com commercial website from the United States.
             7
                        73.        In fact, in an interview in January of 2019, Defendant Hayes himself publicly
             8
                 taunted the fact that users from banned jurisdictions like the United States can easily bypass the
             9
                 cryptocurrency exchange’s geoblock by using the VPN service, thereby directly encouraging
           10
                 United States traders to trade on the BitMEX platform in violation of its own Terms of Service.
           11
                        74.        Defendant HDR uses United States based Amazon, Inc.’s Amazon Elastic
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           13
           14
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           21
           22
           23
           24
           25
                 Kubernetes Service (“Amazon EKS”), which combines Amazon Web Services (“Amazon AWS”)
           26
                 with managed high-availability Kubernetes infrastructure for containerized deployment of all of
           27
                 its order matching and liquidation engines and for storing all of its customer and trading data.
           28
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             1

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           10
           11
           12
           13
                 Amazon AWS has offices in San Francisco, California. San Francisco office of Defendant HDR
           14
                 employs at least five Kubernetes engineers who interact with Amazon AWS in this District on a
           15
                 daily basis.
           16
                         75.       Moreover, the recent email data leak of BitMEX has shown that Defendant HDR
           17
           18
           19
           20

           21
           22
           23
           24
           25
           26
           27
           28    uses San Francisco, California – based Twilio Inc. and its subsidiary SendGrid, Inc., with offices
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             1
                 at 889 Winslow St., Redwood City, California 94063, United States, for handling all of its bulk
             2
                 email communications with its customers. Twilio Inc. and its subsidiary SendGrid, Inc. as well as
             3
                 Intercom, Inc. store a database of all BitMEX users in this District, including email addresses and
             4
                 all other contact information of all users, which BitMEX uses for all its customer
             5
                 communications.
             6
                        76.        Defendants use ReCAPTCHA service provided by Google, Inc., headquartered in
             7
                 this District to provide human verification for the users of the BitMEX’s platform.
             8
                        77.        Defendants further use YubiKey device and YubiCloud service provided by Palo
             9
                 Alto-based YubiKey, located in this District, to provide 2-factor authentication capability to the
           10
                 users of BitMEX’s platform.
           11
                        78.        Defendants further use service operated by Jumio Netverify, based in Palo Alto,
           12
                 California, through which Jumio collects personal data from BitMEX users directly, including
           13
                 photos of user’s faces and ID documents and performs identity verification of the users for
           14
                 BitMEX platform.
           15
                        79.        Defendants further use Freshdesk service provided by Palo Alto-based
           16
                 FreshWorks, headquartered in this District, for handling all customer support queries, notes and
           17
                 replies associated with the BitMEX platform.
           18
                        80.        Defendants further use segment.io service provided by San-Francisco based
           19
                 Segment.io, Inc., and Google Analytics service provided by Google, Inc., both of which are
           20
                 headquartered in this District, for gathering data collected on BitMEX.com servers and generating
           21
                 visitor statistics for BitMEX platform.
           22
                        81.        Defendants further use services provided by San Francisco-based Functional
           23
                 Software, Inc. (Sentry.io), San Francisco-based Pagerduty and Austin, Texas-based Solarwinds
           24
                 (Papertrail) to monitor all site and service issues associated with the BitMEX platform.
           25
                        82.        Defendants further use services provided by Google Firebase and Amazon SNS
           26
                 platforms, operated by Google, Inc. and Amazon Web Services, Inc., respectively, both of which
           27
                 are headquartered in this District, to deliver mobile push notifications to all user devices.
           28
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             1
                        83.        The above-alleged facts clearly show that the vast majority of the vital services
             2
                 used by BitMEX platform are provided by United States vendors located in this District and that
             3
                 without such services of United States and California origin, BitMEX platform would not have
             4
                 existed in its present form. Therefore, BitMEX is able to operate its platform only due to its
             5
                 connections with the service providers located in the United States and this District.
             6
                            Service Provider to                                                                     Service Provider
             7                                                     Services Provided to BitMEX
                                    BitMEX                                                                                Location
             8
                 1.      Amazon Web Services                     Kubernetes infrastructure for                 San Francisco, California
             9
                                                                 containerized deployment of all
           10
                                                                 of its order matching and
           11
                                                                 liquidation engines and for
           12
                                                                 storing all of its customer and
           13
                                                                 trading data
           14
                 2.      Twilio, Inc.                            Communications with all                       San Francisco, California
           15
                                                                 BitMEX users
           16
                 3.      SendGrid, Inc.                          Email communications with all                 Redwood City, California
           17
                                                                 BitMEX users
           18
                 4.      Google, Inc.                            Human verification for the users,             Mountain View,
           19
                                                                 and generating visitor statistics             California
           20

           21    5.      YubiKey, Inc.                           2-factor authentication capability            Palo Alto, California

           22    6.      Jumio, Inc.                             Identity verification of the users            San Francisco, California

           23    7.      FreshWorks                              Customer support queries, notes               Palo Alto, California

           24                                                    and replies

           25    8.      Segment.io, Inc.                        Generating visitor statistics                 San Francisco, California

           26    9.      Functional Software,                    Monitor all site and service issues           San Francisco, California

           27            Inc.                                    for BitMEX platform

           28    10.     Intercom, Inc.                          Electronic communications with                San Francisco, California
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             1
                                                                 all BitMEX users
             2
                 11.     ProofPoint, Inc.                        Hosting of BitMEX’s internal                 Sunnyvale, California
             3
                                                                 corporate email accounts,
             4
                                                                 outbound data loss prevention,
             5
                                                                 social media, mobile devices,
             6
                                                                 digital risk, email encryption,
             7
                                                                 electronic discovery, and email
             8
                                                                 archiving.
             9
           10
                        84.        Furthermore, Plaintiff Dolgov is informed and believes and thereon alleges that
           11
                 San Francisco, California-based quant trading firm Galois Capital freely trades on BitMEX from
           12
                 this District generating millions of dollars of business for Defendant HDR. This trading is done
           13
                 with the knowledge, permission, approval, assistance and encouragement of Defendants.
           14
                        85.        Defendants knowingly and willfully permitted United States citizens and residents
           15
                 of this District as well as United States based companies to freely trade on the BitMEX exchange
           16
                 because of the lucrative business relationships between Defendants and the aforesaid individuals
           17
                 and companies, which financially benefitted Defendants.
           18
                        86.        Moreover, Defendant’s HDR website BitMEX.com is a commercial website, in
           19
                 English language, enabling traders to enter into binding derivative purchase and sale contracts,
           20
                 through which Defendants conduct substantial business with the residents of the United States,
           21
                 the State of California and this District and which by itself is sufficient for subjecting Defendants
           22
                 to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp.
           23
                 1119 (W.D. Pa. 1997). Instead of performing a proper document check before allowing users to
           24
                 open an account on BitMEX.com, Defendants deliberately and knowingly use utterly ineffective
           25
                 IP address check, which they all well know is uniformly subverted by very simple, inexpensive
           26
                 and widely available software tools. Using the aforesaid commercial website operated by
           27
                 Defendants, residents of the United States, the State of California and this District are able to
           28
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             1
                 place binding trading orders of virtually unlimited monetary size, enter into binding derivative
             2
                 purchase and sale contracts, and transfer virtually unlimited amount of funds anywhere in the
             3
                 world.
             4
                          87.      Moreover, Defendants deliberately made their commercial website BitMEX.com
             5
                 accessible from the United States even without using VPN software in violation of BitMEX’s
             6
                 own Terms of Service (“Terms of Service”) in order to entice United States residents to trade on
             7
                 the BitMEX’s platform. Specifically, BitMEX’s Terms of Service provide: ”[y]ou are not
             8
                 allowed to access or use the Services or the Trading Platform if you are located, incorporated or
             9
                 otherwise established in, or a citizen or resident of: (i) the United States of America… ‘Services’
           10
                 means websites, applications and any services provided by any member of the HDR Group,
           11
                 including: a) … the BitMEX Testnet Platform.” However, BitMEX.com website specifically
           12
                 induces United States resident users to try BitMEX Testnet Platform, by clearly stating: “please
           13
           14
           15
           16
           17
           18
           19
           20

           21    try our BitMEX Testnet.” This is not an innocent mistake, it is intentionally done by Defendants
           22    in order to entice United States traders to subsequently trade on the BitMEX Trading Platform in
           23    direct violation of the prohibition contained in its own Terms of Service. In fact, all web pages
           24    on BitMEX.com commercial website, except for a user account page, are freely accessible from
           25    the United States without any VPN. This is purposefully done to entice United States persons to
           26    trade on the BitMEX platform. If Defendants truly wanted to exclude United States traders from
           27    their platform, they would have blocked access to all web pages on the BitMEX.com commercial
           28
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             1
                 website from the United States.
             2
                        88.        Therefore, any and all provisions contained in the Terms of Service prohibiting
             3
                 United States users from using the BitMEX’s platform were in fact sham provisions and lacked
             4
                 any meaningful enforcement by Defendants. In fact, Defendants’ own actions clearly
             5
                 demonstrated complete disregard of the provisions of their own Terms of Service. Moreover,
             6
                 Defendants willfully and deliberately used IP country blocking, which has been proven utterly
             7
                 ineffective for its intended purpose and easily subverted, to leave a back door for the United
             8
                 States residents to trade on the BitMEX platform.
             9
                        89.        Furthermore, Defendants purposefully invoked the benefits and protections of the
           10
           11
           12
           13
           14
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           16
           17
           18
           19    United States Federal laws when they filed for and obtained from the United States government

           20    official Notices of Allowance for seven (7) United States trademark applications all relating to

           21    BitMEX’s platform that is the subject of this Complaint.

           22           90.        For example, trademark applications serial Nos. 87856272 and 87607952, both for

           23    mark “BITMEX” were filed by Defendants in connection with “[d]ownloadable software for

           24    trading crypto-products and providing crypto-currency information” and “exchanging money,

           25    financial management, futures brokerage, capital investment, electronic funds transfer, providing

           26    financial information via a website, financing services, investment of funds, business liquidation

           27    services, financial services, namely, operation and management of hedge funds, commodity pools

           28    and other collective investment vehicles, and trading for others of cryptocurrency, decentralized
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             1
                 application tokens and protocol tokens, blockchain based assets and other cryptofinance and
             2
                 digital assets, securities, options, futures, derivatives, debt instruments and commodities,”
             3
                 respectively, which are BitMEX’s core services. Invoking benefits and protections of the United
             4
                 States Federal laws clearly made it foreseeable for Defendants that they would end up in a United
             5
                 States Court.
             6
                           91.        In the aforesaid trademark filings with the United States Patent and Trademark
             7
                 Office, Defendant HDR swore, under penalty of perjury, that it “has a continued bona fide
             8
                 intention, and is entitled, to use the mark[s] in commerce [in the United States] on or in
             9
                 connection with all of the goods/services listed in the Notice of Allowance or as subsequently
           10
                 modified for this specific class.”
           11
                           92.        In a recent legal filing, Defendant Hayes swore that: “[i]n my capacity as CEO, I
           12
                 am advised by an advisory body currently comprised of twelve individuals responsible for
           13
                 different departments within the HDR Group. A majority of the HDR Group’s advisory
           14
                 committee has always been located in Hong Kong, and nine of the twelve members currently on
           15
                 the committee are located outside of the United States.” Therefore, three out of 12 members of
           16
                 the advisory committee of Defendant HDR are located in the United States.
           17
                           93.        Professional network LinkedIn, as well as other information available on the
           18
                 Internet, provides publicly available evidence of dozens individuals, who reside in the United
           19
                 States and in this District and who identify themselves as cryptocurrency derivative traders on the
           20
                 BitMEX platform. Forty three examples of the Unites States resident BitMEX traders, who trade
           21
                 on BitMEX through the aforesaid commercial website BitMEX.com, are provided in the below
           22
                 table:
           23
           24                                    BitMEX Trader Name                                       BitMEX Trader Residence
           25     1.                                     Scrembo Paul                                        Los Angeles, California
           26                                                                                           Greater San Diego, California,
                  2.                                     Aaron Aloyan
           27                                                                                                              Area
                  3.                             Christopher Smitherman                                            Atlanta, Georgia
           28
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             1    4.                                  Daniel Spivak                                           Greater Chicago Area
             2    5.                                 Harrison Davis                                   Greater New York City Area

             3    6.                                      Vesko P.                                      Greater Los Angeles Area
                  7.                              Matthew Wellman                                             Lexington, Kentucky
             4
                  8.                                    Uriel Scott                                              Chicago, Illinois
             5
                  9.                                 Sahand Akbari                                     Sacramento, California Area
             6
                 10.                                  Malik Crypto                                            Orlando, Florida Area
             7
                 11.                                     Saif Amer                                            Greater Chicago Area
             8   12.                                   Nelson Riley                                              Aspen, Colorado
             9   13.                                   John Roberts                                   Greater New York City Area
           10    14.                                 Andres Santana                                   Greater New York City Area

           11    15.                                  Thomas Chen                                               Evanston, Illinois
                 16.                                  Alex Sherman                                            San Jose, California
           12
                 17.                                  Phillip James                                     St. Cloud, Minnesota Area
           13
                 18.                                 David Siddiqui                                            La Jolla, California
           14
                 19.                                  Zach Brodsky                                                Talent, Oregon
           15    20.                         Philip Dustin Du Amarell                                    Laguna Beach, California
           16    21.                                 Jiale (Etta) Qin                                         Cupertino, California
           17    22.                                 Bokmoon Jung                                                   Boise, Idaho

           18    23.                                 Lionel Girardin                                          Greater Chicago Area

           19    24.                                   Arijit Santra                                          Berkeley, California
                 25.                                Sankha Banerjee                                   Greater New York City Area
           20
                 26.                              Connor Van Dorpe                                            Madison, Wisconsin
           21
                 27.                                     Ryan Rim                                         San Francisco Bay Area
           22
                 28.                               Gianny R. Banda                                                Miami, Florida
           23    29.                               Michael Peterson                                     Syracuse, New York Area
           24    30.                                 Anthony Agrait                                              Tempe, Arizona
           25    31.                                     Dustin G.                                      Burlington, Vermont Area

           26    32.                                 Kevin Cotugno                                              Phoenix, Arizona
                 33.                                  Calvin Leung                                       Santa Monica, California
           27
                 34.                             Anthony Wittemann                                       Santa Monica, California
           28
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             1                                                                                            Greater New York City Area,
                 35.                                Catherine Wood
             2                                                                                                            New York

             3   36.                                     Ryan Gill                                                   Delaware, Ohio

             4   37.                              Eric J. Waidergorn                                     Greater Chicago Area, Illinois
                 38.                                    Eric Crown                                                  Hillsboro, Oregon
             5
                 39.                       Like Martin (Venturecoinist)                                     Knoxville, Tennessee Area
             6
                 40.                                Edward Ornelas                                          Albuquerque, New Mexico
             7
                 41.                                   Richard Bae                                                     United States
             8    42                                     Roger Xu                                                  Brooklyn, New York
             9   43.                                     Wen Hou                                                    Irvine, California
           10
           11
                        94.         Professional network LinkedIn as well as other Internet resources further provide
           12
                 evidence of at least fourteen companies, which are incorporated and based in the United States
           13
                 and which trade derivatives using Defendant’s HDR commercial website BitMEX.com:
           14
           15           Name of U.S. Company Trading on
                                                                                                     Company Address
           16                                BitMEX

           17                                                                          156 N Jefferson St., Suite 102, Chicago, IL
                  1.          CMT Capital Markets Trading
                                                                                                                  60661
           18
                                Eastmore Group / Eastmore                              40 Wall Street, Suite 1700, New York, NY
           19     2.
                                      Management, LLC                                                             10005
           20
                                                                                  90 State Street Ste 700, Office 40, Albany, NY
                  3.     Clerkenwell Asset Management LLC
           21                                                                                                     12207
           22                                                                     150 Post Street, Suite 442, San Francisco, CA
                  4.                     Galois Capital
           23                                                                                                     94108

           24     5.                 Adaptive Fund I, LP                                 16192 Coastal Hwy, Lewes, DE 19958
                  6.                   Swing Trade Pros                                 1600 S. Indiana Ave, Chicago, IL 60616
           25
                  7.                          FalconX                                  66 Bovet Rd #380, San Mateo, CA 94402
           26
                  8.                  Cumberland DRW                                     540 W Madison St Chicago, IL 60661
           27
                  9.                     Circle Partners                                    1395 Brickel Avenue, Suite 913
           28
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             1                                                                                        Miami, FL 33131
             2   10.           Fund3 Capital LP/Fund3 LLC                           11244 Huntley Place, Culver City, CA 90230

             3                                                                                        82 W Highway 50,
                 11.               South Lake Computers
                                                                                                    Clermont, FL 34711
             4
                                                                                               3 East 28th Street, 7th Floor,
             5   12.      ARK Investment Management LLC
                                                                                                   New York, NY 10016
             6
                 13.                  Coincident Capital                            310 Lake Street, Huntington Beach, CA 92648
             7                                                                       250W 50th Street, Apt. 3d2, New York, NY
                 14.                    Leotank Capital
             8                                                                                                    10019
             9
                        95.        Adaptive Fund I, LP, which is a Delaware limited partnership, funded primarily by
           10
                 investors who are United States residents, as the result of market manipulation which took place
           11
                 on BitMEX’s platform on or about March 13, 2020, lost 60% of its equity, or roughly
           12
                 $12,000,000. These catastrophic monetary losses were suffered by numerous Unites States
           13
                 residents who invested in that fund. In communications to investors following the losses, fund
           14
                 manager Murad Mahmudov admitted to personally executing trades on BitMEX’s platform with
           15
                 United States investors’ money. Due to the high profile of the fund and fund managers involved,
           16
                 Defendants clearly knew of the United States origin of the money that the Adaptive Fund I, LP
           17
                 was trading on BitMEX platform and Defendants deliberately and willfully allowed such trading
           18
                 to proceed.
           19
                        96.        Internet video portal YouTube is replete with video evidence of traders residing in
           20
                 the United States and in this District freely placing high dollar bets through Defendant’s HDR
           21
                 commercial website BitMEX.com. The following table identifies just 40 examples of such video
           22
                 evidence:
           23
                       BitMEX Trader’s
           24                                              Trader               Video
                       YouTube Account                                                                             Video Title
           25                                           Residence               Date
                             User Name
           26                                              Florida,                           How Wales Manipulate Bitcoin Using
                  1.      Jacob Canfield                                      02/25/2020
           27                                              United                              Spoofing on Bitmex (Live $400,000

           28
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             1                                              States                                                Short Trade)
             2                                             United                                    Bitmex Leveraging Tutorial
                  2.     Edward Ornelas                                       08/21/2018
             3                                              States                                     Introduction for Beginner
                                                                                                 Bitmex, Deribit, & Bybit Bitcoin
             4                                             United
                  3.      Crypto Gnome                                        06/03/2019     Leverage Trading - Afternoon Trading
             5                                              States
                                                                                                                    Session
             6
                         Bitcoin Trading                   United                            Copy-Trading with Bitmex Trollbox +
             7    4.                                                          05/24/2019
                             Challenge                      States                                      New Trading Challenge
             8                                                                                   WATCH ME TURN $350 INTO
                                                           United
             9    5.       Crypto Corny                                       01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
                                                            States
           10                                                                                                      Challenge
                                                           United                            Bitmex Leverage Trading Tutorial For
           11     6.      Scrembo Paul                                        08/27/2018
                                                            States                                          Beginners Bitcoin
           12
                                                                                             Weekly Trading Bot Update - Binance
           13                                              United
                  7.      Crypto Gnome                                        04/03/2020       Futures, Bybit, & Bitmex Bitcoin &
           14                                               States
                                                                                                                     Crypto
           15                                              United                                How to Automate Your Trades on
                  8.      Crypto Gnome                                        05/14/2019
           16                                               States                                          Bitmex & Deribit

           17                                              United                                Goat Alerts - TradingView Bot &
                  9.      Crypto Gnome                                        09/25/2019
                                                            States                             Shadow Trading for Bybit & Bitmex
           18
                                                           United
           19    10.      Crypto Gnome                                        08/12/2018     How to Set a STOP LOSS on BitMEX
                                                            States
           20
                                                           United                           How to use a Trailing Stop on BitMEX -
           21    11.      Crypto Gnome                                        11/29/2018
                                                            States                                          MORE PROFITS!
           22                                              United
                 12.      Crypto Gnome                                        07/25/2018          How to Short Bitcoin on Bitmex
           23                                               States

           24                                              United                            How to Save on Fees When Trading on
                 13.      Crypto Gnome                                        08/11/2018
                                                            States                                                 BitMEX
           25
                                                           United                           How to SHORT/LONG Bitcoin Futures
           26    14.      Crypto Gnome                                        07/25/2018
                                                            States                                        on BITMEX Tutorial
           27
                 15.      Crypto Gnome                     United             07/30/2018       Free Profit Tracking Spreadsheet for
           28
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             1                                              States                                         Trading on Bitmex
             2                                             United                              Bitmex & Deribit Pivot Point Robot
                 16.      Crypto Gnome                                        01/04/2019
             3                                              States                                                  Trading
                                                                                              Get rich trading crypto? Secret tips on
             4                                             United
                 17.      Richard Heart                                       08/14/2018         Bitcoin & Ethereum 100x margin
             5                                              States
                                                                                                      trading on Bitmex, futures
             6
                                                           United
             7   18.          Lazy MF                                         07/02/2018                  Bitmex LiveTrading
                                                            States
             8                                             United
                 19.          Lazy MF                                         03/12/2019          Bitmex Live trading BitcoinMF
             9                                              States

           10                                                                                       Trading BitMEX Bitcoin On
                                                           United
                 20.    Slingshot Futures                                     02/05/2018                          NinjaTrader;
           11                                               States
                                                                                                     www.SlingshotFutures.com
           12
                                                           United                            BITMEX trading during Crash-Buying
           13    21.       CryptoSailor                                       01/22/2018
                                                            States                                       the Dip with Leverage
           14                                              United                             BEST TIME TO SHORT BITCOIN!
                 22.       CryptoSailor                                       03/07/2018
           15                                               States                                                 BITMEX
           16            Bitcoin Trading                   United
                 23.                                                          01/08/2019            Scalping Bitmex Liquidations
           17                Challenge                      States
                                                                                             BitMEX Tutorial For Beginners - How
           18                                              United
                 24.   Digital Millionaire                                    10/31/2019     To LONG AND SHORT Bitcoin With
           19                                               States
                                                                                                                  LEVERAGE!
           20
                                                                                               Beginner Method: $100-$1000/Day
                                                           United
           21    25.     Patrick Corsino                                      01/13/2020     Passive Cryptocurrency Trading 2020!
                                                            States
           22                                                                                     Bitcoin Bitmex, Binance, Bybit

           23                                                                                    WATCH ME TURN $350 INTO
                                                           United
                 26.       Crypto Corny                                       01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
           24                                               States
                                                                                                                   Challenge
           25
                                                                                              70% DOWN, 9930% TO GO... 0.1 To
           26                                              United
                 27.       Crypto Corny                                       01/31/2019    10 BITCOIN TRADING CHALLENGE
           27                                               States
                                                                                                                   – Bitmex
           28
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             1                                                                                 My Algorithmic Trading BOT trades
                                                           United
             2   28.      MiningTrades                                        01/23/2018     $XBT Bitcoin Futures LIVE! | BitMex
                                                            States
             3                                                                                                    Jan 23rd 2018
                                                           United                              How to Long and Short Bitcoin and
             4   29.      Crypto Minds                                        09/07/2018
                                                            States                                         Altcoins on Bitmex
             5
                                                        California,
             6            Jaydn's Crypto                                                    How to get a Bitmex account in the U.S.
                 30.                                       United             05/06/2018
                               Channel                                                       + Bitmex Cryptocurrency Walkthrough
             7                                              States
             8                                           Michigan,
                                                                                               Live BitMEX trading!!! 1 to 100 btc
             9   31.       Crypt0W1SE                      United             12/30/2018
                                                                                                                   challenge!
           10                                               States
                                                                                            $100,000 1 DAY PROFIT LEVERAGE
           11          ORACLE CRYPTO                       United
                 32.                                                          02/08/2020          TRADING BITSEVEN BYBIT
           12              AVENGER!                         States
                                                                                                                    BITMEX
           13
                       ORACLE CRYPTO                       United                            BITMEX WATCH A SHORT TRADE
                 33.                                                          10/15/2018
           14              AVENGER!                         States                               THE ENDED OVER 103% WIN!
           15                                                                                 50X BITMEX LIKE A BOSS OVER
                       ORACLE CRYPTO                       United
           16    34.                                                          01/23/2018        98% ROI -WHY YOU CAN'T DO
                           AVENGER!                         States
                                                                                                                      THIS.
           17
                       ORACLE CRYPTO                       United                             BCH MARKET MANIPULATION -
           18    35.                                                          11/07/2018
                           AVENGER!                         States                          MANIPULATE BITMEX TO PROFIT!
           19
                                                       Gainesville,
           20    36. Alexander Lorenzo                  FL, United            01/26/2019           Scavenger Bot Bitmex SCAM
           21                                               States
           22                                              1600 S.

           23                                              Indiana
                                                                                              Live Bitcoin Trading on Bitmex with
                 37.    Swing Trade Pros                     Ave.             03/09/2020
           24                                                                                       Swing Trade Pros Indicators!
                                                        Chicago, IL
           25
                                                            60616
           26
                                                        Burlington,                           How to use a TRAILING STOPLOSS
                 38.      Sell The Spike                                      07/03/2019
           27                                             Vermont                                                  on Bitmex
           28
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             1                                               Area
             2                                          Burlington,                              Bitmex Tutorial - Placing Orders,

             3   39.      Sell The Spike                  Vermont             06/09/2018           Setting Stoplosses and Targets,
                                                             Area                              Leverage and Margin, Walkthrough
             4
                             Bitcoin for                   United                              How To Use BitMEX Exchange For
             5   40.                                                          12/22/2018
                              Beginners                     States                                 Beginners! (BitMEX Tutorial)
             6
             7
                        97.        “Several sources close to the company” have disclosed to media sources that
             8
                 nearly 15 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is
             9
                 attributable to traders located in the United States. This number is consistent with the evidence
           10
                 available on YouTube and LinkedIn.
           11
                        98.        YouTube is also replete with dozens of videos teaching how to access Defendant’s
           12
                 HDR commercial website BitMEX.com from the United States using inexpensive and widely
           13
                 available VPN software to avoid Internet protocol (IP) address blocking. Below are 11 examples
           14
                 of such videos:
           15
           16
                        BitMEX Trader’s                     Trader              Video
           17                                                                                                     Video Title
                       YouTube User Name Residence                               Date
           18                                                United
                  1.       Crypto Gnome                                       08/09/2018      How to Sign Up for BitMEX in the US
           19                                                States

           20                                               Atlanta
                  2.        Bot Mentality                    United           03/22/2018     How to use Bitmex in the United States
           21
                                                             States
           22
                                                          California                            How to get a Bitmex account in the
           23              Jaydn's Crypto
                  3.                                         United           05/06/2018            U.S. + Bitmex Cryptocurrency
                                Channel
           24                                                States                                               Walkthrough
           25                                                United
                  4.        CryptoJunkies                                     08/15/2019        How To Trade Bitmex In America!
           26                                                States

           27                                                United                           How to Trade on Bitmex for USA and
                  5.         Crypto Guru                                      03/16/2019
                                                             States                            Canada Residents | Bitcoin Generator
           28
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             1                                                                                How to trade on BITMEX in the USA
             2                                               United                              100X LEVERAGE ‼ Bitcoin BTC
                  6.     Crypto Kam Kam                                       01/08/2020
             3                                               States                              ETH LTC EOS XRP TRX BCH &
                                                                                                                       ADA
             4
                                                                                               Crypto VPN - Do I Need A VPN For
             5                                               United
                  7.     Crypto Renegade                                      06/24/2019         Crypto Transactions? | Best Crypto
             6                                               States
                                                                                                    VPN's For Bitcoin Exchanges
             7                                               United                          BitMex Bitcoin Trading - How to setup
                  8.      RChrisFord.com                                      10/31/2017
             8                                               States                                               a U.S. account
             9                                               United
                  9.       Casey Watkins                                      08/23/2018         Bitmex - Signing up from the USA
           10                                                States
                                                                                                        ***MEX Millionaire***
           11                                                United
                 10.   Krown's Crypto Cave                                    05/07/2018         EVERYTHING You Must Know!-
           12                                                States
                                                                                                       ***BITMEX Tutorial***
           13
                                                             United                                Como Usar Bitmex desde USA
                 11.   CRYPTOCASH 305                                         02/01/2019
           14                                                States                                  (Bitmex Tutorial). [Spanish]
           15
           16
                        99.        Defendant HDR assigns a six-symbol alphanumeric affiliate codes to all BitMEX
           17
                 account holders and uses these affiliate codes to pay compensation to its users for enticing other
           18
                 users, including United States residents, to open accounts on BitMEX.com commercial website
           19
                 by posting a URL pointing to the BitMEX registration page and incorporating the aforesaid
           20
                 assigned affiliate code. The so assigned affiliate code uniquely identifies the corresponding
           21
                 account holder and its BitMEX account. Thus, presence of the affiliate code indicates that a
           22
                 person who invites others to register with Defendant’s HDR commercial website by way of an
           23
                 affiliate link himself has a BitMEX account. Table below provides 22 examples of BitMEX
           24
                 affiliate codes being assigned to the United States residents for receiving compensation for
           25
                 enticing other United States residents to join the BitMEX platform:
           26
                         BitMEX Trader’s                            Trader                   BitMEX Assigned Affiliate Code
           27
                            Name or Alias                        Residence                 (identifies trader’s BitMEX account)
           28
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             1    1.           Tone Vays                       United States                               cMvHXg
             2    2.               Flood                       United States                                   ir2Xqa

             3    3.         Crypto Corny                      United States                                   0rsCIx
                                                                  Hillsboro,
             4
                                                              Oregon, United
             5    4.    Krown's Crypto Cave                                                                    ou4vcl
                                                               States, United
             6
                                                                     States
             7    5.   Crypto Hippo Trading                    United States                                   gZ0Y10
             8                                                 Albuquerque,
             9    6.        Edward Ornelas                     New Mexico,                                     kpdzGl

           10                                                  United States
                  7.          CryptoSailor                     United States                                   AOIyp0
           11
                  8.         MiningTrades                      United States                                   i110zC
           12
                  9.         Crypto Minds                      United States                                   OIv1fe
           13
                 10.          Moonin Papa                      United States                                   GG2kor
           14                                                Washington DC-
           15    11.        Josh Olszewicz                   Baltimore Area,                                   s7sqNI
           16                                                  United States

           17    12.      Digital Millionaire                  United States                                   P2DBFt
                                                             New York, New
           18
                 13.        Patrick Corsino                     York, United                                   TD6yks
           19
                                                                     States
           20
                                                                  Michigan
           21    14.          Crypt0W1SE                                                      rLMJ0, DYBmFQ, rLMJ0L
                                                               United States
           22    15.        Casey Watkins                      United States                                   lf9P89
           23           ORACLE CRYPTO
                 16.                                           United States                                   WXNej9
           24                 AVENGER!
                                                             New York, New
           25
                 17.      Swing Trade Pros                      York, United                                   G4cfM4
           26
                                                                     States
           27
                 18. Bitcoin for Beginners                     United States                                   5i7rOb
           28
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             1   19.        Crypto Gnome                       United States                                 EOsLBm
             2                                                   Burlington,
                 20.         Sell The Spike                                                                  KO33NC
             3                                                 Vermont Area
                                                                Los Angeles,
             4   21.         Scrembo Paul                                                                        BlQzsA
                                                                  California
             5
                               Like Martin                       Knoxville,
             6   22.                                                                                             9e4hqj
                           (Venturecoinist)                   Tennessee Area
             7
             8
                        100.       Professional network LinkedIn provides publicly available evidence of 74
             9
                 individuals, who are United States residents and who identify themselves as present and former
           10
                 employees of Defendant HDR, located in the United States and in this District:
           11
           12          LinkedIn Member Name                                   Position at BitMEX                           Residence
           13     1.             Max Shapiro                        Associate at BitMEX Ventures                   New York, New York
           14     2.         Kumar Dandapani                           Head of BitMEX Ventures                    San Francisco Bay Area

           15                                                         Senior Software Engineer at
                  3.         Alena Gilevskaya                                                                    San Francisco, California
                                                                                   BitMEX
           16
                                                                      Senior Frontend Engineer at
           17     4.             Alex Manusu                                                                     San Francisco, California
                                                                                   BitMEX
           18
                                                                         Former Head of Venture
           19     5.          Maxim Wheatley                                                                     San Francisco, California
                                                                         Development at BitMEX
           20                                                          Former CMO Operations at                   Greater New York City
                  6.               Lisa Loud
           21                                                                      BitMEX                                       Area

           22                                                         Senior Software Engineer at
                  7.            Lucky Odisetti                                                                    Menlo Park, California
                                                                                   BitMEX
           23
                  8.         Niroj Shankhadev                          Web Developer at BitMEX                   San Francisco, California
           24
                                                                         Co-Founder and CTO at
           25     9.             Samuel Reed                                                                             United States
                                                                                   BitMEX
           26    10.             Eric Zinnikas                       Security Engineer at BitMEX                 San Francisco, California
           27    11.            Molly Lubow                         Talent Acquisition Specialist at              San Francisco Bay Area,
           28
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             1                                                                    BitMEX                                   California
             2                                                        Senior Software Engineer at
                 12.            Evan Ricketts                                                                    Milwaukee, Wisconsin
             3                                                                    BitMEX
                                                                    Security Engineering Manager,
             4   13.          Michael Carlson                                                                   San Francisco, California
                                                                   Application Security at BitMEX
             5
                                                                      Technical Program Manager
             6   14.         Monzer Aldimassi                                                                      Campbell, California
                                                                              (TPM) at BitMEX
             7                                                       Vice President Of Engineering              San Francisco Bay Area,
                 15.            Patrick Fiscina
             8                                                                   at BitMEX                                 California
             9                                                                                                  San Francisco Bay Area,
                 16.          Allison Sommers                        Security Engineer at BitMEX
           10                                                                                                              California
                 17.        Conner McNicholas                         Data Engineering at BitMEX                San Francisco, California
           11
                                                                         Engineering Manager at
           12    18.        Brandon Schlenker                                                                   San Francisco, California
                                                                                  BitMEX
           13
                 19.          Riley Hutchinson                         Director, People at BitMEX               San Francisco, California
           14                                                        Senior IT Support Engineer at
                 20.            Benson Wong                                                                       San Carlos, California
           15                                                                     BitMEX
           16    21.                Peter M.                         Security Engineer at BitMEX                San Francisco, California

           17                                                          Site Reliability Engineer at
                 22.             Jerry Aldrich                                                                      Seattle, Washington
                                                                                  BitMEX
           18
                 23.            Emilio Rivera                       Technical Recruiter at BitMEX               San Francisco, California
           19
                                                                       Senior Product Manager at
           20    24.          Tom Dimopoulos                                                                    San Francisco, California
                                                                                  BitMEX
           21                                                        Head of Security Assurance at
                 25.            Mahmoud Ali                                                                     San Francisco, California
           22                                                                     BitMEX
           23                                                         Head of DevOps at BitMEX

           24                                                        (Powering the world’s largest
                                                                    cryptocurrency trading platform
           25    26.           Quentin Machu                                                                    San Francisco, California
                                                                    with Kubernetes, at the edge of
           26
                                                                       financial and infrastructure
           27
                                                                   technologies. Scaling BitMEX’s
           28
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             1                                                          infrastructure, culture and
             2                                                      practices from 10 employees to

             3                                                        150 employees, from $1B to
                                                                      $11B traded daily, and 150x
             4
                                                                                  more trades.)
             5
                                                                     Security Engineering Manager
             6   27.             Maus Stearns                                                                     San Francisco, California
                                                                                   at BitMEX
             7                                                       Security Engineer - Detection
                 28.       Andrew MacPherson                                                                      San Francisco, California
             8                                                          and Response at BitMEX
             9                                                     Director of Offensive Security at               Washington, DC Metro
                 29.              Chris Gates
           10                                                                       BitMEX                                       Area
                                                                    Software Engineer - Kubernetes
           11
                                                                         at BitMEX (Working on
           12
                                                                              building Kubernetes
           13                                                         Infrastructure that can handle
                 30.        Supriya Premkumar                                                                     San Francisco, California
           14                                                      tens of thousands of low latency
           15                                                      transactions per second at one of

           16                                                            the world's largest crypto
                                                                                  exchanges.)
           17
                 31.             David Vidal                         Security Engineer at BitMEX                  San Francisco, California
           18
                                                                       Site Reliability Engineering
           19    32.                Scott H.                                                                      San Francisco, California
                                                                                Lead at BitMEX
           20                                                                 Vice President, Chief
           21                                                       Information Security Officer at
           22                                                       BitMEX (Leading the Security

           23                                                            & IT organizations at the
                 33.            Chris McCann                              world’s highest volume                     Palo Alto, California
           24
                                                                                Cryptocurrency
           25
                                                                      exchange. Building a world
           26                                                         class Security team to protect
           27                                                           our customers, assets and
           28
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             1                                                                       brand.)
             2                                                          Staff Security Engineer at
                 34.     Javier Marcos de Prado                                                                    San Francisco, California
             3                                                                       BitMEX
                                                                         Senior Manager Security
             4   35.             Shivali Singh                                                                     San Francisco, California
                                                                              Assurance at BitMEX
             5
                 36.      Felipe Loyola Andrade                      Software Engineer at BitMEX                   San Francisco, California
             6
                                                                      Senior Software Engineer at
             7   37.              Felix Böhm                           BitMEX (Tech lead for the                   San Francisco, California
             8                                                        institutional side of BitMEX)
             9                                                      Engineering Leader, Lead Data
                 38.               Neel Patel                                                                       Burlingame, California
           10                                                                 Engineer at BitMEX
                                                                      Senior Software Engineer at
           11    39.        Taylor Hesselgrave                                                                     San Francisco, California
                                                                                     BitMEX
           12
                                                                     Product Manager at Bitmex at
           13    40.              Alisa Isovic                                                                     San Francisco, California
                                                                                     BitMEX
           14                                                          Site Reliability Engineer at
           15                                                        BitMEX (Primary on call in a
                 41.           Armando Cerna                                                                       San Francisco, California
           16                                                                 high traffic production

           17                                                                     environment.)
                 42.          Miguel Bernadin                      Kubernetes Engineer at BitMEX                   San Francisco, California
           18
                                                                    Senior Software Engineer - API
           19    43.                Elliot S.                                                                      San Francisco, California
                                                                       Technical Lead at BitMEX
           20
                                                                   Security Investigations Manager
                 44.               Bernard S.                                                                              United States
           21                                                                      at BitMEX
           22                                                          HR Operations Specialist at
                 45.             Josie Pappas                                                                      San Francisco, California
           23                                                                        BitMEX

           24    46.              Jinny Wong                          Product Designer at BitMEX                   San Francisco, California
                                                                         Information Technology
           25    47.                Claire F.                                                                      San Francisco, California
                                                                         Management at BitMEX
           26
                                                                      Senior Software Engineer at
           27    48.               Can Selcik                                                                      San Francisco, California
                                                                                     BitMEX
           28
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             1                                                         Threat Intelligence, Insider
             2   49.           Eoghan McKee                           Threat, Incident Response at               San Francisco, California

             3                                                                     BitMEX
                                                                       Head of User Experience at
             4   50.            Lawson Kight                                                                     San Francisco, California
                                                                                   BitMEX
             5
                 51.              Shawhin M.                          Project Manager at BitMEX                  San Francisco, California
             6
                                                                     Platform Security Engineer at
             7   52.                 Ladi D.                                                                     San Francisco, California
                                                                                   BitMEX
             8                                                           Quality Assurance (QA)
                 53.               Neil Eads                                                                     San Francisco, California
             9                                                                Manager at BitMEX

           10                                                      Vice President, Head of Product
                 54.            Michael Curry                                                                    Oakland, California
                                                                                  at BitMEX
           11
                                                                    Principal Visual Designer, User
           12    55.           Joshua Philippe                                                                   San Francisco, California
                                                                          Experience at BitMEX
           13
                                                                      IT Infrastructure Engineer at
                 56.                 Tim L.                                                                      San Francisco, California
           14                                                                      BitMEX
           15                                                         Communication Director and
                 57.             Hunter Shaw                                                                     San Francisco, California
           16                                                                      BitMEX

           17                                                            Senior Security Program
                 58.             Brian Rankin                                                                    San Francisco, California
                                                                              Manager at BitMEX
           18
                                                                       Senior Product Manager at
           19    59.            Bradley Cruce                                                                    San Francisco, California
                                                                                   BitMEX
           20
                                                                      Senior Software Engineer at
                 60.         Simone Bottecchia                                                                   San Francisco, California
           21                                                                      BitMEX
           22    61.                Julia Zhu                      Former Head of Data at BitMEX San Francisco, California
           23    62.                Yifan Gu                       Kubernetes Engineer at BitMEX San Francisco, California

           24                                                         Product Manager at BitMEX
                                                                     (My average week at BitMEX
           25
                 63.            Uday Shankar                            involves product research,               San Francisco, California
           26
                                                                     market research, data analysis,
           27                                                      scouring through support tickets,
           28
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             1                                                        watching social channels for
             2                                                        opportunities in terms of new

             3                                                       features and improvements to
                                                                     existing features collaborating
             4
                                                                   with Engineering, Program, QA,
             5
                                                                    Security, Legal and Compliance
             6
                                                                      teams. I manage expectations
             7                                                      across Design, Engineering and
             8                                                      Management orgs and ensuring

             9                                                      the product ideas and solutions
                                                                    are communicated, wireframed
           10
                                                                    and pitched in the right fidelity
           11
                                                                     to get all stakeholders onboard
           12
                                                                      and scope our short term and
           13                                                         long term roadmaps for each
           14                                                                     projects.)
           15                                                       Principal / Lead senior software

           16                                                      engineer at BitMEX focused on
                 64.          Victor Levasseur                                                                   San Francisco, California
                                                                     a product driven approach and
           17
                                                                              with great business
           18
                                                                          Former Executive Vice
           19                                                            President of Product and
           20                                                       Engineering ( Built and led the
           21                                                           North American arm of an

           22                                                            overseas cryptocurrency
                 65.          Jason Bond Pratt                       derivatives exchange, hiring a              San Francisco, California
           23
                                                                      team of 40 during a period of
           24
                                                                   100x growth. (BitMEX was then
           25
                                                                     and remains the largest crypto
           26                                                         exchange, by volume, in the
           27                                                                      world.)
           28
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             1                                                      • Grew product and engineering
             2                                                          team from 1 to 40 across 5

             3                                                      operational groups, and hired or
                                                                     developed hiring managers for
             4
                                                                              each of them.
             5
                                                                        • Established a culture that
             6
                                                                         valued diversity, respect,
             7                                                         inclusion and appreciation,
             8                                                            emphasizing team-first

             9                                                     principles and a humble, servant
                                                                    leadership ethic throughout our
           10
                                                                               organization.
           11
                                                                       • Hired or developed global
           12
                                                                       leads for Security, DevOps,
           13                                                      Recruiting, IT, UX, Mobile, and
           14                                                        API/Web Engineering, and led
           15                                                        the first D&I initiatives at the
                                                                      company. Secured long term
           16
                                                                        Class A space in the FiDi.
           17
                                                                   • Served on the global exec team
           18
                                                                     and coordinated regularly with
           19                                                          peers and founders in Hong
           20                                                           Kong, London, and NYC.
           21                                                       Managed a budget of $15mm.)

           22                                                       Former Project Office Manager
                                                                          – Global Marketing and
           23    66.    Ska Ska Morales-Murray                                                                    New York, New York
                                                                        Business Development at
           24
                                                                                 BitMEX
           25
                                                                      Head of Security at BitMEX
           26    67.              Tim Tickel                            (Securing cryptocurrency                  San Mateo, California
           27                                                            exchange infrastructure)
           28
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             1                                                           Data Science Manager at
                 68.         Chenqi 'Ashley' X.                                                                     San Francisco, California
             2                                                                       BitMEX

             3                                                           Former Senior Software
                 69.              Kev Zettler                                                                           Oakland, California
                                                                              Engineer at BitMEX
             4
                                                                    Former Art Director at BitMEX
             5
                                                                    (Led a cross-functional rebrand
             6
                                                                   project with Marketing, Product,
             7                                                     and Brand collaborators to build
             8                                                                the BitMEX brand for
             9   70.               Cynthia P.                                 institutional and retail                New York, New York

           10                                                      audiences. Deliverables included
                                                                       brand and style guidelines,
           11
                                                                     visual assets, content strategy,
           12
                                                                         digital and print editorial
           13                                                                      campaigns.)
           14    71.             Natalie Case                         Technical Writer at BitMEX                    Walnut Creek, California
           15                                                          Former Content Manager at
                 72.              Deb Baratz                                                                          New York, New York
           16                                                                        BitMEX
                                                                   Former Operations Supervisor at
           17    73.             Robbin Kyle                                                                         Livingston, New Jersey
                                                                                     BitMEX
           18
                                                                   Former Senior DevOps Engineer
           19
                                                                      at BitMEX (Migrated legacy
           20                                                             services to Kubernetes,
           21                                                      Established effective CI patterns
           22                                                          and provisioning strategies,
                 74.                Jacob H.                                                                           Indianapolis, Indiana
           23                                                        Worked with security team to
                                                                        integrate auth/sso into dev
           24
                                                                    workflows, Created tooling for
           25
                                                                       use by DevOps and Product
           26                                                                        Teams)
           27
                        101.       Based on the publicly available LinkedIn data, while 74 of Defendant HDR
           28
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             1
                 employees are located in the United States, only 34 are located in Hong Kong, which is the home
             2
                 for second largest Defendant HDR office. Therefore, more than two thirds of Defendant HDR
             3
                 employees worldwide are residing in the United States and in this District. Moreover, the vast
             4
                 majority of the 74 United States employees of Defendant HDR are engaged in software
             5
                 development and engineering, while in Hong Kong, there are only six software developers and
             6
                 engineers employed by Defendant HDR. Moreover, all three Site Reliability Engineers Jerry
             7
                 Aldrich, Scott H. and Armando Cerna, personally responsible for the fraudulent system overloads
             8
                 and server freezes, are located in this District. Therefore, the United States and, specifically, this
             9
                 District is unquestionably the central location where all the technology behind the BitMEX
           10
                 platform has been and continues to be developed, from which the BitMEX platform is operated
           11
                 and managed by Defendants and where the illegal acts alleged in this Complaint took place.
           12
                        102.       In addition, BitMEX website lists 17 job openings for Defendant HDR San
           13
                 Francisco office. For comparison, the other two offices of Defendant HDR – Hong Kong and
           14
                 Singapore list 14 and two job openings, respectively. Furthermore, out of 17 advertised job
           15
                 openings in Defendant HDR San Francisco office, 15 are openings in engineering and software
           16
                 development. On the other hand, in Hong Kong office, only four job openings are in software
           17
                 development and engineering. This fact further supports the conclusion that the United States
           18
                 and, specifically, this District is unquestionably the central location where all the technology
           19
                 behind the BitMEX platform has been and continues to be developed, from which the BitMEX
           20
                 platform is operated and managed and where the illegal acts alleged in this Complaint took place.
           21
                        103.       BitMEX conducts offsites for the entire company hosted at its San Francisco office
           22
                 location, at least one of which occurred in November of 2017, in which Defendant Hayes and the
           23
                 rest of BitMEX’s employees globally came to San Francisco and the San Francisco office.
           24
                        104.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
           25
                 almost the entire engineering team (all but six) as well as all three Site Reliability Engineers Jerry
           26
                 Aldrich, Scott H. and Armando Cerna, as alleged in Paragraph 101, and almost all vital external
           27
                 service providers to BitMEX, as alleged in Paragraph 83, are located in this District, and because
           28
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             1
                 Defendant ABS, which develops, operates, enables, supports and services BitMEX platform is
             2
                 located in this District, this District is the home base of the largest operation of Defendant DHR,
             3
                 the nerve center of the operation of the BitMEX platform, and it is the location where the illegal
             4
                 acts alleged in this complaint took place, including, without limitation, racketeering in violation
             5
                 of 18 U.S.C. §§ 1962(d) and (c), wire fraud in violation of 18 U.S.C. § 1343; money laundering in
             6
                 violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in property derived from
             7
                 specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting, controlling, managing,
             8
                 supervising, directing, or owning all or part of an unlicensed money transmitting business in
             9
                 violation of 18 U.S.C. § 1960(a), interstate transportation of stolen property in violation of 18
           10
                 U.S.C. § 2314 and cryptocurrency market manipulation in violation of the CEA, 7 U.S.C. §§ 1 et
           11
                 seq. (2012) and CFTC Regulations promulgated thereunder, 17 C.F.R. §§ 1 et seq. (2018).
           12
                 Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           13
                 and operated by United States based Amazon EKS. Furthermore, the illegal acts alleged herein
           14
                 were all perpetrated by Defendants through their commercial website BitMEX.com, accessible,
           15
                 via widely available and inexpensive VPN software, by users located in the United States and this
           16
                 District. Defendants knew that users located in the United States and this District were accessing
           17
                 their commercial website BitMEX.com.
           18
                         105.      Numerous citizens and residents of the United States and this District conducted
           19
                 and continue to conduct a high volume derivatives trading on the BitMEX platform using
           20
                 Defendants’ commercial website BitMEX.com.
           21
                         106.      The same commercial website BitMEX.com was used by Defendants to perpetrate
           22
                 all the illegal acts alleged in Paragraph 104, resulting in injuries to Plaintiff, for which Plaintiff
           23
                 seeks redress in this Complaint. Accordingly, Defendants’ connections with the United States
           24
                 and this District through the commercial website BitMEX.com, used by the United States
           25
                 residents and residents of this District, are directly related to the causes of action asserted by
           26
                 Plaintiff in this Complaint.
           27
                         107.      For the reasons stated in the previous Paragraphs of this Complaint, BitMEX is a
           28
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             1
                 domestic United States cryptocurrency exchange.
             2
                                               U.S. TRADERS ON BITMEX LEADERBOARD
             3
                        108.       While Defendants and their counsel are busy disingenuously swearing to Courts
             4
                 that “U.S. persons are expressly prohibited from trading on BitMEX platform,” Defendants’ own
             5
                 public Leaderboard posted on Defendants’ website (https://www.bitmex.com/app/leaderboard)
             6
                 reveals that just four U.S.-based traders who decided to reveal their real names (evidently in an
             7
                 effort to assist with fundraising): Roger Xu of Leotank Capital Inc. and Bryce Gilleland, Wen
             8
                 Hou and Sunil Shah of Coincident Capital (Ex. 14) generated almost $70,000,000 in trading
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20

           21
           22
           23
           24
           25    profits on Defendants’ BitMEX platform. As attached Ex. 8 clearly shows, Bryce Gilleland, Wen
           26    Hou and Sunil Shah reside in California, while Roger Xu resides in New York.
           27           109.       Moreover, the above staggering amount of business was conducted by Defendants
           28
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             1
                 in the United States and the State of California without obtaining a money transmission license
             2
                 and without complying with the mandatory FinCEN regulations in violation of 18 U.S.C.
             3
                 § 1960(a). Notably, all the above evidence was obtained from Defendants’ own public website
             4
                 without any benefit of discovery. Plaintiff is informed and believes that this is a mere tip of the
             5
                 iceberg and that up to third of all traders on the BitMEX Leaderboard generating half a billion
             6
                 dollars of profits are U.S. persons.
             7
                                        ATTEMPTS TO MISLEAD COURTS REGARDING
             8                                           MATERIAL FACTS
                                  “U.S. persons are expressly prohibited from accessing and trading on
             9
                                       the BitMEX platform.” Mr. Hibbard, Defendants’ counsel.
           10           110.       It is simply inconceivable that Defendants and their litigation counsel somehow
           11    did not know that some of their top traders who generated almost $70,000,000 in profits on
           12    Defendants’ own platform were U.S. persons, Ex. 8. Obviously, such high profile traders are
           13    universally known by name. Yet, with full knowledge that some of BitMEX’s top trading
           14    accounts which generated almost $70,000,000 in trading gains were in fact operated by U.S.
           15    persons, Defendant Hayes, with the assistance and encouragement of Defendants’ counsel,
           16    nevertheless disingenuously swore under the penalty of perjury in a California Superior Court
           17    proceeding, in a motion challenging Court’s jurisdiction that “U.S. persons are expressly
           18    prohibited from accessing or trading on the BitMEX platform.” Defendants’ counsel, not to be
           19    outdone, repeated this travesty thirteen (!) more times throughout his various motions and
           20    oppositions. Various representations of material facts made by Defendant Hayes and his counsel
           21    to Courts as well as the true facts are summarized in the table below:
           22
                  Court Name,
                                                     Defendant Hayes’          Defendants’ counsel’s                The True Facts and
           23       Case and            Date
                                                      Representations          Representations and                       Exhibits
                   Document
           24    N.D. Cal. 3:20-      6/12/20                                 “No further time and             “Contrary to requirements
                 cv-3345-WHO,                                                 attention of this Court is       imposed on DCMs and
           25    Defendants’                                                  warranted as there is no         SEFs, BitMEX has failed
                 Opposition to                                                need for a court to order        to maintain required
           26    Ex Parte                                                     someone to do what they          records, and in fact has
                 Application for                                              are already doing.”              actively deleted required
           27    Evidence                                                                                      records including critical
                 Preservation                                                 “Our clients understand          customer identification
           28    Order [Dkt.                                                  their document                   information.” Ex. 5, p. 16,
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             1   No. 26, p. 3, 5].                                             preservation                     ¶ 49.
                                                                               responsibilities and have
             2                                                                 acted responsibly to
                                                                               fulfill them. As such,
             3                                                                 there is no dispute, and
                                                                               there is no need for a
             4                                                                 document preservation
                                                                               order.”
             5   San Francisco         2/27/20       “U.S. persons are                                          “BitMEX operated its
                 County                              expressly                                                  trading platform in large
             6   Superior Court,                     prohibited from                                            part from the United States,
                 CGC19581267,                        accessing or trading                                       and engaged in transactions
             7   Declaration in                      on the BitMEX                                              with thousands of U.S.
                 Support of                          platform under the                                         persons. BitMEX accepted
             8   Motion to                           terms of service.”                                         bitcoin deposits worth
                 Quash                                                                                          more than $11 billion from
             9   San Francisco         2/27/20                                 “HDR is a holding                at least 85,000 user
                 County                                                        company that                     accounts with a U.S.
           10    Superior Court,                                               ultimately owns the              nexus.” Ex. 5, p. 3, ¶ 3.
                 CGC19581267,                                                  BitMEX-branded trading
           11    MPA in                                                        platform that allows the         “BitMEX even maintained
                 Support of                                                    trading of digital assets        an internal dashboard of
           12    Motion to                                                     (such as cryptocurrency          open accounts from
                 Quash                                                         derivatives) by certain          supposedly restricted
           13                                                                  non-U.S. persons.”               jurisdictions… Delo
                 San Francisco         2/27/20                                 “Further, U.S. persons           altered a U.S. resident’s
           14    County                                                        are prohibited                   (and prominent BitMEX
                 Superior Court,                                               from accessing and               user) account location to
           15    CGC19581267,                                                  trading on the BitMEX            Canada for a user that
                 MPA in                                                        platform.”                       brought in 1,336 user
           16    Support of                                                                                     accounts through
                 Motion to                                                                                      BitMEX’s affiliate
           17    Quash                                                                                          program… Hayes, Delo,
                 San Francisco         2/27/20                                 “U.S. persons are                and Reed received or had
           18    County                                                        prohibited from trading          access to spreadsheets and
                 Superior Court,                                               on the BitMEX                    reports that showed the
           19    CGC19581267,                                                  platform.”                       trading volume, revenue to
                 MPA in                                                                                         BitMEX, and other account
           20    Support of                                                                                     and transactional
                 Motion to                                                                                      information for U.S. based
           21    Quash                                                                                          traders. For example,
                 San Francisco         6/16/20       “U.S. persons are                                          BitMEX country revenue
           22    County                              expressly                                                  reports from October 2018
                 Superior Court,                     prohibited from                                            contain information about
           23    CGC19581267,                        accessing or trading                                       the number of U.S traders
                 Declaration in                      on the BitMEX                                              on its platform.” Ex. 5, p.
           24    Support of                          platform under the                                         24, ¶ 91.
                 Motion to                           terms of service.”
           25    Quash                                                                                          Some of BitMEX’s most
                 San Francisco         6/16/20                                 “HDR is a holding                profitable trading accounts
           26    County                                                        company that                     openly listed on BitMEX’s
                 Superior Court,                                               ultimately owns the              public Leaderboard, which
           27    CGC19581267,                                                  BitMEX-branded trading           generated almost
                 MPA in                                                        platform that allows the         $70,000,000 in trading
           28
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             1   Support of                                                   trading of digital assets        profits, were and continue
                 Motion to                                                    (such as cryptocurrency          to be operated by four U.S.
             2   Quash                                                        derivatives) by certain          persons Bryce Gilleland,
                                                                              non-U.S. persons.”               Wen Hou, Sunil Shah and
             3   San Francisco        6/16/20                                 “U.S. persons are                Roger Xu.
                 County                                                       expressly prohibited
             4   Superior Court,                                              from accessing and               Bryce Gilleland resides at:
                 CGC19581267,                                                 trading on                       1400 Calle De Las Flores,
             5   MPA in                                                       the BitMEX platform.”            San Dimas, CA 91773, Ex.
                 Support of                                                                                    8.
             6   Motion to
                 Quash                                                                                         Wen Hou resides at: 2253
             7   San Francisco        6/16/20                                 “Plaintiffs allege that …        Martin Ct. Apt. 113, Irvine,
                 County                                                       U.S. persons trade on the        CA 92612, Ex. 8.
             8   Superior Court,                                              BitMEX platform despite
                 CGC19581267,                                                 being prohibited from            Sunil Shah resides at: 310
             9   MPA in                                                       doing so.                        Lake St., Unit #310,
                 Support of                                                   Regardless of the truth of       Huntington Beach, CA
           10    Motion to                                                    these allegations—most           92648, Ex. 8.
                 Quash                                                        of which are false
           11                                                                 or otherwise                     Roger Xu resides at: 250W
                                                                              misleading…”                     50th Street, Apt. 3d2, New
           12    San Francisco        6/16/20                                 “Further, U.S. persons           York, NY 10019, Ex. 8.
                 County                                                       are prohibited
           13    Superior Court,                                              from trading on the              Due to the enormous sizes
                 CGC19581267,                                                 BitMEX platform.”                of the trading gains
           14    MPA in                                                                                        involved and the high
                 Support of                                                                                    profile of the traders, it is
           15    Motion to                                                                                     absolutely inconceivable
                 Quash                                                                                         for Defendants and their
           16    San Francisco        6/16/20                                 “U.S. persons are                counsel not to have known
                 County                                                       prohibited from trading          this fact at the time
           17    Superior Court,                                              on the BitMEX                    Defendants and their
                 CGC19581267,                                                 platform.”                       counsel made the material
           18    MPA in                                                                                        representations to the
                 Support of                                                                                    courts regarding
           19    Motion to                                                                                     jurisdictional facts.
                 Quash
           20    San Francisco        6/23/20                                 “U.S. persons are
                 County                                                       expressly prohibited
           21    Superior Court,                                              from accessing and
                 CGC19581267,                                                 trading on the BitMEX
           22    Opposition to                                                platform.”
                 Motion to
           23    Compel
                 San Francisco        6/23/20                                 “Plaintiffs allege that …
           24    County                                                       some U.S. persons trade
                 Superior Court,                                              on the BitMEX platform
           25    CGC19581267,                                                 despite being prohibited
                 Opposition to                                                from doing so.
           26    Motion to                                                    Regardless of the truth of
                 Compel                                                       these allegations—most
           27                                                                 of which are false or
                                                                              otherwise misleading.”
           28
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             1   San Francisco        6/25/20                                 “U.S. persons are
                 County                                                       expressly prohibited
             2   Superior Court,                                              from accessing and
                 CGC19581267,                                                 trading on the BitMEX
             3   MPA in                                                       platform.”
                 Support of
             4   Motion for
                 Protective
             5   Order
                 San Francisco        6/25/20                                 “Plaintiffs allege that …
             6   County                                                       some U.S. persons trade
                 Superior Court,                                              on the BitMEX platform
             7   CGC19581267,                                                 despite being prohibited
                 MPA in                                                       from doing so.
             8   Support of                                                   Regardless of the truth of
                 Motion for                                                   these allegations—most
             9   Protective                                                   of which are false or
                 Order                                                        otherwise misleading.”
           10
                        111.       While the conduct of Defendants and their counsel alleged in the previous
           11
                 paragraph may not be technically a perjury, a plain and clear attempt to mislead Courts as to very
           12
                 material facts critical for the jurisdictional inquiry is evident. This speaks volumes as to the
           13
                 “catch me if you can” strategy adopted by all Defendants. Defendants’ counsel, on the other
           14
                 hand, who is an officer of the court and who is charged to act as a gatekeeper, seems to take
           15
                 special pride in perpetuating untruths concocted by Defendants to try to wiggle their way out of
           16
                 facing justice for their misdeeds.
           17
                        112.       Less than 48 hours after Plaintiff brought the above facts to the attention of the
           18
                 Court in the CMC Statement filed on August 11, 2020, Dkt. 33, Defendants abruptly instituted a
           19
                 so called “BitMEX User Verification Programme,” solely intended to create an apparent excuse
           20
                 for previously misleading Courts regarding U.S. traders on BitMEX platform, Ex. 9. Evidently,
           21
                 Defendants intend to disingenuously claim to the Court that, prior to the sudden institution of the
           22
                 aforesaid 11th hour “BitMEX User Verification Programme,” Defendants somehow did not know
           23
                 that U.S. persons were trading on BitMEX en masse and also did not know who their top traders
           24
                 were, despite maintaining an official Leaderboard for more than 4 years. In view of all the above
           25
                 facts, Defendants’ 11th hour firefighting efforts are clearly disingenuous.
           26
           27
           28
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             1                       ACCEPTANCE OF TAINTED FUNDS AS PAYMENT FOR
                                     MISLEADING COURTS BY DEFENDANTS’ ATTORNEYS
             2
                        113.       Not only was Defendants’ counsel eagerly willing to mislead Courts regarding
             3
                 material jurisdictional facts to get Defendants off the hook no matter the cost, he also gladly
             4
                 accepted funds tainted with proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and
             5
                 1957 and proceeds of operating an unlicensed money transmitting business in violation of 18
             6
                 U.S.C. § 1960(a) as his fee for doing so.
             7
                        114.       As alleged above, BitMEX knowingly collects hundreds of millions of dollars in
             8
                 trading fees from the money laundering transactions taking place on its platform on a daily basis,
             9
                 including during each of the specific Manipulation Times alleged in Paragraph 353 below, which
           10
                 constitute “proceeds” of money laundering under 18 U.S.C. §§ 1956 and 1957 and which are
           11
                 deposited into its general account (bitcoin wallet), from which all legal fees of BitMEX attorneys
           12
                 are paid (after currency conversion). Thus, BitMEX’s employee salaries, office rents and even
           13
                 legal fees that BitMEX attorneys collect are tainted with the proceeds of money laundering in
           14
                 violation of 18 U.S.C. §§ 1956 and 1957.
           15
                        115.       Moreover, BitMEX has been recently caught red-handed doing at least
           16
                 $70,000,000 of business in New York and California without obtaining a money transmitting
           17
                 license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.
           18
                 § 1960(a), Ex. 8. This violation has been conclusively proven using BitMEX’s own Leaderboard,
           19
                 Ex. 8. Even Defendants themselves acknowledged this fact by hastily instituting a “User
           20
                 Verification Programme” less than 48 hours after being caught doing unlicensed business in the
           21
                 United States, Ex. 9. In total, BitMEX has 65 individual and 14 institutional United States traders
           22
                 that Plaintiff is aware of, see Paragraphs 93, 94, 99. The amount of $70,000,000 of unlicensed
           23
                 United States business exceeds any possible threshold for the obligation to obtain the money
           24
                 transmitting license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella, 39 F.
           25
                 Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was
           26
                 $1,000,000 in unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.
           27
                 Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed
           28
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             1
                 bitcoin transmissions. Based on these cases, Defendants have exceeded the legal threshold for
             2
                 triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x (two thousand three hundred thirty
             3
                 three times).
             4
                        116.       Consequently, all the fees that BitMEX collected from its trading operations and
             5
                 deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
             6
                 business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
             7
                 in violation of 18 U.S.C. §§ 1956 and 1957, as explained in Paragraph 114 above). Legal fees for
             8
                 Defendants’ counsel’s “services” aimed at misleading Courts were paid from the same general
             9
                 account, which contained the tainted funds.
           10
                        117.       It should be further noted that the Safe Harbor Provision of 18 U.S.C. § 1957(f)(1)
           11
                 applies to criminal matters only, while Defendants’ counsel received tainted funds for
           12
                 representing Defendants in civil cases. Therefore, the Safe Harbor Provision of 18 U.S.C. §
           13
                 1957(f)(1) does not apply and the acceptance of tainted funds for counsel’s efforts to mislead
           14
                 Courts, itself constitutes money laundering in violation of 18 U.S.C. §§ 1956 and 1957.
           15
                        118.       Thus, all the fees paid to Defendants’ legal counsel in this and other civil matters
           16
                 by Defendants, including fees paid for misleading Courts regarding material jurisdictional facts as
           17
                 alleged in Paragraphs 110 and 111, were tainted with proceeds of money laundering in violation
           18
                 of 18 U.S.C. §§ 1956 and 1957 and proceeds of operating an unlicensed money transmitting
           19
                 business in violation of 18 U.S.C. § 1960(a). Moreover, Defendants’ counsel was clearly on
           20
                 notice of very serious issues with Defendant Hayes, as Mr. Hayes has previously publicly
           21
                 admitted to bribery of foreign government officials and bank fraud, Ex. 10, 11, of which
           22
                 Defendants’ counsel was specifically informed. Thus, Defendants’ counsel’s conduct of
           23
                 misleading Courts about material facts and accepting tainted money as fees for doing so was
           24
                 clearly intentional. Notably, some of the Defendants used the same tainted funds from their
           25
                 general account to acquire real state in Wisconsin and Massachusetts as alleged in Paragraph 334.
           26
                                                             JURISDICTION AND VENUE
           27
                        119.       Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 118 above as
           28
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             1
                 if fully set forth herein.
             2
                         120.      This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C. §
             3
                 1964 as well as 28 U.S.C. §§ 1331 and 1332(a). Specifically, this action arises under RICO and
             4
                 CEA, both of which present a federal question.
             5
                         121.      This Court has jurisdiction over the statutory and common law claims of violations
             6
                 under California law pursuant to this Court’s supplemental jurisdiction under 28 U.S.C. §
             7
                 1367(a).
             8
                         122.      This Court has personal jurisdiction over Defendants, and each of them, pursuant
             9
                 to California long arm statute codified in Cal. Code Civ. Proc. § 410.10 as well as RICO personal
           10
                 jurisdiction provisions of 18 U.S.C. § 1965(a) and (b).
           11
                         123.      Defendant HDR conducts and has conducted a substantial, systematic, and
           12
                 continuous business in the State of California as alleged hereinabove.
           13
                         124.      Defendant ABS conducts and has conducted a substantial, systematic, and
           14
                 continuous business in the State of California as alleged hereinabove.
           15
                         125.      Defendant Hayes conducts and has conducted a substantial, systematic, and
           16
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant
           17
                 Hayes transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least
           18
                 through his alter ego Defendant ABS, headquartered in this District, of which is he a founder,
           19
                 CEO, CFO, secretary and director. As alleged in Paragraph 38, name “ABS” is an abbreviation
           20
                 constructed of first letters of first names (Arthur, Ben and Samuel) of individual Defendants
           21
                 Hayes, Delo and Reed.
           22
                         126.      Defendant Delo conducts and has conducted a substantial, systematic, and
           23
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant Delo
           24
                 transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
           25
                 alter ego Defendant ABS, headquartered in this District, of which is he a founder. As alleged in
           26
                 Paragraph 38, name “ABS” is an abbreviation constructed of first letters of first names (Arthur,
           27
                 Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
           28
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             1
                        127.       Defendant Reed conducts and has conducted a substantial, systematic, and
             2
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant Reed
             3
                 transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
             4
                 alter ego Defendant ABS, headquartered in this District, of which is he a founder and CTO. As
             5
                 alleged in Paragraph 38, name “ABS” is an abbreviation constructed of first letters of first names
             6
                 (Arthur, Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
             7
                        128.       This Court clearly has personal jurisdiction over at least one of the participants in
             8
                 the alleged multi-district RICO conspiracy – Defendant ABS, which is headquartered in this
             9
                 District. In fact, this Court also has personal jurisdiction over Defendant HDR as well as other
           10
                 Defendants. In a San Francisco County Superior Court case CGC19581267, Judge Schulman
           11
                 flatly rejected some of the same Defendants’ fraudulent shell games and held that Defendants
           12
                 operated as a single enterprise for California law purposes. Therefore, Defendant HDR as well its
           13
                 California alter ego Defendant ABS is a single enterprise with extensive presence in this district
           14
                 (over 80 employees). See Systems Div., Inc. v. Teknek Elect., Ltd. 253 F. App’x 31, 37 (Fed.
           15
                 Cir. 2007) (“The exercise of jurisdiction over an alter ego is compatible with due process because
           16
                 a corporation and its alter ego are the same entity—thus, the jurisdictional contacts of one are the
           17
                 jurisdictional contacts of the other for purposes of the International Shoe due process analysis.”).
           18
                 Defendant ABS, which is an alter ego of Defendant HDR, has its headquarters and over 70
           19
                 employees in California. Attributing these contacts to Defendants HDR clearly subjects it to the
           20
                 personal jurisdiction of this Court. Moreover, Defendants and their counsels’ failed attempts to
           21
                 hide the fact that BitMEX’s top traders generating almost $70,000,000 in trading profits are U.S.
           22
                 persons clearly supports holding Defendants accountable for their actions in a United States
           23
                 District Court.
           24
                        129.       There is no other District within the United States in which a Court would have a
           25
                 personal jurisdiction over all of the alleged RICO co-conspirators. Defendants Reed, Barbara
           26
                 Reed and Trace Reed reside in Wisconsin. Defendant Agata Reed resides in Massachusetts.
           27
                 Defendants Grape Park and Mark Sweep are incorporated in Delaware. Therefore, it is in the
           28
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             1
                 interests of justice to bring all the remaining Defendants before this Court pursuant to RICO's
             2
                 nationwide jurisdiction provision of 18 U.S.C. § 1965(b).
             3
                         130.      Venue is proper in this District pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
             4
                 1391(b)(1). Venue is similarly proper pursuant to 7 U.S.C. § 25(c) in that this is a District
             5
                 wherein a defendant is found, resides, or transacts business, or wherein any act or transaction
             6
                 constituting the violation occurred.
             7
                                                          INTRADISTRICT ASSIGNMENT
             8
                         131.      Pursuant to Civil Local Rule 3-5 of the United States District Court for the
             9
                 Northern District of California, the San Francisco division is the proper venue because substantial
           10
                 part of the events or omissions, which give rise to this action has occurred in San Francisco
           11
                 county, where Defendants’ HDR and ABS principal offices are located.
           12
                                                               BACKGROUND - BITCOIN
           13
                         132.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-131 above
           14
                 as if fully set forth herein.
           15
                         133.      Bitcoin is form of cryptocurrency. It is a trustless, decentralized digital currency
           16
                 without a central bank or single centralized administrator that can be sent from user to user on the
           17
                 peer-to-peer bitcoin network without the need for intermediaries or a trusted central authority.
           18
                         134.      Bitcoin was invented in or about 2008 and described in a whitepaper entitled
           19
                 “Bitcoin: A Peer-to-Peer Electronic Cash System” authored by an unknown person or group of
           20
                 people using the name Satoshi Nakamoto and started in 2009 when its source code was released
           21
                 as an open-source software. Bitcoins are created as a reward for a process known as mining.
           22
                 They can be exchanged for other currencies, products, and services.
           23
                         135.      Bitcoin transactions are verified by a network of nodes through cryptography and
           24
                 recorded in a public distributed ledger called a blockchain, which is maintained by multiple
           25
                 bitcoin network nodes through the use of a consensus protocol. Every bitcoin transaction starting
           26
                 from the very first one may be viewed and verified using the blockchain. The blockchain consists
           27
                 of a chronologically ordered sequence of blocks holding records of bitcoin network transactions.
           28
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             1
                 A new block is generated by miners every 10 minutes. The integrity of the blockchain is
             2
                 maintained by including a hash of each block in to the subsequent block. This way, if any block
             3
                 is altered (forged) after its creation, all the subsequent blocks would have to be also modified or
             4
                 the hash discrepancy caused by the modification will be immediately detected by all the network
             5
                 nodes.
             6
                          136.     Bitcoins are traded for United States dollars, Euros and other fiat currencies and
             7
                 cryptocurrencies on centralized online marketplaces called exchanges. Usually, transactions
             8
                 taking place inside exchanges, such as executions of buy and sell orders are not recorded on the
             9
                 public blockchain and, therefore, it is hard to independently verify them using the blockchain.
           10
                 Most exchanges do not have internal protections against bitcoin price manipulation as well as
           11
                 other fraudulent behavior, which is rampant due to low trading liquidity of the bitcoin market.
           12
                          137.     Stablecoins are cryptocurrencies designed to minimize the volatility of the price of
           13
                 the stablecoin, relative to some "stable" asset or basket of assets. The value of a stablecoin can be
           14
                 pegged to a cryptocurrency, fiat money, or to exchange-traded commodities (such as precious
           15
                 metals or industrial metals). Most frequently used stablecoins are those pegged to United States
           16
                 dollar, including, without limitation, Tether (USDT), USDC and the like.
           17
                          138.     Since at least 2015, the CFTC has maintained that bitcoin, and other virtual
           18
                 currencies, fit the definition of a commodity primarily through administrative actions. In re
           19
                 Coinflip, Inc., CFTC Docket No. 15-29, 2015 WL 5535736 at *3 (Sept. 17, 2015). CFTC v.
           20
                 McDonnell, 287 F. Supp. 3d 213, 228 (E.D.N.Y. 2018) was the first time the CFTC’s position
           21
                 was given judicial approval. The court noted that “[v]irtual currencies can be regulated by the
           22
                 CFTC as a commodity,” because virtual currencies can be exchanged in a market for a uniform
           23
                 quality and value. The Court’s reasoning makes clear that bitcoin and other virtual currencies fall
           24
                 within both the common law definition of commodity and the CEA’s definition of a commodity.
           25
           26                              BITCOIN PRICE MANIPULATION TECHNIQUES
                          139.     Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-138 above
           27
                 as if fully set forth herein.
           28
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             1
                         140.      On or about September 9, 2019, Chairman of the United States Security Exchange
             2
                 Commission (“SEC”) Jay Clayton stated: “[i]n the trading area, it troubles me that people look on
             3
                 these venues and think it has got the same level of protection that you’d have on an equity market
             4
                 in the US NASDAQ and MYSZ. Nothing could be further from the truth, we have lengthy
             5
                 rulebooks, all sorts of protections to make sure that prices are not manipulated in the equity
             6
                 markets, I don’t see those in the Crypto asset markets.”
             7
                         141.      Bitcoin derivatives and especially spot markets remain thinly traded making them
             8
                 particularly susceptible to pumps-and-dumps, Barts, stop loss hunts, liquidation cascades,
             9
                 spoofing, as well as other forms of market manipulation. The primary beneficiaries of such
           10
                 illegal manipulation are the perpetrators, who are able to fill their orders at better than market
           11
                 prices at the expense of other traders, as well as cryptocurrency exchanges, such as BitMEX,
           12
                 which benefit through increased trading volumes as well as trader position liquidations. This
           13
                 provides very strong financial incentive for exchanges to manipulate cryptocurrency markets.
           14
                         142.      Pump-and-dump is the fraudulent practice of perpetrators encouraging unwitting
           15
                 investors to buy an asset, such as bitcoin, to inflate its price artificially, and then selling it when
           16
                 the price reaches a predetermined threshold. Pumps-and-dumps are designed to deceive the
           17
                 inventors as to the state of market supply and demand for the asset by means of artificially
           18
                 increasing the price and trading volume of the asset that is designed to entice unwitting investors
           19
                 to join the hype, and to buy the asset at an artificially inflated price, which they would not have
           20

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           28
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             1
                 done otherwise. When the perpetrators behind the scheme sell (dump) their bitcoins and stop
             2
                 pumping it, the price plummets, and other investors are left holding the asset that is worth
             3
                 significantly less than they paid for it. As the result, traders who bought the bitcoin on margin,
             4
                 may be subject to execution of stop losses as well as liquidations.
             5
                        143.       Bart patterns or simply “Barts” are a variety of pumps-and-dumps involving
             6
                 intense pumps or dumps occurring within a very short time frame causing price action to find a
             7
                 new high or low for a very short period, followed by equally violent return to the previous level.
             8
                 Perpetrators using this manipulation tactic benefit by having their sell/buy orders filled, and
             9
                 causing the unwitting investors to open positions against the trend.
           10
                        144.       Barts are created by perpetrators using Momentum Ignition Algorithms, which
           11
                 work by creating a sharp spike in buy or sell action within a market with the purpose of deceiving
           12
                 the market participants as to market-based forces of supply and demand for an asset and enticing
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           26
                 unsuspecting traders, or other trading algorithms, to follow the trade and place orders that they
           27
                 would not have otherwise placed. Barts are intended to trick other market participants into
           28
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             1
                 reacting to an apparent change and imbalance of supply and demand by buying and selling bitcoin
             2
                 derivatives at times, prices and quantities that they otherwise would likely not have traded.
             3
                 Additionally, unsuspecting traders will place buy orders above significant zones, to catch up
             4
                 trends, and short sellers will place stops losses in similar areas, these are effectively buy orders. In
             5
                 order for the malicious algorithm to be most effective it has to push price into these liquidity
             6
                 zones, triggering buys, and from there it can disengage. Sometimes, several hours later, a floor of
             7
                 buy orders is removed, and a momentum ignition may be activated in the opposite direction
             8
                 causing a dump.
             9
                        145.       Stop loss hunting is a type of market manipulation, when the perpetrators attempt
           10
                 to artificially move the price for an asset to a predetermined price value to force other market
           11
                 participants out of their positions. This type of manipulation is performed by executing one or
           12
                 more buy or sell orders with the purpose to drive the price of an asset to a level where many
           13
                 market players have chosen to set their stop-loss orders. Stop loss orders are orders that get
           14
                 automatically executed at market price should the price of bitcoin reach a predetermined price
           15
                 threshold. The perpetrator buys or sells spot bitcoin or bitcoin derivative until the price threshold
           16
                 is reached. When the stop loss orders are triggered due to a stop loss hunt manipulation, the
           17
                 trader’s asset holdings are sold at prevailing market prices causing the market to be filled with a
           18
                 large number of market orders, which has the ability to move the asset price even further
           19
                 triggering more stop loss orders and can even result in liquidations. The result is a cascading
           20
                 execution of a large number of market orders. The perpetrators place their buy or sell orders such
           21
                 as to have them filled at the bottom or at the top of the resulting stop loss execution cascade at
           22
                 artificially below or artificially above market prices, respectively. After the initial market move,
           23
                 the price of the asset sometimes recovers and perpetrators generate a profit due to their illicit
           24
                 actions.
           25
                        146.       Liquidation cascade is an extreme case of the stop loss hunt, when the perpetrator
           26
                 pushes the price of the asset or derivative to reach position liquidations levels for multiple traders
           27
                 and the resulting multiple market liquidations take place in a very short time interval moving the
           28
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             1
                 price even further. This triggers additional liquidations causing a cascading execution of a large
             2
                 number of liquidation orders. Similarly to the stop loss hunt, the perpetrators place their buy or
             3
                 sell orders such as to have them filled at the bottom or at the top of the resulting liquidations
             4
                 cascade, at artificially below or artificially above market prices, respectively.
             5
                        147.       The manipulative price actions alleged hereinabove perpetrated by culprits on one
             6
                 cryptocurrency spot or derivatives exchange quickly propagate to all other exchanges due to the
             7
                 widespread use of arbitrage bots, which are algorithms coded in software that take advantage of
             8
                 the price discrepancy between exchanges by buying or selling an asset in one market and
             9
                 simultaneously selling or buying it in another market at a more favorable price. Thus, a
           10
                 manipulative price action on one cryptocurrency exchange results in a substantially similar price
           11
                 action on all other exchanges.
           12
                        148.       Because cryptocurrency derivatives exchanges contracts are based heavily on
           13
                 bitcoin spot index price on a handful of relatively illiquid spot exchanges, a large bitcoin spot
           14
                 price move may be accomplished by executing relatively small market orders on the illiquid spot
           15
                 exchanges. For example, .BXBT index price used by Defendants for BitMEX’s XBTUSD
           16
                 Perpetual Swap contract is based substantially on bitcoin prices on United States based exchanges
           17
                 BitStamp USA Inc., which owns and operates cryptocurrency exchange online platform
           18
                 BitStamp.net (“BitStamp”), see Ex. 14; Coinbase Inc. (“Coinbase Pro”) and Kraken3 (“Kraken”),
           19
                 which are much less liquid than BitMEX itself.
           20
                        149.       Once initiated using helper accounts on BitStamp, Coinbase Pro and/or Kraken,
           21
                 the aforesaid price move spreads, through the aforesaid index, to order books of very liquid
           22
                 derivatives exchanges, such as BitMEX and causes massive, multimillion dollar instant
           23
                 liquidations of derivatives positions of retail traders like Plaintiff. Such liquidations provide a
           24
                 financial windfall to derivatives exchanges such as BitMEX due to the increased trading volume
           25
                 as well as confiscation by the exchanges of the residual collateral of the liquidated retail traders, if
           26
           27
                 3
                  Kraken is owned and operated by Payward, Inc. with offices at 237 Kearny Street Suite 102,
           28    San Francisco, CA 94108 United States.
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             1
                 the exchange is able to close the traders’ positions at prices better than bankruptcy price. In
             2
                 BitMEX, the amount of funds so confiscated from liquidated traders exceeded, as of August 24,
             3
                 2020, 36,341 bitcoins valued at $427,000,000, which amount is stored in a winner account on the
             4
                 BitMEX exchange.
             5
                        150.       Pumps-and-dumps, Barts, stop loss hunts and liquidation cascades may be utilized
             6
                 by perpetrators for purposes of money laundering, especially when exchanges do not require any
             7
                 documents to open an account. For example, in case of a liquidation cascade, a first person or
             8
                 entity may execute a relatively small market order to trigger the liquidation cascade and a second,
             9
                 separate, person or entity, acting from a separate exchange account, opened on the same or
           10
                 different exchange, may place large buy or sell orders, respectively, to have them filled at the
           11
                 artificially low or high (below or above market) prices caused by the liquidation cascade triggered
           12
                 by the actions of the first person or entity. The first entity generally would book a loss, while the
           13
                 second entity would book a profit. The first entity may be officially located in a high tax
           14
                 jurisdiction, such as California, while the second entity may be incorporated in a tax-heaven
           15
                 jurisdiction, such as British Virgin Islands. Furthermore, the first entity may execute the order on
           16
                 an illiquid spot exchange, such as BitStamp, to amplify the effect of the initiating market order
           17
                 while the second entity may operate on a high liquidity derivatives exchange such as BitMEX,
           18
                 which uses the price of the spot exchange in calculating its index.
           19
                        151.       In a criminal commodity derivatives market manipulation case USA v. Smith et al.
           20
                 (N.D. IL 2019), the United States Department of Justice (DOJ) took a position that placing orders
           21
                 for commodity derivatives contracts in a manner that was intended to deliberately trigger or
           22
                 deliberately avoid triggering a specific price-based event, such an option execution, is unlawful.
           23
                 Consistent with that position, the all above alleged price manipulation actions are also unlawful.
           24
                        152.       In SEC v. Shuang Chen et. al. Civil Action: 1:19-cv-12127-WGY (D. MA 2019)
           25
                 “[t]he Defendants generally used at least two brokerage accounts when manipulating the price of
           26
                 a particular publicly traded stock. The Defendants first typically used at least one account to place
           27
                 multiple small purchase or sale orders to create upward or downward pressure on the stock price
           28
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             1
                 (hereinafter referred to as a “helper” account). Then, the Defendants typically used at least one
             2
                 other account (hereinafter referred to as a “winner” account) to purchase or sell larger quantities
             3
                 of stock at prices that had been affected by the manipulative orders placed by the helper
             4
                 account(s). The Defendants often held the winner and helper accounts at different brokerage firms
             5
                 to conceal from each brokerage firm the coordination between the two types of accounts.” The
             6
                 illegal stock price manipulation technique alleged by SEC is identical to the techniques alleged
             7
                 hereinabove and used as well as aided and abetted by Defendants on a daily basis during the time
             8
                 period starting on January 1, 2017 and until now (“Relevant Period”) to manipulate the prices of
             9
                 cryptocurrencies. According to SEC, all those techniques are illegal.
           10
                         153.      Spoofing is an unlawful practice of making buy or sell orders, called deceptive
           11
                 orders, with an intent to cancel them before execution. The deceptive orders are used by
           12
                 perpetrators to inject false and misleading information about genuine supply and demand for
           13
                 bitcoin or bitcoin derivatives into the markets and to deceive other participants in the market into
           14
                 believing something untrue, namely that the visible order book accurately reflected market-based
           15
                 forces of supply and demand. This false and misleading information was intended to trick other
           16
                 market participants into reacting to an apparent change and imbalance of supply and demand by
           17
                 buying and selling bitcoin derivatives at times, prices and quantities that they otherwise would
           18
                 likely not have traded.
           19
                         154.      Bitcoin price manipulation such as pumps-and-dumps, Barts, stop hunts,
           20
                 liquidation cascades, and spoofing, as well as numerous other forms of illicit market manipulation
           21
                 are generally believed to be the abuses that prevent SEC from approving numerous bitcoin
           22
                 Exchange Traded Fund (ETF) applications that have been filed throughout the years by various
           23
                 cryptocurrency industry players.
           24
                                           BITMEX WAS DESIGNED FROM GROUND UP TO
           25                                      BENEFIT FROM MANIPULATION
           26                               “Regulatory agencies can be bought.” Defendant Arthur Hayes
                         155.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-154 above
           27
                 as if fully set forth herein.
           28
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             1
                        156.       BitMEX was launched in 2014 by Defendants Hayes, Delo and Reed. BitMEX
             2
                 was one of the first cryptocurrency exchanges that offered derivative products based on the price
             3
                 of bitcoin. At its inception, as Defendant Hayes described it, BitMEX was to serve Wall Street
             4
                 institutional investors “who were going to want the same type of products” they were used to
             5
                 trading at sophisticated multinational banks. Yet for the first six months after BitMEX went live
             6
                 in late 2014, “no one came” to the trading platform, including traders from Wall Street.
             7
                 Therefore, BitMEX changed its business model to “focus[] on degenerate gamblers; [also known
             8
                 as] retail investors” by offering “100X leverage” trades. Since then, its first-mover advantage has
             9
                 paid off: it is consistently among the largest cryptocurrency derivatives traders by volume and has
           10
                 been for years. It now frequently trades over $3 billion worth of transaction in a single day.
           11
                        157.       In allowing retail customers to leverage their bets at the extraordinary ratio of
           12
                 100:1—about twenty times higher than the common ratio in derivatives trading — BitMEX
           13
                 positioned itself to benefit consistently, significantly, and predictably from the combination of
           14
                 attracting overly hopeful investors and small price fluctuations on other exchanges. This structure
           15
                 creates substantial incentives for Defendants to surreptitiously cause such fluctuations.
           16
                        158.       Implementing its business approach, Defendants deliberately based the index price
           17
                 of their Perpetual Swaps on spot-market exchanges that have limited liquidity and are thus
           18
                 relatively easy to manipulate. BitMEX would then engage in manipulative trading on those
           19
                 exchanges to change the price of bitcoin or ether. Even if only temporary, these price changes
           20
                 would then affect the prices of the Perpetual Swaps offered on BitMEX in a way that benefitted
           21
                 BitMEX by allowing it to make margin calls and liquidate its highly leveraged traders.
           22
                        159.       Automatically liquidating contracts that were out of the money, BitMEX would
           23
                 cover the trader’s losses but would also take all of the trader’s collateral. By setting the
           24
                 liquidation point higher than necessary to protect against the risk of a loss greater than the trader’s
           25
                 collateral, BitMEX consistently profited from these liquidations. BitMEX would place these
           26
                 profits in its insurance fund (“Insurance Fund”), marketed as a way to ensure that BitMEX has
           27
                 cash on hand for the rare occasions where the losses exceeded the collateral. Despite its name, the
           28
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             1
                 Insurance Fund is almost never drawn upon and instead has grown consistently such that it now
             2
                 contains assets worth hundreds of millions of dollars.
             3
                         160.      BitMEX also acted on similar financial incentives by trading against its customers,
             4
                 a secret BitMEX kept as long as it could. BitMEX employed an undisclosed trading desk with
             5
                 special privileges and insights that allowed BitMEX to take favorable positions opposite its own
             6
                 customers. BitMEX only revealed the existence of the desk in 2018, under pressure from an
             7
                 independent analyst armed with trade data reflecting its existence. As a desk with access to
             8
                 otherwise-hidden information, it was in a perfect position to enhance BitMEX’s manipulation.
             9
                         161.      BitMEX has compounded the effect of these manipulative schemes by routinely
           10
           11
           12
           13
           14    freezing its servers—which BitMEX blames on technical glitches and limitations—to profit
           15    during moments of high volatility. During these freezes, customers are unable to change their
           16    positions, but the market continues to operate and BitMEX trades. BitMEX would thus prevent its
           17    customers from escaping positions until they fell to a level at which BitMEX could liquidate
           18    those positions at a profit to itself.
           19            162.      BitMEX’s operations on March 13, 2020, are a recent and good example. During a
           20    period in the day with high market volatility and crashing bitcoin prices (from nearly $8,000 to
           21
           22
           23
           24
           25
           26
           27
           28
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             1
                 $4,000 per bitcoin), resulting in a substantial sell-off, BitMEX’s trading platform went offline for
             2
                 twenty-five minutes. As a result of the outage, BitMEX did not dip into its Insurance Fund, but
             3
                 rather liquated $800 million of its customers’ highly leveraged positions for its own profit. This
             4
                 server outage, in short, effectively protected BitMEX and the Insurance Fund from the cascading
             5
                 effects of sell-offs of BitMEX’s highly leveraged and volatile products. It should be noted that
             6
                 BitMEX’ three Site Reliability Engineers, responsible for the bitMEX trading platform uptime,
             7
                 are all located in this District and the deliberated and fraudulent outage on March 13, 2020 was
             8
                 perpetrated by them from this District. To cover up their fraud, Defendants first concocted a
             9
                 story of a hardware failure that allegedly caused the BitMEX platform outage.
           10
                        163.       However, Defendants soon realized that all hardware used by BitMEX platform
           11
                 was managed by Amazon EKS and not Defendants themselves and that such a fake excuse would
           12
                 clearly not hold up if Amazon is asked to investigate the alleged hardware issue. Therefore,
           13
                 Defendants quickly changed their story and invented a fake distributed denial-of-service attack
           14
           15
           16
           17
           18
           19
           20

           21    (DDoS attack) as an excuse for deliberately shutting down their own trading platform to avoid
           22    severe financial losses to themselves.
           23           164.       Defendants and each of them have thus manipulated the price of bitcoin and ether,
           24    harming Plaintiff and other traders who had their positions liquidated, in violation of the
           25    Commodity Exchanges Act, 7 U.S.C. §§ 9, 25 (2012).
           26           165.       BitMEX’s founder and CEO, Defendant Hayes, is cryptocurrency’s P.T. Barnum.
           27    Describing trading on cryptocurrency as “the entertainment business,” he has embraced a role as
           28
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             1
                 showman and promoter for the “degenerate gamblers” he solicits, and encourages speculative
             2
                 trading by flaunting his lavish lifestyle and making bold predictions designed to elicit responses
             3
                 and move the market in a way that is profitable for BitMEX.
             4
                        166.       Defendant Hayes repeatedly flaunts his wealth like this to followers of the
             5
                 BitMEX platform, while also sharing his positions and profits he makes by betting on the price of
             6
                 bitcoin and other cryptocurrencies. The implication of these types of promotion is clear: you too
             7
                 could live like this, if you trade on my platform.
             8
                        167.       For example, when promoting BitMEX at a large conference in New York, Hayes
             9
                 flaunted his arrival in an exotic Lamborghini car.
           10
                        168.       The BitMEX platform also has casino features built in. It promotes “winners” with
           11
                 a leaderboard of successful traders, just like casinos showcase their successful players. All these
           12
                 features are designed to serve only one purpose - entice more gamblers to place even riskier bets.
           13
                        169.       BitMEX also runs promotions for its products to promote gambling, providing
           14
                 prizes to “[t]he trader who continuously quotes the largest two-sided volume within a 0.5 percent
           15
                 spread” or “[t]he trader who has the largest profit (in XBT) from trading the NEO (NEOG18)
           16
                 contract gets the third prize.”
           17
                        170.       These promotions attract numerous retail investors and distract them from the fact
           18
                 that BitMEX created an exchange that facilitates its own manipulative and fraudulent behavior.
           19
                        171.       Since its inception, BitMEX has flouted financial regulators worldwide for
           20
                 operating as an unregistered exchange, hiding behind its offshore status.
           21
                        172.       In 2018, the financial regulator for the province of Quebec, Canada, ordered
           22
                 BitMEX to close accounts linked to customers in Quebec because it was operating as an
           23
                 unregistered exchange.
           24
                        173.       In July 2019, according to reports, the CFTC opened an investigation to determine
           25
                 whether the exchange is targeting and allowing United States traders to use the platform, after
           26
                 numerous press reports detailed the lack of any “know your customer” practices at BitMEX and
           27
                 the ease with which users can access the site from the United States - indeed one New York
           28
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             1
                 journalist has detailed his use of BitMEX.
             2
                        174.       Most recently, on March 3, 2020, the United Kingdom’s Financial Conduct
             3
                 Authority (FCA) issued a notice that BitMEX “is not authorised by us and is targeting people in
             4
                 the UK. Based upon information we hold, we believe it is carrying on regulated activities which
             5
                 require authorisation.”
             6
                        175.       BitMEX’s flouting of financial regulators is consistent with the attitude of its
             7
                 founders, as Defendant Hayes has freely admitted to falsifying banking documentation in China
             8
                 in order to take advantage of arbitrage opportunities in the price of bitcoin.
             9
                        176.       BitMEX is not the only entity that offers swaps and futures products on bitcoin.
           10
                 BitMEX, however, structures its products and operations with features more akin to a casino,
           11
                 focusing on products that expose customers to greater volatility and an increased risk of loss.
           12
                        177.       One of BitMEX’s earliest and still most popular products is the XBTUSD
           13
                 Perpetual XBTUSD Leveraged Swap (“Perpetual Swap”).
           14
           15
           16
           17
           18
           19
           20

           21
           22
           23           178.       This product allows traders to buy or sell a contract that tracks the price of the
           24    exchange rate between bitcoin and the U.S. Dollar. If you buy the contract, you will make a profit
           25    if the price of bitcoin goes up in U.S. Dollars. Conversely, if you sell the contract, you will make
           26    a profit if the price of bitcoin goes down in U.S. Dollars—effectively a short sale on the price of
           27    bitcoin.
           28
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             1
                         179.      Unlike a typical futures contract, XBTUSD Perpetual Swap has no set expiry date.
             2
                 Further, unlike a traditional futures product, the XBTUSD Perpetual Swap price closely tracks the
             3
                 price of the underlying asset, bitcoin. Put differently, in a traditional futures market, there are
             4
                 separate prices for the futures product and for the underlying asset. If ACME Corp. is trading at
             5
                 $100 a share today, the contract to buy one share of ACME Corp. at $120 in three months might
             6
                 trade for $5. Instead, XBTUSD Perpetual Swap tracks the price of bitcoin by exchanging among
             7
                 contract holders that are long (or short) a “funding rate” every eight hours if the price of bitcoin is
             8
                 higher (or lower) than what the contract is trading for on BitMEX. These mechanics incentivize
             9
                 buying the contract when the price of the contract is lower than the price of bitcoin, thus raising
           10
                 the contract’s price, and vice- versa. The “funding rate” amount depends on the spread between
           11
                 the XBTUSD contract price and the referenced exchange rate. The funding rate is exchanged
           12
                 directly peer-to-peer among contract holders. BitMEX does not charge a fee for it.
           13
                         180.      Because BitMEX does not list bitcoin itself, it must look to other exchanges that
           14
                 do trade bitcoin to determine the price of bitcoin for products like XBTUSD. For BitMEX to
           15
                 function properly, the data from the other exchanges must be trustworthy. If the spot market for
           16
                 the underlying cryptocurrencies listed on those exchanges is thinly traded and illiquid, then the
           17
                 price of the cryptocurrency becomes susceptible to price manipulation, which in turn could affect
           18
                 the price of the products on BitMEX. BitMEX knows this. BitMEX’s products are particularly
           19
                 sensitive to price manipulation because BitMEX allows traders to operate on substantial amounts
           20
                 of leverage. BitMEX allows traders to leverage their position up to 100 times the amount of
           21
                 collateral, or “margin,” they post. Put differently, traders can buy or sell 100 bitcoin worth of
           22
                 XBTUSD contracts for only 1 bitcoin of collateral. This leverage magnifies both gains and losses:
           23
                 if the price of the XBTUSD goes up, a buyer who is 100x leveraged will experience 100 times the
           24
                 profit, but if the price declines even 1 percent, the buyer will have lost all his collateral. In this
           25
                 way, BitMEX structures its products to offer the allure of large, lottery-ticket payoffs for very
           26
                 limited money.
           27
                         181.      BitMEX’s fees, however, are calculated based on the leveraged position, not on
           28
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             1
                 the underlying collateral. Thus, where BitMEX advertises a fee of 0.075 percent for bitcoin
             2
                 Perpetual Swaps, that percentage refers to the amount of the unleveraged position. For a 100x
             3
                 leveraged Perpetual Swap, BitMEX is effectively charging a fee of 7.5 percent.
             4
                        182.       In a leveraged trade, BitMEX limits a trader’s loss to solely the posted margin. In
             5
                 contrast, major derivatives exchanges, such as the Chicago Mercantile Exchange, expose traders
             6
                 to unlimited risk. When the unrealized loss of their position exceeds the posted margins, those
             7
                 exchanges will ask traders to post additional collateral to supplement their margin. This is known
             8
                 as a margin call. For example, if you had a $10,000 position supported by $100 of margin, and
             9
                 the position fell 1 percent to $9,900, it would trigger a margin call.
           10
                        183.       To limit traders’ losses to the posted margin, BitMEX uses a liquidation engine to
           11
                 close positions with unrealized losses close to the amount of the posted collateral and prevent
           12
                 losses greater than the collateral posted by the trader while ensuring that the winner receives their
           13
                 full profits. While the promise that a trader can only lose the minimal margin put up for a highly
           14
                 leveraged bet may be alluring to retail investors, in reality BitMEX uses this promise to lure them
           15
                 into a false sense of security. BitMEX’s system encourages traders to place highly leveraged bets
           16
                 under this pseudo-protection but takes their money in liquidations. Put differently, when BitMEX
           17
                 liquidates a position, there is going to be a winning trader and a losing trader, but even beyond
           18
                 receiving the transaction fees, BitMEX almost always takes a large part of one trader’s collateral,
           19
                 allowing it to profit from the liquidation.
           20
                        184.       BitMEX’s model of encouraging its users to experience volatility disproportionate
           21
                 to their collateral through substantial leveraging requires a mechanism that prevents those users
           22
                 from experiencing losses greater than they can handle—there is, after all, someone on the other
           23
                 end of the transaction that expects to get paid. BitMEX achieves this through the use of an
           24
                 automatic liquidation system. This system, however, does more than liquidate positions with
           25
                 insufficient collateral—it also creates substantial profits for BitMEX at the expense of its
           26
                 customers.
           27
                        185.       Because BitMEX allows traders to make purchases with large amounts of
           28
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             1
                 leverage, there is a risk that that a trader may not be able to pay the winner for his position. In
             2
                 order to prevent winners from being adversely affected by the lack of a counterparty’s collateral,
             3
                 BitMEX agrees to cover their winnings. In exchange, it automatically takes the loser’s collateral.
             4
                 It then seeks to sell the position on the market at the best price available, with the purchaser
             5
                 stepping into the shoes of the liquidated party with responsibility for covering the counterparty’s
             6
                 profits after sale.4 This process of taking the loser’s collateral in exchange for covering the
             7
                 winner’s profits until a counterparty is found is the automatic-liquidation system. BitMEX,
             8
                 however, does not wait to liquidate until the collateral can no longer cover the losses. Instead, it
             9
                 liquidates when the collateral is worth approximately twice the losses incurred, even though the
           10
                 trader has half of the initial collateral remaining. Even if the system is able to find a price for the
           11
                 position after the liquidation that would have allowed the trader to recoup some his losses,
           12
                 however, the trader receives nothing. Instead, BitMEX keeps that recovery for itself and puts it
           13
                 into the Insurance Fund.
           14
                         186.      To use an example from BitMEX’s own website, consider a trader who has taken a
           15
                 long position on 100 ether using only 1 bitcoin as collateral while bitcoin and ether are each
           16
                 trading at $4,000. This trader is 100x leveraged, such that a rise in the price of ether by $10 will
           17
                 cause the trader to gain $1,000. Because of this level of leverage, the trader runs a substantial risk
           18
                 of not being able to pay off an unsuccessful contract; his collateral can absorb only a $40 decrease
           19
                 in the price of ether. The price at which the trader’s collateral can no longer cover the losses on
           20
                 the position is the “bankruptcy price.” In this example, the bankruptcy price is slightly over
           21
                 $3,960, as ether falling to that price would mean that the 1 bitcoin used as collateral would
           22
                 exactly cover the losses. Rather than using this bankruptcy price as the liquidation point, BitMEX
           23
                 imposes a 0.5 percent “maintenance margin,” such that the position will automatically be
           24
                 liquidated if the price of ether falls to $3,980. This maintenance margin is remarkable relative to
           25
                 the amount of leverage in the position, as a change of less than 1 percent in the price of bitcoin
           26
                 can result in an automatic liquidation. If the price hits $3,980 and this liquidation occurs, BitMEX
           27
                 will seize the collateral and then seek to sell the 100-bitcoin position to another customer, while
           28
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             1
                 covering the gains of and without terminating the contract of the original counterparty. If this sale
             2
                 occurs at a price of $3,978, reflecting a $2 bid-ask spread, the purchase as a whole will have
             3
                 incurred a loss of $2,200 against the initial $4,000 wagered—a $22 loss multiplied by the 100x
             4
                 leverage. BitMEX, which takes the full collateral, has accordingly profited $1,800 from the
             5
                 liquidation of its customers’ position and places this profit in the Insurance Fund. The trader,
             6
                 meanwhile, loses the full $4,000.
             7
                        187.       It is possible for BitMEX to lose money in a liquidation if the market lacks
             8
                 sufficient liquidity to allow BitMEX to sell the liquidated position at the bankruptcy price. If, for
             9
                 example, the price of ether hits $3,980 but BitMEX is not able to find a purchaser to take over
           10
                 Perpetual Swap at a price above $3,920, the 1 bitcoin used as collateral will not cover BitMEX’s
           11
                 losses. Hypothetically, the Insurance Fund would be used to cover BitMEX’s losses in this
           12
                 scenario.
           13
                        188.       The profitability of the Insurance Fund is thus tied to the liquidity of the market—
           14
                 as BitMEX itself has stated, the Insurance Fund will profit from each liquidation as long as the
           15
                 bid-ask is smaller than the maintenance margin.
           16
                        189.       Despite being described as a mechanism intended “to help ensure winners receive
           17
                 their expected profits, while still limiting the downside liability for losing traders” by making sure
           18
                 that BitMEX always has cash on hand to pay off losing trades, BitMEX’s Insurance Fund shows
           19
                 substantial overall profit from these liquidations. As their own data shows, the Insurance Fund
           20
                 has grown every year, as BitMEX takes in far more from liquidating its customers’ positions than
           21
                 it pays out to cover contracts it cannot close quickly enough. Despite its role as an insurance
           22
                 backstop, it grows in value nearly every day: over the last 100 (volatile) days, it has begun only
           23
                 five of them with a balance less than it began with the day before. Its largest posted one-day loss
           24
                 in the last 100 days has been around 20 bitcoin. In fact, on August 24, 2020, the Insurance Fund
           25
                 contained over 36,341 bitcoins, representing 0.2 percent of the total bitcoin in circulation and
           26
                 valued over $427,000,000. Moreover, BitMEX partitions the fund by contract type, and, when no
           27
                 more contracts of a given type remain (because, for example, the contract was tied to a time
           28
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             1
                 period that expired) the portion of the Insurance Fund for that contract type is given to BitMEX as
             2
                 profit.
             3
                           190.    BitMEX has thus profited from the vast majority of the automatic liquidations it
             4
                 conducts on behalf of its customers. Even independent of how these automatic liquidations can be
             5
                 used with market manipulation, the structure of BitMEX’s automatic liquidations creates an
             6
                 incentive for BitMEX to induce liquidations as long as there is sufficient liquidity in the market
             7
                 that the bid-ask spread is smaller than the maintenance margin. As long as this liquidity is
             8
                 present, BitMEX profits when it causes its customers’ positions to automatically liquidate.
             9
                 Defendants’ ability to manipulate the prices on BitMEX for their own profit and at the expense of
           10
                 Plaintiff and other cryptocurrency traders was protected and enhanced by persistent issues
           11
                 BitMEX maintained in its server that locked out users at crucial times that enabled BitMEX to
           12
                 profit.
           13
                           191.    BitMEX’s risk-management process, which performs the system’s automatic
           14
                 liquidations, must check the entire system whenever the price of a Perpetual Swap changes. This
           15
                 process, although sometimes completed quickly, supposedly causes BitMEX’s servers to freeze
           16
                 on average between two and three times a day. During these server freezes, customers lose the
           17
                 ability to trade until the servers unfreeze.
           18
                           192.    These server issues are not present in other exchanges that regularly handle far
           19
                 more transactions per second. While BitMEX has purposefully not made all of the data about its
           20
                 server capacity public, it has indicated that, as of May 2019, it was processing around
           21
                 200,000,000 trades a week, purportedly taxing its system and leading to server shutdowns. This
           22
                 works out to an average load of around 330 trades a second. BitMEX has indicated that its peak
           23
                 transactions can reach 30 times the average, for a peak of just under 10,000 trades a second.
           24
                 ByBit, which also transacts primarily in swaps and derivatives, can process 100,000 transactions
           25
                 a second. Binance, another large exchange, can process 1.4 million transactions a second, more
           26
                 than 100 times the peaks that purportedly cause BitMEX’s servers to freeze.
           27
                           193.    When BitMEX’s servers are frozen, preventing customers from executing any
           28
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             1
                 trades, the prices of the Perpetual Swap contracts are not frozen. Instead, they continue to move,
             2
                 processing some transactions while refusing to accept transactions from others. This means that a
             3
                 BitMEX trader can be prevented from executing a trade by a server freeze only to find, once the
             4
                 server reopens, that the price at which they wished to transact is no longer available. They can
             5
                 also find that an offer they had made before the freeze but wished to retract during it has since
             6
                 been accepted. Any trader with the ability to have its transactions prioritized over others during
             7
                 this period could reap substantial profits. The digital assets on which the BitMEX Perpetual
             8
                 Swaps are based, such as bitcoin or the Tokens, continued to trade on other exchanges with
             9
                 functioning servers while BitMEX’s remained frozen to most users. A privileged trader—such as
           10
                 those that operate BitMEX’s internal trading desk—could see that the price of bitcoin had risen
           11
                 during a freeze and arbitrage on that information before the regular traders had the ability to react.
           12
                 Additionally, because most traders are unable to operate during these freezes, a trader who is able
           13
                 to act could survey all of the items on offer during the freeze and cherry-pick whichever seemed
           14
                 most appealing in light of the market’s movements.
           15
                        194.       The limitations of BitMEX’s server also helps enable profitable automatic
           16
                 liquidations, because these liquidations continue to occur during the freeze. A customer who has a
           17
                 100x leveraged position on one bitcoin that will liquidate if the price of bitcoin falls from $4,000
           18
                 to $3,980, for example, would be heavily incentivized to sell when the price hits $3,985,
           19
                 accepting a loss of $1,500 but retaining the capital. If the frozen servers prevent this sale from
           20
                 transpiring, however, the customer will lose all of their capital when the price hits $3,980. Such a
           21
                 scenario profits BitMEX, which collects the capital.
           22
                        195.       The timing of these freezes is not random. The most important and profitable time
           23
                 for BitMEX to freeze is during a period of high volatility. BitMEX’s automatic liquidations
           24
                 exacerbate the volatility of the derivatives that BitMEX markets, particularly in periods of high
           25
                 volatility. Specifically, by automatically executing sell orders in response to a market decline,
           26
                 BitMEX pushes prices even lower. This response could result in catastrophically cascading sell
           27
                 orders during a period of a rapid decline—that is, a “flash crash.” BitMEX does not disclose those
           28
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             1
                 risks to retail investors and, instead, uses server freezes to protect its Insurance Fund and its
             2
                 derivatives market as a form of undisclosed “circuit breaker.”
             3
                         196.      Moreover, high volatility and rapidly changing prices allow more customers to be
             4
                 liquidated. Indeed, an expert statistical analysis conducted of freeze periods reported on
             5
                 BitMEX’s website has revealed that these server freezes occur 80 percent more often during
             6
                 periods of high volatility in bitcoin prices. This result is statistically significant at a 95 percent
             7
                 confidence level. Moreover, the statistical analysis reveals that compared to periods without a
             8
                 server incident, the volatility is 130 percent higher when there is a server incident. This result is
             9
                 also statistically significant at 95 percent confidence level.
           10
                         197.      BitMEX server freezes most often occurred during the highest periods of volatility
           11
                 when BitMEX could effectively liquidate traders’ positions.
           12
                         198.      These server freezes are not justifiably caused by transaction volume, which would
           13
                 approximate server load. For example, on May 12, 2019, BitMEX announced a new record of
           14
                 over $10 billion in transaction volume, with no server incidents reported that day.
           15
                         199.      The interaction between BitMEX’s server problems and its liquidation policy was
           16
                 recently demonstrated on March 13, 2020, when the price of bitcoin fell from $7,200 to a 10-
           17
                 month low of $5,678 in just 15 minutes. This sort of event is precisely why BitMEX claims to
           18
                 maintain the Insurance Fund—a series of cascading liquidations in the face of such a rapid fall
           19
                 could prevent BitMEX from selling the liquidated positions above their bankruptcy price, causing
           20
                 losses that are designed to be covered by the Insurance Fund. Yet BitMEX’s servers shut down in
           21
                 the middle of the crash. BitMEX first blamed the server shut down on “a hardware issue with our
           22
                 cloud service provider,” before later claiming, without any support, that the server failure was the
           23
                 result of an attack by a “botnet.”
           24
                         200.      When the servers were restored, bitcoin’s price had stabilized, preventing the need
           25
                 for BitMEX to dip into its Insurance Fund. The traders who had hit their margins during the
           26
                 crash, however, were liquidated nonetheless. In short, a conveniently timed server outage turned a
           27
                 potentially catastrophic loss for BitMEX’s Insurance Fund into a profit-item.
           28
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             1
                         201.      BitMEX could remove the potential for these manipulative actions and prevent
             2
                 users from suffering from periods of denied access to a moving market by prohibiting its system
             3
                 from accepting any transactions during these freezes. Instead, BitMEX profits from the system it
             4
                 employs, either by having its for-profit trading desk manipulate the markets in such freezes, by
             5
                 selling the right to do so, or by profiting from liquidations that occur while customers are unable
             6
                 to escape increasingly unfavorable positions.
             7
                                              BITMEX TRADES AGAINST ITS CUSTOMERS
             8
                         202.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-201 above
             9
                 as if fully set forth herein.
           10
                         203.      On April 28, 2018, an independent researcher requested comment from BitMEX
           11
                 regarding “information on record about insider accounts (possibly friends / acquittances of
           12
                 Bitmex staff) having special advantages over other Bitmex users.” BitMEX responded the same
           13
                 day, denying that it gave “preferential treatment” to any “customers.” This proved to be false, and
           14
                 that its prior statements had been materially misleading.
           15
                         204.      On April 30, 2018, BitMEX updated its terms of service and for the first time
           16
                 revealed that “BitMEX has a for-profit trading business that, among other things, transacts in
           17
                 products traded on the BitMEX platform.” BitMEX also revealed that its trading desk had the
           18
                 monopoly on making a market in its bitcoin options product. BitMEX hid the role of its trading
           19
                 desk by labeling the employee in charge of the desk as part of “Risk Management.” Prior to April
           20
                 30, 2018, BitMEX had never disclosed that it played a role on its exchange that extended beyond
           21
                 the management and administration of the exchange itself.
           22
                         205.      BitMEX had never indicated that it took direct positions on the assets it was
           23
                 trading. Traders, when traded on the BitMEX platform, had done so on the belief that the other
           24
                 participants were on similar footing to them. If traders knew that its counterparty could be
           25
                 BitMEX itself, equipped with proprietary knowledge, they would have recognized the possibility
           26
                 that they were participating in an unfair game.
           27
                         206.      As an inside entity trading against its own customers, the BitMEX trading desk
           28
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             1
                 enjoys a number of advantages. First, an internal BitMEX desk could have a higher trade priority
             2
                 than other traders, allowing its trades to be processed first when the total number of trades
             3
                 exceeds BitMEX’s server capacity. Second, an internal BitMEX trading desk could potentially
             4
                 view the leverage amounts for previously created positions and the price at which its liquidation
             5
                 will be triggered. This information would make it easy to profitably manipulate the market. If, for
             6
                 example, the trading desk sees that a number of short bitcoin Perpetual Swaps are near their
             7
                 liquidation point, it could enter a large buy order. This order would cause the price of bitcoin on
             8
                 the BitMEX exchange to rise, triggering the liquidation of these Perpetual Swaps. The liquidation
             9
                 would create a buy order for the liquidated contract, further increasing the price. Once this chain
           10
                 of liquidations had caused the price to rise far beyond the price at which the internal desk made
           11
                 its initial purchase, it could sell bitcoin at this higher price to fulfill the forced buy orders.
           12
                 Because these trades are automatic, an inside desk could execute this trade very quickly and with
           13
                 a high confidence of success.
           14
                         207.      Even without placing trades that cause cascading liquidations, however, the
           15
                 BitMEX desk helps create the liquidity that keeps the forced liquidations profitable, including
           16
                 those that occur during server freezes. As BitMEX has admitted, it profits from each liquidation
           17
                 as long as the bid-ask is smaller than the maintenance margin. By creating liquidity through
           18
                 market-making, and freed from the possibility of being liquidated itself, BitMEX’s desk helps
           19
                 maintain an environment that keeps the liquidations profitable.
           20
                         208.      The interaction between the Insurance Fund and the trading desk creates a
           21
                 pernicious result when the desk serves as the purchaser of a liquidated position. When a customer
           22
                 stakes $4,000 on a position only to have BitMEX liquidate it, sell it to its own desk at a price that
           23
                 recovers $3,500 of that $4,000, and then keep the $3,500, the customer has essentially been
           24
                 robbed. BitMEX has walked away with both the position and the initial capital, leaving the
           25
                 customer with nothing.
           26
                         209.      Nor is the trading desk the only inside entity trading on BitMEX. Defendant Hayes
           27
                 has admitted that he himself trades on the platform, against BitMEX’s customers. The customers
           28
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             1
                 on the other side of Hayes’s contracts have no way of knowing that they are trading against an
             2
                 insider with access to non-public information about their trades, including their liquidation limits.
             3
                 Hayes has even gloated about the possibility of such misconduct, stating that “[t]he digital token
             4
                 trading markets like traditional forex markets are not regulated, and will struggle to be. Therefore,
             5
                 if you can’t stomach insider trading, then don’t take on short-term positions.”
             6
                        210.       On information and belief, BitMEX has manipulated the price of the assets
             7
                 underlying the derivatives on the exchange in order to force liquidations of traders for the benefit
             8
                 of its Insurance Fund.
             9
                        211.       Through 2019, BitMEX looked to a relatively limited number of exchanges to
           10
                 price bitcoin and ether for its derivative products. This made the exchange susceptible to price
           11
                 manipulation. In part of mid-2019, for example, BitMEX determined the price of ether by
           12
                 referring to just three exchanges: BitStamp, Coinbase Pro, and Kraken.
           13
                        212.       Any swaps trader would have an incentive to manipulate the price of bitcoin or
           14
                 ether on those exchanges to cash in on their leverage trade. For example, a trader who was short
           15
                 bitcoin on BitMEX would be incentivized to go to BitStamp and suddenly drive down the price of
           16
                 bitcoin by selling it, making the Perpetual Swap position more valuable. The trader’s profitability
           17
                 would depend on the liquidity available at BitStamp for bitcoin and the details of the Perpetual
           18
                 Swap positions on BitMEX. Lower liquidity in bitcoin trading would make it easy for the trader
           19
                 to move the price on BitStamp quickly and cheaply. A large, highly leveraged position at
           20
                 BitMEX would justify a large selloff of bitcoin below prevailing market prices. Moreover, this
           21
                 could be an ongoing process: as the price of bitcoin falls and the Perpetual Swap positions
           22
                 become profitable, the trader could cash out some existing Perpetual Swap positions for more
           23
                 bitcoin and then continue to sell that new bitcoin on BitStamp while opening additional Perpetual
           24
                 Swap short positions.
           25
                        213.       Structurally, however, this kind of manipulation is more likely to succeed on short
           26
                 positions rather than long, because BitMEX settles all of its Perpetual Swaps in bitcoin. If the
           27
                 trader attempts to manipulate the price of bitcoin up because of outstanding long positions, she
           28
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             1
                 would be unable to continue the process after the initial “pump” because her Perpetual Swap
             2
                 contracts are all paid out in bitcoin. She would have no way to buy additional bitcoin with those
             3
                 proceeds without selling the proceeds—thus defeating the purpose of the pump. Thus, to pull off
             4
                 a manipulation scheme when long on bitcoin, the trader would need a large reservoir of
             5
                 traditional currency with which to buy bitcoin, and could not use any proceeds from the
             6
                 manipulation itself to continue driving up the price of bitcoin. Nonetheless, throughout 2019,
             7
                 BitStamp was subject to numerous pumps and dumps of bitcoin and ether including on days when
             8
                 Kraken was down for maintenance and unavailable for pricing derivatives on BitMEX. For
             9
                 example, on April 2, 2019, there was a massive pump on BitStamp’s bitcoin price by nearly 20
           10
                 percent. Then on May 17, 2019, bitcoin lost 20 percent of its value on BitStamp for about thirty
           11
                 minutes before recovering. Later, on July 14, 2019 when Kraken was down for maintenance—
           12
                 thus increasing the weight of BitStamp on BitMEX’s Perpetual Swaps products—the price of
           13
                 ether dropped dramatically due to the sell order on BitStamp by a single user that accounted for
           14
                 over 15 percent of BitStamp’s entire volume for the day, causing $164 million worth of
           15
                 liquidations on BitMEX.
           16
                        214.       Of the possible manipulators, BitMEX is the best positioned to take advantage of
           17
                 the consequences of these schemes. First, BitMEX operates its own proprietary trading desk that
           18
                 can take long and short positions and engage in a pump and dump scheme, like the hypothetical
           19
                 trader described above. Second, beyond profiting from any positions it takes, BitMEX alone
           20
                 profits greatly from liquidations, even during severe price movements. Third, BitMEX alone
           21
                 knows the trading positions of its users and can precisely tailor its manipulation to generate mass
           22
                 liquidations with minimal effort and risk. Fourth, as a large institution, BitMEX would be one of
           23
                 the entities with sufficient resources to engage in pump schemes that require a lot of capital in
           24
                 traditional currency to buy the underlying commodity.
           25
                        215.       Unsurprisingly, for these reasons numerous commentators, including a tenured
           26
                 professor at NYU’s Stern Business School, point to BitMEX as the culprit behind these price
           27
                 movements.
           28
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             1
                        216.       On or about 11:00PM EDT on May 16, 2019 (May 17, 2019 3:00AM UTC), one
             2
                 or more perpetrators launched a trading software algorithm configured to sell about 3600 bitcoin,
             3
                 valued at the time at about $28 million on a United States based bitcoin spot exchange BitStamp4.
             4
                 The trading algorithm wiped the buy order book of BitStamp from $7,838 all the way down to
             5
                 $6,178, sitting on the ask side of the aforesaid order book the entire time. The artificial price
             6
                 move that resulted from the execution of the aforesaid malicious trading software algorithm
             7
                 brought bitcoin price on BitStamp from $7,838 all the way down to $6,178.
             8
                        217.       The hereinabove alleged artificial bitcoin price decline on BitStamp, in turn, led to
             9
                 a liquidation of $250 million (about 10x times the size of the BitStamp sell order) long positions
           10
                 on the BitMEX derivatives exchange, which further resulted in significant price declines on all
           11
                 other crypto exchanges throughout the world, including multiple exchanges in the United States,
           12
                 costing bitcoin traders and investors hundreds of millions of dollars.
           13
                        218.       The above-alleged manipulation was repeated, almost perfectly, on Sunday, July
           14
                 14, 2019, when a perpetrator or group of perpetrators collectively acted to crash the market by
           15
                 putting in a massive sell order of 15,000 ETH, valued a $4 million, on BitStamp. This made up
           16
                 15% of its entire trading volume of BitStamp on that Sunday – all in one trade. This giant sell
           17
                 order immediately plunged the price of ETH on BitStamp from $270 to $190, which is otherwise
           18
                 known as a “flash crash”.
           19
                        219.       Like a disease, the alleged flash crash spread to ETH Perpetual Swap contracts
           20
                 traded on BitMEX, which bases the Perpetual Swap contracts’ price 33% on the Bitstmap’s price.
           21
                 As the result of the crash, $164 million of long Perpetual Swap contracts were liquidated on
           22
                 BitMEX in the blink of an eye and spread to bitcoin Perpetual Swaps traded on BitMEX, again
           23
                 causing significant price declines on all other crypto exchanges throughout the world, including
           24
                 multiple exchanges in the United States, costing bitcoin traders and investors hundreds of
           25
                 4
           26     Bitstamp USA Inc. is incorporated in Delaware, maintains its headquarters at 27 Union Square
                 West, Suite 205, New York, NY 10003, United States and owns the
           27    cryptocurrency exchange online platform BitStamp.net, used in the alleged manipulation, see Ex.
                 14, p. 2, item 6. BitStamp.net cryptocurrency exchange online platform used in the alleged
           28    manipulation was hosted on Amazon AWS servers located in Denver, Colorado.
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             1
                 millions of dollars.
             2
                        220.       Plaintiff Dolgov is informed and believes and thereon alleges that the alleged
             3
                 devastating manipulations were deliberately enabled by BitMEX. Specifically, the aforesaid
             4
                 artificial price action were made possible by the fact that BitMEX deliberately designed its
             5
                 indexes based on price data for cryptocurrencies from just three exchanges – BitStamp, Kraken
             6
                 and Coinbase Pro, all three of which have way lower liquidity than BitMEX. This design was
             7
                 specifically intended to amplify any large price moves to increase the amount of liquidated
             8
                 traders on BitMEX.
             9
                        221.       Plaintiff Dolgov is informed and believes and thereon alleges that the reason why
           10
                 BitMEX, the most liquid exchange, calculates its contracts index price based on other exchanges
           11
                 with way less liquidity is because BitMEX is the major financial benefactor of the catastrophic
           12
                 market manipulation events, such as May 17, 2019 and July 14, 2019 events alleged hereinabove.
           13
                        222.       Plaintiff Dolgov is informed and believes and thereon alleges that, at times, trader
           14
                 liquidations account for up to half of BitMEX entire revenue. When Defendants liquidate a
           15
                 trader, they take the remainder of funds left after paying the trade counterparty and deposit it into
           16
                 the Insurance Fund. The Insurance Fund has been steadily growing throughout the years.
           17
                        223.       Plaintiff Dolgov is informed and believes and thereon alleges that BitMEX’s
           18
                 internal trading desk is the second major financial benefactor of the catastrophic market
           19
                 manipulation events, such as May 17, 2019 and July 14, 2019 events, alleged hereinabove, which
           20
                 were in fact perpetrated by Defendants Hayes, Delo and Reed in order to achieve financial gain
           21
                 for themselves.
           22
                        224.       BitMEX enables the perpetrators of the alleged market manipulations to avoid
           23
                 detection by authorities by providing the perpetrators with the ability to open an unlimited
           24
                 number of anonymous document check-free trading accounts on BitMEX without any trading and
           25
                 withdrawal limits.
           26
                        225.       Plaintiff Dolgov is informed and believes and thereon alleges that BitMEX further
           27
                 facilitates the market manipulation by using fraudulent “system overloads” excuse to accept some
           28
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             1
                 trading orders and reject others during large market moves in order to exacerbate the artificial
             2
                 prices and increase the number of liquidations with the purpose to financially benefit therefrom.
             3
                 The aforesaid fraudulent “system overloads” were orchestrated from San Francisco offices of
             4
                 Defendant HDR, where BitMEX’s three Site Reliability Engineers are all located. Additionally,
             5
                 the aforesaid fraudulent “system overloads” were all perpetrated by Defendants through the same
             6
                 commercial website BitMEX.com, which is accessible and is extensively used, via widely
             7
                 available and inexpensive VPN software, by users located in the United States and this District.
             8
                 Therefore, these illegal acts resulting in injuries, for which Plaintiff seeks redress in this
             9
                 Complaint are directly related to Defendants’ connections to the United States and this District
           10
                 through their commercial website BitMEX.com.
           11
                         226.      Plaintiff Dolgov is informed and believes and thereon alleges that BitMEX further
           12
                 facilitates the market manipulation by using fraudulent and deliberate server freezes to lock at
           13
                 least some traders out of their accounts during large market moves in order to exacerbate the
           14
                 artificial prices and increase the number of liquidations with the purpose to financially benefit
           15
                 therefrom. The aforesaid fraudulent and deliberate server freezes are orchestrated from San
           16
                 Francisco offices of Defendant HDR, where BitMEX’s three Site Reliability Engineers are all
           17
                 located. In addition, Defendants’ servers and other IT infrastructure that were involved in the
           18
                 alleged deliberate freezing are deployed on United States based Amazon EKS with offices in this
           19
                 District. Yet additionally, the fraudulent and deliberate server freezes were all perpetrated by
           20
                 Defendants through the same commercial website BitMEX.com, which is accessible and is
           21
                 extensively used, via widely available and inexpensive VPN software, by users located in the
           22
                 United States and this District. Therefore, these illegal acts resulting in injuries, for which
           23
                 Plaintiff seeks redress in this Complaint are directly related to Defendants’ connections to the
           24
                 United States and this District through their commercial website BitMEX.com.
           25
                         227.      Plaintiff Dolgov is informed and believes and thereon alleges that the various
           26
                 specific acts perpetrated by Defendants to manipulate the prices of cryptocurrencies or to aid and
           27
                 abet such manipulation by other perpetrators, with the purpose to financially benefit from it,
           28
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             1
                 violate a number of United States federal criminal statutes, including, without limitation, 18
             2
                 U.S.C. § 1343 (wire fraud); 18 U.S.C. § 1956(a) (money laundering); 18 U.S.C. § 1957(a)
             3
                 (engaging in monetary transactions in property derived from specified unlawful activity); 18
             4
                 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or owning all or part
             5
                 of an unlicensed money transmitting business) and 18 U.S.C. § 2314 (interstate transportation of
             6
                 stolen property). These specific criminal acts alleged hereinbelow constitute predicate acts for
             7
                 purposes of RICO and were perpetrated by Defendants in course of conducting or conspiring to
             8
                 conduct affairs of an enterprise through a pattern of racketeering activity in violation of 18 U.S.C.
             9
                 §§ 1962(d) and (c).
           10
                         228.      As a direct result of Defendants’ manipulation of the market for their derivative
           11
                 products, including through the use of the server freezes and a (formerly concealed) internal
           12
                 trading desk to create profitable liquidations, Plaintiff have suffered significant damages in an
           13
                 amount to be proven at trial.
           14
                         229.      While the precise measurement of the harm caused to Plaintiff by Defendants’
           15
                 actions is not calculable at this stage, an approximation can be found in the value of the Insurance
           16
                 Fund, which is filled with the profits of Defendants’ liquidations. As of August 24, 2020, the
           17
                 Insurance Fund contained over 36,341 bitcoins valued at over $427,000,000.
           18
                                                   DERIVATIVES TRADED BY PLAINTIFF
           19
                         230.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-229 above
           20
                 as if fully set forth herein.
           21
                         231.      On May 13, 2016, BitMEX launched its first swap product, a “perpetual bitcoin
           22
                 U.S. dollar leveraged swap product,” which it has described generally as “the XBTUSD perpetual
           23
                 swap” (“XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract”). BitMEX claims its
           24
                 XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract is “the most traded cryptocurrency
           25
                 product of all time.”
           26
                         232.      Between November 22, 2014 and February 9, 2020, BitMEX has had over 2.5
           27
                 trillion contracts traded on its platform. Most of that volume—more than two trillion contracts—
           28
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             1
                 has been in the XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract.
             2
                        233.       During Relevant Period, Plaintiff Dolgov directly traded (bought, sold and owned)
             3
                 the Bitcoin/US Dollar Perpetual Inverse Swap Contract with ticker symbol XBTUSD on U.S.
             4
                 based BitMEX exchange. Bitcoin/U.S. Dollar Swap Contract with ticker symbol XBTUSD
             5
                 traded by Plaintiff Dolgov on BitMEX is priced based on the underlying price is the XBT/USD
             6
                 exchange rate as recorded in the .BXBT Index, which Defendants manipulated using helper
             7
                 accounts on U.S. based exchanges Bitstamp, Kraken and Coinbase Pro, as alleged in this
             8
                 Complaint. Both the underlying .BXBT index and the swap contract XBTUSD are quoted in
             9
                 USD. Margin and PNL are denominated in Bitcoin. The XBTUSD Bitcoin/U.S. Dollar Swap
           10
                 Contract traded on Kraken is priced based on bitcoin spot price on that exchange, which was
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20    manipulated by Defendants by placing large market orders from helper accounts in that exchange.
           21    Both of the above derivative contracts meet the definition of a "swap" under CEA, 7 U.S.C. §
           22    1a(47)(a)(IV), which defines "Swap" as: "(iv) … an agreement, contract, or transaction that is, or
           23    in the future becomes, commonly known to the trade as a swap." For example, TradingView,
           24    with 15 million monthly active site users and over 40,000 publishers, brokerages, and fintechs
           25    utilizing its investing tools, is the industry standard used by about every trader out there. It lists
           26    both aforesaid XBTUSD contracts from BitMEX and Kraken as "Swaps"
           27    (https://www.tradingview.com/symbols/XBTUSD/).
           28
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             1
                        234.       Therefore, the traded Bitcoin/US Dollar Perpetual Inverse Swap Contract with
             2
                 ticker symbol XBTUSD is a swap under CEA 7 U.S.C. § 1a(47)(a)(iv) (agreement, contract, or
             3
                 transaction that is, or in the future becomes, commonly known to the trade as a swap).
             4
                        235.       Defendant HDR itself specifically admitted that its XBTUSD contract is known to
             5
                 the trade as a "swap," thus meeting definition under CEA:
             6
             7
             8
             9
           10
           11
           12
           13
           14
                        236.       In addition, Plaintiff Dolgov traded Ether/U.S. Dollar Swap Contract with ticker
           15
                 symbol ETHUSD on BitMEX, which is also a “swap” under CEA, 7 U.S.C. § 1a(47)(a)(iv).
           16
                 Ether/U.S. Dollar Swap Contract with ticker symbol ETHUSD traded by Plaintiff Dolgov uses
           17
                 the .BETH index price, which Defendants manipulated using helper accounts on U.S. based
           18
                 exchanges Bitstamp, Kraken and Coinbase Pro, as alleged in this Complaint.
           19
                        237.       Moreover, the aforesaid XBTUSD contract that Plaintiff traded on BitMEX is also
           20
                 "swap" pursuant to 7 U.S.C. § 1a(47)(a)(iii)(XXII), which defines a “swap” as a “a commodity
           21
                 swap.” Because bitcoin is commodity, both XBTUSD contracts are “commodity swaps” under 7
           22
                 U.S.C. § 1a(47)(a)(iii)(XXII).
           23
                        238.       Yet, furthermore, according to CFTC Complaint, ¶ 125, “products that have traded
           24
                 on BitMEX, including “perpetual swaps” or “perpetual contracts” on bitcoin, ether, and litecoin,
           25
                 are swaps as defined by 7 U.S.C. § 1a(47).” Therefore, Plaintiff can pursue his claims under
           26
                 CEA, 7 USC § 25(a)(1)(D), which specifically covers “swaps.”
           27
                        239.       Plaintiff was enticed to trade on BitMEX through BitMEX’s own advertisements
           28
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             1
                 specifically directed at Plaintiff and traders like Plaintiff.
             2
             3                                         THE RAKETEERING ENTERPRISE
                         240.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-239 above
             4
                 as if fully set forth herein.
             5
                         241.      Each of the Defendants HDR, ABS, Hayes, Delo and Reed are respective persons
             6
                 or entities capable of holding a legal or beneficial interest in property.
             7
                         242.      From at least January 2017 and until present, Defendants HDR, ABS, Defendant
             8
                 Unknown Exchange, Grape Park, Mark Sweep, Hayes, Delo, Reed, Agata Reed, Barbara Reed
             9
                 and Trace Reed have been a union or group of entities and individuals associated in fact
           10
                 collectively constituting a continuing “enterprise” (“Enterprise”) within the meaning of RICO as
           11
                 defined in 18 U.S.C. § 1961. Since at least January of 2017, each of HDR, ABS, Defendant
           12
                 Unknown Exchange, Grape Park, Mark Sweep, Hayes, Delo and Reed, Agata Reed, Barbara
           13
                 Reed and Trace Reed has been a person separate and distinct from the Enterprise itself, while, at
           14
                 the same time, being a member of the Enterprise. The purposes of the Enterprise included,
           15
                 among others: (1) maximizing profits and minimizing trading losses for the Defendants, and each
           16
                 of them, and their co-conspirators, through unlawful trading practices; (2) concealing trading
           17
                 gains obtained through unlawful practices from regulatory and tax authorities; (3) generating
           18
                 illicit income from unlicensed money transmissions; (4) promoting and enhancing the
           19
                 racketeering conspiracy and the activities of the Defendants, and each of them, and their co-
           20
                 conspirators; (5) concealing the unlawful activities of the Defendants, and each of them, and their
           21
                 co-conspirators from scrutiny by cryptocurrency exchanges and law enforcement; and concealing
           22
                 or disguising the nature, the location, the source, the ownership, or the control of the proceeds of
           23
                 unlawful activities by investing said proceeds into United States real estate using nominee entities.
           24
                         243.      The activity of the Enterprise and the predicate acts of racketeering alleged
           25
                 hereinbelow affect interstate or foreign commerce. Specifically, the Enterprise directly engaged
           26
                 in the production, distribution, or acquisition of goods and services in interstate commerce,
           27
                 including, without limitation, cryptocurrency derivatives trading services.
           28
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             1
                         244.      At various times during the Relevant Period each of the Defendants HDR, ABS,
             2
                 Hayes, Delo and Reed was employed in or associated with the Enterprise as alleged hereinabove.
             3
             4                              ROLES OF DEFENDANTS IN THE ENTERPRISE
                         245.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-244 above
             5
                 as if fully set forth herein.
             6
                         246.      Plaintiff Dolgov is informed and believes and thereon alleges that individual
             7
                 Defendants Hayes, Delo and Reed were the masterminds behind the alleged Enterprise and the
             8
                 predicate criminal acts alleged hereinbelow. Specifically, Plaintiff Dolgov is informed and
             9
                 believes and thereon alleges that Defendant Hayes was responsible for, among other things,
           10
                 conducting overall planning, oversight and supervision of the affairs of the Enterprise and
           11
                 coordination between the remaining co-conspirators as well as controlling bank accounts and
           12
                 financial flows within the Enterprise. Plaintiff Dolgov is informed and believes and thereon
           13
                 alleges that Defendant Reed was responsible for, among other things, planning and initiating the
           14
                 deliberate server freezes and fraudulent system overloads on BitMEX as alleged herein as well as
           15
                 effective transfers of market manipulation winnings from helper accounts on United States based
           16
                 exchanges Kraken, Coinbase and BitStamp to winner accounts on BitMEX, by placing large
           17
                 market orders on those exchanges with maximum slippage to cause large artificial moves in the
           18
                 .BXBT and index price and .BETH index price on a daily basis, including during each of the
           19
                 specific Manipulation Times alleged in Paragraph 353 below, and performance of other illegal
           20
                 acts conducted by the Enterprise, by issuing electronic wire transmissions containing trading
           21
                 orders and other computer system commands and writing, deploying and remotely executing
           22
                 software scripts from his office located in Milwaukee, WI 53202. Defendant Reed was further
           23
                 responsible, together with each of Defendants Agata Reed, Barbara Reed and Trace Reed, for
           24
                 laundering a substantial portion of the tainted bitcoin-denominated proceeds of the illegal
           25
                 activities on the BitMEX platform from Defendants’ general account (bitcoin wallet) through the
           26
                 Defendant Unknown Exchange and a real estate investment scheme involving multiple real estate
           27
                 properties in Wisconsin and Massachusetts with the purpose to conceal or disguise the nature, the
           28
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             1
                 location, the source, the ownership, or the control of the proceeds of the unlawful activities taking
             2
                 place on the BitMEX platform. Defendants Grape Park and Mark Sweep are nominee shell
             3
                 entities that were used by the Enterprise to conceal or disguise the true source of funds used for
             4
                 acquiring the real estate properties and their true ownership and control, Ex. 12, 13.
             5
                        247.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendant ABS
             6
                 designs, develops, implements, operates and supports the online derivatives trading platform
             7
                 BitMEX from within this District. Defendant ABS was responsible for, among other things, day
             8
                 to day operations of the BitMEX platform and for effectuating the market manipulation, including,
             9
                 without limitation deliberate server freezes and fraudulent system overloads alleged herein as
           10
                 well as effective transfers of market manipulation winnings from helper accounts to winner
           11
                 accounts and performance of other illegal acts conducted by the Enterprise. Plaintiff Dolgov is
           12
                 informed and believes and thereon alleges that Defendant HDR was responsible for, among other
           13
                 things, planning the overall operation of the BitMEX platform to effectuate the market
           14
                 manipulation, including, without limitation deliberate server freezes and fraudulent system
           15
                 overloads alleged herein as well as effective transfers of market manipulation winnings from
           16
                 helper accounts to winner accounts and performance of other illegal acts conducted by the
           17
                 Enterprise. Finally, Plaintiff Dolgov is informed and believes and thereon alleges that Defendant
           18
                 Delo was responsible for performing liquidations of user positions to rip the benefits of the
           19
                 market manipulation and other illegal acts conducted by the Enterprise and depositing the
           20
                 liquidation proceeds into Insurance Fund.
           21
                        248.       The individual roles of all Defendants within the Enterprise are summarized in the
           22
                 below table, prepared according to information and belief of Plaintiff Dolgov:
           23
           24
                   Defendant                                                    Role of Defendant
           25
                                        Defendant HDR is a holding company. Despite being incorporated in the
           26
                 HDR                    Seychelles, Defendant HDR does not have, and never has had, any operations
           27
                                        or employees in the Seychelles. Defendant HDR operates, or has operated
           28
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             1
                                        during the Relevant Period, primarily from San Francisco office of Defendant
             2
                                        ABS and Milwaukee office of Defendant Reed. Defendant HDR was
             3
                                        responsible for, among other things, the planning of the operation of the
             4
                                        BitMEX platform to effectuate the market manipulation, including, without
             5
                                        limitation deliberate server freezes and fraudulent system overloads alleged
             6
                                        herein as well as effective transfers of market manipulation winnings from
             7
                                        helper accounts to winner accounts and performance of other illegal acts
             8
                                        conducted by the Enterprise.
             9
                                        Defendant ABS designs, develops, implements, operates and supports the
           10
                                        online derivatives trading platform BitMEX from within this District.
           11
                                        Defendant ABS was responsible for, among other things, day to day operations
           12
                                        of the BitMEX platform and effectuating the market manipulation, including,
           13
                 ABS                    without limitation deliberate server freezes and fraudulent system overloads
           14
                                        alleged herein as well as effective transfers of market manipulation winnings
           15
                                        from helper accounts to winner accounts and performance of other illegal acts
           16
                                        conducted by the Enterprise, as well as creating custom software programs and
           17
                                        scripts for performing market manipulation and implementing server freezes.
           18
                                        Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           19
                                        or disguise the true source of funds used for acquiring the real estate properties
           20
                 Grape Park             and their true ownership and control. Defendant Reed dominates and controls
           21
                                        every aspect of business of Defendant Grape Park and funds its operations.
           22
                                        Defendant Grape Park is an alter ego of Defendant Reed.
           23
                                        Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           24
                                        or disguise the true source of funds used for acquiring the real estate properties
           25
                 Mark Sweep             and their true ownership and control. Defendant Reed dominates and controls
           26
                                        every aspect of business of Defendant Mark Sweep and funds its operations.
           27
                                        Defendant Mark Sweep is an alter ego of Defendant Reed.
           28
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             1
                                         Defendant Unknown Exchange was responsible for knowingly, willfully and
             2
                                         deliberately laundering a substantial portion of the bitcoin-denominated
             3
                                         proceeds of market manipulation, money laundering, operating unlicensed
             4   Unknown
                                         money transmitting business and multitude of various other nefarious acts
             5   Exchange
                                         taking place on the BitMEX platform, by means of converting bitcoins into
             6
                                         various traditional (“fiat”) currencies, including United States dollars and Hong
             7
                                         Kong dollars.
             8
                                         Defendant Hayes was responsible for, among other things, conducting overall
             9
                                         planning, oversight and supervision of the affairs of the Enterprise and
           10
                                         coordination between the remaining co-conspirators, as well as controlling bank
           11
                                         accounts and financial flows within the Enterprise. In addition, Defendant
           12
                                         Hayes gave directions to other members of the Enterprise, occupied the top
           13
                                         position in the "chain of command" of the Enterprise through which the affairs
           14
                                         of the Enterprise are conducted and was indispensable to the achievement of the
           15
                                         Enterprise’s goals of maximizing profits and minimizing trading losses for the
           16
                 Hayes                   Defendants, and each of them, and their co-conspirators, through unlawful
           17
                                         trading practices, including market manipulation, concealing trading gains
           18
                                         obtained through unlawful practices from regulatory and tax authorities using,
           19
                                         without limitation, money laundering, generating illicit income from unlicensed
           20
                                         money transmissions, promoting and enhancing the racketeering conspiracy and
           21
                                         the activities of the Defendants, and each of them, and their co-conspirators and
           22
                                         concealing the unlawful activities of the Defendants, and each of them, and
           23
                                         their co-conspirators from scrutiny by cryptocurrency exchanges and law
           24
                                         enforcement.
           25
                                         Defendant Delo was responsible for performing liquidations of user positions to
           26
                 Delo                    rip the benefits of the market manipulation and other illegal acts conducted by
           27
                                         the Enterprise and depositing the liquidation proceeds into Insurance Fund. In
           28
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             1
                                         addition, Defendant Delo gave directions to other members and took directions
             2
                                         from Defendant Hayes, occupied a second position in the "chain of command"
             3
                                         through which the affairs of the Enterprise are conducted, knowingly and
             4
                                         eagerly implemented decisions of Defendant Hayes and was indispensable to
             5
                                         the achievement of the Enterprise’s goals of maximizing profits and minimizing
             6
                                         trading losses for the Defendants, and each of them, and their co-conspirators,
             7
                                         through unlawful trading practices, including market manipulation, concealing
             8
                                         trading gains obtained through unlawful practices from regulatory and tax
             9
                                         authorities using, without limitation, money laundering, generating illicit
           10
                                         income from unlicensed money transmissions, promoting and enhancing the
           11
                                         racketeering conspiracy and the activities of the Defendants, and each of them,
           12
                                         and their co-conspirators and concealing the unlawful activities of the
           13
                                         Defendants, and each of them, and their co-conspirators from scrutiny by
           14
                                         cryptocurrency exchanges and law enforcement.
           15
                                         Defendant Reed was responsible for, among other things, planning and
           16
                                         initiating the deliberate server freezes and fraudulent system overloads on
           17
                                         BitMEX as alleged herein as well as effective transfers of market manipulation
           18
                                         winnings from helper accounts on United States based exchanges Kraken,
           19
                                         Coinbase and BitStamp to winner accounts on BitMEX, by placing large
           20
                                         market orders on those exchanges with maximum slippage to cause large
           21
                 Reed                    artificial moves in the .BXBT and index price and .BETH index price on a daily
           22
                                         basis and performance of other illegal acts conducted by the Enterprise, by
           23
                                         issuing electronic wire transmissions containing trading orders and other
           24
                                         computer system commands and writing, deploying and remotely executing
           25
                                         software scripts from his office located in Milwaukee, WI 53202. Defendant
           26
                                         Reed was further responsible for laundering a substantial portion of the tainted
           27
                                         proceeds of the illegal activities on the BitMEX platform from Defendants’
           28
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             1
                                       general account (bitcoin wallet) through a real estate investment scheme
             2
                                       involving multiple real estate properties in Wisconsin and Massachusetts, by
             3
                                       concealing the nature of the funds used in acquisition of said properties and the
             4
                                       true state of ownership and control thereof. In addition, Defendant Reed gave
             5
                                       directions to other members and took directions from Defendant Hayes,
             6
                                       occupied a third position in the "chain of command" through which the affairs
             7
                                       of the Enterprise are conducted, knowingly and eagerly implemented decisions
             8
                                       of Defendants Hayes and Delo and was indispensable to the achievement of the
             9
                                       Enterprise’s goals of maximizing profits and minimizing trading losses for the
           10
                                       Defendants, and each of them, and their co-conspirators, through unlawful
           11
                                       trading practices, including market manipulation, concealing trading gains
           12
                                       obtained through unlawful practices from regulatory and tax authorities using,
           13
                                       without limitation, money laundering, generating illicit income from unlicensed
           14
                                       money transmissions, promoting and enhancing the racketeering conspiracy and
           15
                                       the activities of the Defendants, and each of them, and their co-conspirators and
           16
                                       concealing the unlawful activities of the Defendants, and each of them, and
           17
                                       their co-conspirators from scrutiny by cryptocurrency exchanges and law
           18
                                       enforcement.
           19
                                       Defendant Agata Reed was responsible for laundering a substantial portion of
           20
                                       the tainted proceeds of the illegal activities on the BitMEX platform from
           21
                                       Defendants’ general account (bitcoin wallet) through a real estate investment
           22
                                       scheme involving real estate properties in Massachusetts with the purpose to
           23
                 Agata Reed            conceal or disguise the nature, the location, the source, the ownership, or the
           24
                                       control of the proceeds of the alleged unlawful activity taking placeon the
           25
                                       BitMEX platform. In addition, Defendant Agata Reed gave directions to other
           26
                                       members and took directions from Defendant Reed, occupied a fourth position
           27
                                       in the "chain of command" through which the affairs of the Enterprise are
           28
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             1
                                       conducted, knowingly and eagerly implemented decisions of Defendants
             2
                                       Hayes, Delo and Reed and was indispensable to the achievement of the
             3
                                       Enterprise’s goals of maximizing profits and minimizing trading losses for the
             4
                                       Defendants, and each of them, and their co-conspirators, through unlawful
             5
                                       trading practices, including market manipulation, concealing trading gains
             6
                                       obtained through unlawful practices from regulatory and tax authorities using,
             7
                                       without limitation, money laundering, generating illicit income from unlicensed
             8
                                       money transmissions, promoting and enhancing the racketeering conspiracy and
             9
                                       the activities of the Defendants, and each of them, and their co-conspirators and
           10
                                       concealing the unlawful activities of the Defendants, and each of them, and
           11
                                       their co-conspirators from scrutiny by cryptocurrency exchanges and law
           12
                                       enforcement.
           13
                                       Defendant Barbara Reed was responsible for laundering a substantial portion of
           14
                                       the tainted proceeds of the illegal activities on the BitMEX platform from
           15
                                       Defendants’ general account (bitcoin wallet) through a real estate investment
           16
                                       scheme involving real estate properties in Wisconsin, by concealing the nature
           17
                                       of the funds used in acquisition of said properties and the true state of
           18
                                       ownership and control thereof.             In addition, Defendant Barbara Reed gave
           19
                                       directions to other members and took directions from Defendant Reed,
           20
                 Barbara Reed          occupied a fifth position in the "chain of command" through which the affairs
           21
                                       of the Enterprise are conducted, knowingly and eagerly implemented decisions
           22
                                       of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           23
                                       of the Enterprise’s goals of maximizing profits and minimizing trading losses
           24
                                       for the Defendants, and each of them, and their co-conspirators, through
           25
                                       unlawful trading practices, including market manipulation, concealing trading
           26
                                       gains obtained through unlawful practices from regulatory and tax authorities
           27
                                       using, without limitation, money laundering, generating illicit income from
           28
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             1
                                        unlicensed money transmissions, promoting and enhancing the racketeering
             2
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
             3
                                        conspirators and concealing the unlawful activities of the Defendants, and each
             4
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
             5
                                        and law enforcement.
             6
                                        Defendant Trace Reed was responsible for laundering a substantial portion of
             7
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
             8
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
             9
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           10
                                        of the funds used in acquisition of said properties and the true state of
           11
                                        ownership and control thereof. In addition, Defendant Trace Reed gave
           12
                                        directions to other members and took directions from Defendant Reed,
           13
                                        occupied a sixth position in the "chain of command" through which the affairs
           14
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           15
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           16    Trace Reed
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           17
                                        for the Defendants, and each of them, and their co-conspirators, through
           18
                                        unlawful trading practices, including market manipulation, concealing trading
           19
                                        gains obtained through unlawful practices from regulatory and tax authorities
           20
                                        using, without limitation, money laundering, generating illicit income from
           21
                                        unlicensed money transmissions, promoting and enhancing the racketeering
           22
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           23
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           24
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           25
                                        and law enforcement.
           26
                        249.       Additional and other facts regarding Defendants’ roles in the Enterprise are hidden
           27
                 from Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody
           28
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             1
                  and control. To date, Defendants provided absolutely no discovery to Plaintiff what so ever,
             2
                  despite being served with multiple discovery requests, which Defendants stonewalled. Plaintiff
             3
                  accordingly reserves the right to supplement and amend these allegations, if appropriate or
             4
                  necessary, following completion of relevant fact discovery.
             5
             6            THE RAKETEERING CONSPIRACY AND RACKETEERING ACTIVITY
                          250.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-249 above
             7
                  as if fully set forth herein.
             8
                          251.      Pursuant to 18 U.S.C. § 1961, “racketeering activity” for purposes of RICO means
             9
                  “any act which is indictable under any of the following provisions of title 18, United States
           10
                  Code: … section 1343 (relating to wire fraud) … section 1956 (relating to the laundering of
           11
                  monetary instruments), section 1957 (relating to engaging in monetary transactions in property
           12
                  derived from specified unlawful activity), … section 1960 (relating to illegal money
           13
                  transmitters), … sections 2314 and 2315 (relating to interstate transportation of stolen property).”
           14
                          252.      During the Relevant Period, the Defendants, and each of them, solely or together
           15
                  with other individuals, being persons employed by and associated with Enterprise they engaged in,
           16
                  and the activities of which affected interstate and foreign commerce, knowingly and intentionally,
           17
                  conspired to conduct and participate, directly and indirectly, and actually participated in conduct
           18
                  of the Enterprise’s affairs through a pattern of racketeering activity, as that terms is defined in 18
           19
                  U.S.C. § 1961, consisting of multiple acts, which are indictable under 18 U.S.C. § 1343, 18 U.S.C.
           20
                  § 1956, 18 U.S.C. § 1957, 18 U.S.C. § 1960(a) and 18 U.S.C. § 2314.
           21
                          253.      It was a part of the conspiracy that each Defendant agreed that a conspirator would
           22
                  commit at least two acts of racketeering activity in the conduct of the affairs of the Enterprise.
           23
                          254.      The purposes of the alleged racketeering conspiracy of the Defendants, and each of
           24
                  them, included the following, among others: (1) maximizing profits and minimizing trading
           25
                  losses for the Defendants, and each of them, and their co-conspirators, through unlawful trading
           26
                  practices, including market manipulation; (2) concealing trading gains obtained through unlawful
           27
                  practices from regulatory and tax authorities, including, without limitation, by means of money
           28
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             1
                  laundering; (3) generating illicit income from unlicensed money transmissions; (4) promoting and
             2
                  enhancing the racketeering conspiracy and the activities of the Defendants, and each of them, and
             3
                  their co-conspirators; (5) concealing the unlawful activities of the Defendants, and each of them,
             4
                  and their co-conspirators from scrutiny by cryptocurrency exchanges and law enforcement; and (6)
             5
                  laundering the bitcoin denominated proceeds of the market manipulation on the BitMEX platform
             6
                  by first converting them into fiat currencies such as United States dollars using Defendant
             7
                  Unknown Exchange and then reinvesting the converted fiat currency proceeds into real estate
             8
                  properties in Wisconsin and Massachusetts using nominee entities Grape Park and Mark Sweep
             9
                  (collectively “Purposes”).
           10
           11               OVERT ACTS IN FURTHERANCE OF RAKETEERING CONSPIRACY
                          255.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-254 above
           12
                  as if fully set forth herein.
           13
                          256.      In furtherance of the racketeering conspiracy, and to achieve its purposes, the
           14
                  Defendants committed and caused to be committed the following acts, among others, alleged in
           15
                  this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
           16
                  leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
           17
                  calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           18
                  money launderers to avoid detection by providing them with the ability to open unlimited number
           19
                  of anonymous document check-free trading accounts without any trading and withdrawal limits;
           20
                  4) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
           21
                  some trading orders and reject others during large market moves to exacerbate price fluctuations
           22
                  and cause the most liquidations; 5) regularly manipulating price of cryptocurrencies including,
           23
                  without limitation, bitcoin, by executing large market orders from helper accounts on illiquid spot
           24
                  exchanges Coinbase Pro, BitStamp and Kraken in order to cause massive liquidations of traders’
           25
                  derivatives positions on BitMEX and capture resulting market manipulation profits using winner
           26
                  accounts on that exchange; 6) knowingly, willfully and deliberately effectively transmitting
           27
                  market manipulation winnings from the helper accounts to the winner accounts in violation of 18
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 101 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                  U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314; and 7)
             2
                  knowingly, willfully and deliberately transmitting a portion of the money from the winner
             3
                  accounts back to the helper accounts in order to replenish them before next manipulation in
             4
                  violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. §
             5
                  2314. For example, Ex. 3, p. 4 describes how a helper account on BitStamp was used on May 17,
             6
                  2019 to effectively transmit 80 times of the amount money spent from that helper account to a
             7
                  winner account on BitMEX. See also Ex. 2, pp. 2-3 describing a similar scheme that used helper
             8
                  accounts on BitStamp to artificially induce massive liquidations of traders, like Plaintiff, on
             9
                  Bitmex on July 14, 2019, resulting in effective transmission of manipulation winnings from
           10
                  helper accounts on BitStamp to winner accounts on BitMEX. Plaintiff Dolgov is informed and
           11
                  believes and thereon alleges that Defendants use this unlawful scheme on a regular basis using
           12
                  helper accounts operated on United States based cryptocurrency exchanges BitStamp, Kraken and
           13
                  Coinbase Pro. Additionally, the aforesaid illegal acts of effectively transmitting market
           14
                  manipulation winnings from helper accounts to winner accounts were all perpetrated by
           15
                  Defendants through the same commercial website BitMEX.com, which is accessible and is
           16
                  extensively used, via widely available and inexpensive VPN software, by users located in the
           17
                  United States and this District. Therefore, these illegal acts for which Plaintiff seeks redress in
           18
                  this Complaint were directly related to Defendants’ connections to the United States and this
           19
                  District through their commercial website BitMEX.com. Moreover, BitMEX platform is
           20
                  operated from this District, which also houses the three site reliability engineers of BitMEX who
           21
                  personally caused the BitMEX servers to freeze during manipulation times.
           22
                         257.       In addition, in furtherance of the racketeering conspiracy, and to achieve its
           23
                  purposes, the Defendants committed and caused to be committed, in this District and elsewhere,
           24
                  the acts, among others, as alleged in this Complaint.
           25
                         258.       Plaintiff Dolgov was injured in his property by one or more of the foregoing and
           26
                  other overt acts in furtherance of the alleged racketeering conspiracy. For example, Plaintiff
           27
                  Dolgov was financially injured when Defendants effectively transmitted funds, which was
           28
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             1
                  perpetrated willfully and deliberately by Defendants through their commercial website
             2
                  BitMEX.com, and with full knowledge of the nature and purpose of the funds involved in the
             3
                  transfer, in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18
             4
                  U.S.C. § 2314 between helper and winner accounts by way of using the helper accounts to
             5
                  perpetrate manipulation by pumping or dumping the cryptocurrency market, thereby causing a
             6
                  liquidation cascade affecting Plaintiff’s account, and using the winner accounts to capture the
             7
                  financial benefits of the aforesaid manipulation. As the result of the actions of the Defendants
             8
                  alleged in this Paragraph, the positions of Plaintiff were liquidated.
             9
                         259.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
           10
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           11
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
           12
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           13
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           14
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           15
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           16
                  Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           17
                  and operated by United States based Amazon EKS with offices in this District.
           18
                         260.       Moreover, the aforesaid illegal acts of effectively transmitting market
           19
                  manipulation winnings from helper accounts to winner accounts, which resulted in the injury to
           20
                  Plaintiff, were all perpetrated by Defendants through the same commercial website BitMEX.com,
           21
                  which is accessible and is extensively used, via widely available and inexpensive VPN software,
           22
                  by users located in the United States and this District. Therefore, Defendants’ illegal acts
           23
                  resulting in injuries to Plaintiff, for which Plaintiff seeks redress in this Complaint, were directly
           24
                  related to Defendants’ connections to the United States and this District through their commercial
           25
                  website BitMEX.com.
           26
           27
           28
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             1
                      DEFENDANTS OPERATED AND CONTINUE TO OPERATE AN UNLICENSED
             2         MONEY TRANSMITTING BUSINESS IN VIOLATION OF 18 U.S.C. § 1960(a)
             3            261.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-260 above
             4    as if fully set forth herein.
             5            262.      Bitcoins and other cryptocurrencies are funds. United States v. Murgio, No. 15-cr-
             6    769, 2016 WL 5107128, at *4 (S.D.N.Y. Sep. 19, 2016); United States v. Budovsky, No. 15-cr-
             7    368, 2015 WL 5602853 (S.D.N.Y. Sep. 23, 2015); United States v. Faiella, 39 F. Supp. 3d 544
             8    (S.D.N.Y. 2014). Therefore, bitcoins are subject to all laws and regulations applicable to fiat
             9    currency monetary transactions.
           10             263.      Plaintiff Dolgov is informed and believes and thereon alleges that during the
           11     Relevant Period, Defendants, and each of them, engaged in conducting, controlling, managing,
           12     supervising, directing, or owning all or part of an unlicensed money transmitting business in
           13     violation of 18 U.S.C. § 1960(a).
           14             264.      To use Defendant HDR’s unlicensed money transmitting services, one creates an
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                  account by accessing the Defendant HDR’s website BitMEX.com. A user does not need to
           26
                  provide even the most basic identifying information such as date of birth, address, or other
           27
                  identifiers. All that Defendant HDR requires is a name, password, and an email address.
           28
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             1
                            265.       Unlike legitimate payment processors or digital currency exchangers, Defendant
             2
                  HDR does not require its users to validate their identity information by providing official
             3
                  identification documents, given that Defendant HDR does not require an identity at all to open an
             4
                  account and start trading with up to 100x leverage. For comparison, a legitimate U.S.
             5
                  cryptocurrency exchange Kraken requires email address, full name, date of birth, phone number,
             6
                  and physical address to open the most basic level account.
             7
                            266.       Thus, a user can create and fund an HDR account with nothing more than an email
             8
                  address, which often has no relationship to the identity of the actual user. Accounts are therefore
             9
                  easily opened anonymously, including by customers in the United States within the Northern
           10
                  District of California. Using such anonymous account, the user is able to make unlimited
           11
                  deposits, unlimited trades with up to 100x leverage, as well as unlimited withdrawals. Instead of
           12
                  performing a proper document check before allowing users to open an account on BitMEX,
           13
                  Defendants deliberately and knowingly use utterly ineffective IP address check, which they all
           14
                  well know is uniformly subverted by very simple, inexpensive and widely available software
           15
                  tools.
           16
                            267.       Moreover, high leverage provided by Defendant HDR to all users enables
           17
                  Defendants and all BitMEX users to launder unlimited funds from one account to another using
           18
                  market manipulation as alleged hereinabove. For example, one helper account may dump a large
           19
                  amount of cryptocurrency on the market using margin, triggering a liquidation cascade and
           20
                  booking a loss, when a separate, second winner account may buy the cryptocurrency at an
           21
                  artificial below market price caused by the liquation cascade. This way, unlimited amount of
           22
                  funds may be laundered from the first helper account to the second winner account virtually
           23
                  anonymously in violation of 18 U.S.C. § 1956(a), which is a RICO predicate offense. Plaintiff
           24
                  Dolgov is informed and believes and thereon alleges that Defendants themselves launder funds
           25
                  and enable BitMEX uses to launder funds in the alleged manner by providing high levels of
           26
                  leverage up to 100x and deliberately failing to conduct KYC upon account creation. In addition,
           27
                  the knowing, willful and deliberate effective transmissions of the winnings from market
           28
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             1
                  manipulation from the first helper account to the second winner account perpetrated by
             2
                  Defendants on behalf of themselves and/or on behalf of other BitMEX users as described herein,
             3
                  with full knowledge of the nature and purpose of the funds involved in the transfer, constitutes
             4
                  unlicensed money transmitting in violation of 18 U.S.C. § 1960(a), which is also a RICO
             5
                  predicate offense. Finally, the willful and deliberate money transmission from the winner account
             6
                  back to the helper account in order to replenish it before next manipulation cycle, with full
             7
                  knowledge of the nature and purpose of the funds involved in the transfer, also constitutes
             8
                  unlicensed money transmitting in violation of 18 U.S.C. § 1960(a), which is also a RICO
             9
                  predicate offense. The same money transmission further constitutes a monetary transaction in
           10
                  property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), interstate
           11
                  transportation of stolen property in violation of 18 U.S.C. § 2314 and money laundering in
           12
                  violation of 18 U.S.C. § 1956(a), which are also RICO predicate offenses. For example, Ex. 3, p.
           13
                  4 describes how a helper account on BitStamp was used on May 17, 2020 to effectively transmit
           14
                  80 times of the amount money spent from that helper account to a winner account on BitMEX.
           15
                  See also Ex. 7, illustrating a similar scheme, in which a perpetrator sold $44,000,000 over 22
           16
                  separate $2,000,0000 orders of XBTUSD Perpetual Swaps on Bitmex on July 27, 2020 to get into
           17
                  a position and then used market orders amounting to some 1000 bitcoins on Coinbase Pro
           18
                  exchange to artificially move the .BXBT index price in a favorable direction in order to close his
           19
                  large BitMEX position at a significant profit. See also Ex. 2, pp. 2-3 describing a similar scheme
           20
                  that used helper accounts on BitStamp to artificially induce massive liquidations of traders, like
           21
                  Plaintiff, on Bitmex on July 14, 2019, resulting in effective transmission of manipulation
           22
                  winnings from helper accounts on BitStamp to winner accounts on BitMEX. Plaintiff Dolgov is
           23
                  informed and believes and thereon alleges that Defendants use this unlawful scheme on a regular
           24
                  basis utilizing helper accounts on United States based exchanges BitStamp, Kraken and Coinbase
           25
                  Pro and winner accounts on BitMEX.5
           26
                  5
           27       The funds are being transmitted from one exchange to another by way of arbitrage algorithms
                  that buy cryptocurrency on one platform and simultaneously sell on the other, as alleged in
           28     Paragraph 147.
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             1
                         268.       At all times relevant to this complaint Defendant HDR had no anti-money
             2
                  laundering (“AML”) and/or "Know-Your-Customer” (“KYC”) processes and policies in place or
             3
                  the existing policies lacked any meaningful enforcement, as evidenced, for example, by apparent
             4
                  accepting the United States - based companies, including CMT Capital Markets Trading,
             5
                  Eastmore Group / Eastmore Management, LLC, Clerkenwell Asset Management LLC, Adaptive
             6
                  Fund I, LP and Galois Capital, Swing Trade Pros, FalconX, Cumberland DRW, Circle Partners,
             7
                  Fund3 Capital LP/Fund3 LLC, South Lake Computers, ARK Investment Management LLC,
             8
                  Coincident Capital and Leotank Capital as clients, despite claiming that BitMEX is closed to
             9
                  United States persons. As alleged hereinabove, Defendant HDR collected and continues to
           10
                  collect virtually no customer data at all. Nor did Defendant HDR ever register with FinCEN or
           11
                  perform the required AML and KYC functions.
           12
                         269.       A user can fund a Defendant HDR account in numerous different ways. One way
           13
                  involves funding a Defendant HDR account with a user's existing digital currency. A user with
           14
                  existing digital currency, such as bitcoin, could fund an HDR account directly via bitcoin
           15
                  deposits. Defendant HDR users could also use market manipulation to launder funds from one
           16
                  account to another. Plaintiff Dolgov is informed and believes and thereon alleges that this served
           17
                  as another conduit for money laundering as it allowed Defendant HDR’s customers and
           18
                  Defendants themselves to withdraw funds from their HDR account and transfer them to other
           19
                  HDR users anonymously.
           20
                         270.       18 U.S.C. § 1960(a) provides: “(a) Whoever knowingly conducts, controls,
           21
                  manages, supervises, directs, or owns all or part of an unlicensed money transmitting business,
           22
                  shall be fined in accordance with this title or imprisoned not more than 5 years, or both.”
           23
                         271.        Pursuant to 18 U.S.C. § 1960(b)(1), “the term “unlicensed money transmitting
           24
                  business” means a money transmitting business which affects interstate or foreign commerce in
           25
                  any manner or degree” and (A) is operated without an appropriate money transmitting license in a
           26
                  State where such operation is punishable as a misdemeanor or a felony under State law, whether
           27
                  or not the defendant knew that the operation was required to be licensed or that the operation was
           28
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             1
                  so punishable; (B) fails to comply with the money transmitting business registration requirements
             2
                  under section 5330 of title 31, United States Code, or regulations prescribed under such section;
             3
                  or (C) otherwise involves the transportation or transmission of funds that are known to the
             4
                  defendant to have been derived from a criminal offense or are intended to be used to promote or
             5
                  support unlawful activity.
             6
                          272.       18 U.S.C. § 1960(a) makes it a crime to operate an unlicensed money transmitting
             7
                  business. The term money transmitting includes "transferring funds on behalf of the public by any
             8
                  and all means including but not limited to transfers within this country or to locations abroad by
             9
                  wire, check, draft, facsimile, or courier." This statute makes it a violation to conduct a "money
           10
                  transmitting business" if the business is not registered as a money transmitting business with the
           11
                  U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
           12
                  regulations pursuant to that statute. Moreover, FinCEN Ruling, FIN-2014-R002, at p. 4 provides:
           13
                          273.       In addition, should the Company begin to engage as a business in the exchange of
           14
                  virtual currency against currency of legal tender (or even against other convertible virtual
           15
                  currency), the Company would become a money transmitter under FinCEN's regulations. Under
           16
                  such circumstances, the Company would have to register with FinCEN, implement an effective,
           17
                  risk-based anti-money laundering program, and comply with the recordkeeping, reporting, and
           18
                  transaction monitoring requirements applicable to money transmitters.
           19
                          274.       FinCEN Ruling, FIN-2014-R002, at p. 4. United States Federal District Court
           20
                  decision in U.S. v. Stetkiw, No. 18-20579 (E.D. Mich. Feb. 1, 2019) relied on this Ruling as a
           21
                  basis for denying defendant’s motion to dismiss and holding that defendant’s alleged conduct of
           22
                  converting fiat money into virtual currency constituted money transmitting under 18 U.S.C.
           23
                  § 1960. Thus, Defendant HDR is money transmitter under FinCEN's regulations and California
           24
                  law.
           25
                          275.       The regulations specifically apply to foreign-based money transmitting businesses
           26
                  doing substantial business in the United States. “Several sources close to the company” have
           27
                  disclosed to media sources that nearly 15 percent of the BitMEX’s 2019 trading volume—or
           28
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             1
                  about $138 billion worth—is attributable to traders located in the United States. In addition, San
             2
                  Francisco based Galois Capital also acts as liquidity provider on BitMEX generating millions of
             3
                  dollars of business for Defendants. Therefore, Defendant HDR is subject to the aforesaid federal
             4
                  and state money transmitter regulations due to its very substantial business in the United States.
             5
                  See 31 C.F.R. §§ 1010.100(ff)(5), 1022380(a)(2).
             6
                         276.       Defendant HDR falls under the statutory definition of the “unlicensed money
             7
                  transmitting business” under all of 18 U.S.C. § 1960(b)(1)(A), (B) and (C). Defendants’
             8
                  unlicensed money transmitting operation clearly affects interstate and foreign commerce, based at
             9
                  least on the high amounts (tens and even hundreds of millions of United States dollars) of funds
           10
                  involved in the money transmissions by Defendants.
           11
                         277.       With respect to 18 U.S.C. § 1960(b)(1)(A), Defendant HDR’s operates without an
           12
                  appropriate money transmitting license issued by the State of California and by any other State of
           13
                  the United States. Cal. Fin. Code § 2003(q)(3) defines “money transmission” as “receiving
           14
                  money for transmission.” Defendant HDR clearly meets this definition. Defendant HDR
           15
                  receives funds in a form of a cryptocurrency from its customers and then transmit cryptocurrency
           16
                  to a wallet address. Cal. Fin. Code § 2030(a) requires persons engaged in money transmission to
           17
                  be licensed. Finally, Cal. Fin. Code § 2152(b) provides that a “person that knowingly engages in
           18
                  an activity for which a license is required under this division without being licensed or exempt
           19
                  from licensure under this division is guilty of a felony.” Thus, Defendant HDR meets the
           20
                  definition set out in 18 U.S.C. § 1960(b)(1)(A).
           21
                         278.       With respect to 18 U.S.C. § 1960(b)(1)(B), Defendant HDR failed to register with
           22
                  the U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
           23
                  regulations pursuant to that statute.
           24
                         279.       With respect to 18 U.S.C. § 1960(b)(1)(C), Defendant HDR facilitated and
           25
                  continues to facilitate the transfer of funds involved in cryptocurrency market manipulation and
           26
                  money laundering, including, without limitation, transfer of winnings from market manipulation
           27
                  from the helper accounts into the winner accounts as alleged herein above. By way of example
           28
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             1
                  and not by way of limitation, Defendants, and each of them, during the Relevant Period,
             2
                  transferred proceeds from illegal price manipulation from BitMEX to other cryptocurrency
             3
                  exchanges, including, without limitation, Coinbase Pro, Kraken and BitStamp in order to
             4
                  replenish helper accounts on those exchanges. Such transfers were performed by Defendants, and
             5
                  each of them on a daily basis, including during each of the specific Manipulation Times alleged in
             6
                  Paragraph 353 below, during the Relevant Period. Those proceeds were used by Defendants, and
             7
                  each of them, as well as third party perpetrators to perpetrate further market manipulations as
             8
                  alleged hereinabove. In addition, Defendants transmitted funds between different exchange
             9
                  accounts, including, without limitation, helper accounts and winner accounts, by way of market
           10
                  manipulation as alleged hereinabove.
           11
                         280.       Thus, Defendant HDR is clearly “unlicensed money transmitting business[es]”
           12
                  under 18 U.S.C. § 1960(b)(1) and, therefore, Defendants, and each of them, while being
           13
                  employed in or associated with the continuing Enterprise as alleged above, knowingly conducted,
           14
                  controlled, managed, supervised, directed, and owned all and part of an unlicensed money
           15
                  transmitting business affecting interstate and foreign commerce in violation of 18 U.S.C.
           16
                  § 1960(a), which constitute the predicate acts of the Defendants, and each of them, racketeering
           17
                  activity under RICO.
           18
                         281.       Defendants have been recently caught red-handed doing at least $70,000,000 of
           19
                  business in New York and California without obtaining a money transmitting license.
           20
                  Specifically, as alleged in Paragraphs 108 and 109, California and United States residents
           21
                  generated almost $70,000,000 in trading profits on the BitMEX platform, which clearly exceeds
           22
                  any threshold6 for Defendant HDR having been required to obtain a money transmitter license in
           23
                  the United States and comply with the FinCEN regulations pursuant to 18 U.S.C. § 1960(a),
           24
                  which it knowingly and deliberately failed to do. This conclusively establishes the violation of 18
           25
                  6
           26      In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
                  U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27     Klein, 6:17-cr-03056 (W.D. Mo. 2017), the threshold for triggering 18 U.S.C. § 1960(a) liability
                  was less than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants
           28     exceeded the legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 2,333x.
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             1
                  U.S.C. § 1960(a) by Defendants. Had Defendants obtained the money transmitter license and
             2
                  complied with FinCEN regulations, as they were required by law, they would have been forced to
             3
                  institute the mandatory KYC and AML policies on the BitMEX platform, as they did on August
             4
                  14, 2020, which would have prevented at least some of the market manipulation, money
             5
                  laundering and other nefarious acts, which damaged Plaintiff as alleged in this Complaint, from
             6
                  taking place on the BitMEX platform. Therefore, Plaintiff’s injuries alleged in this Complaint
             7
                  were directly and proximately caused by Defendants operating the unlicensed money transmitting
             8
                  business and failing to comply with FinCEN regulations in violation of 18 U.S.C. § 1960(a).
             9
                         282.       It should be noted that the sheer magnitude of Defendants’ unlicensed money
           10
                  transmitting operation is truly staggering. According to Defendants’ own data, Defendant HDR
           11
                  turnover averages over $3 billion per day. Thus, Defendants illegally transmitted over $3 billion
           12
                  per day without the required state money transmitter license and the required registration with
           13
                  FinCEN in violation of 18 U.S.C. § 1960(a).
           14
                         283.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           15
                  each of them, charged their customers substantial fees for the unlicensed money transmissions
           16
                  generating substantial illegal income for Defendants.
           17
                         284.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           18
                  alleged herein, namely operation of an unlicensed money transmitting business in violation of 18
           19
                  U.S.C. § 1960(a), are related by having the same or similar purposes of manipulating
           20
                  cryptocurrency markets, generating illicit income and concealing illegal activities from
           21
                  authorities, results, Defendants – participants, victims, methods of commission or are otherwise
           22
                  interrelated by distinguishing characteristics.
           23
                         285.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           24
                  alleged herein, namely operation of an unlicensed money transmitting business in violation of 18
           25
                  U.S.C. § 1960(a), are continuous as they constitute an open-ended scheme, which poses a threat
           26
                  of continuity through the long duration of the alleged misconduct, namely over two years, and the
           27
                  threat of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants
           28
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             1
                  is still ongoing.
             2
                          286.      Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
             3
                  each of them, used at least a portion of the income derived from their unlicensed money
             4
                  transmitting operations in violation of 18 U.S.C. § 1960(a) to manipulate spot and derivative
             5
                  markets of cryptocurrencies, as alleged herein, which directly and proximately resulted in the
             6
                  substantial monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged hereinbelow.
             7
                          287.      Plaintiff Dolgov is informed and believes and thereon alleges that Defendants’,
             8
                  and each of them, alleged price manipulation schemes, including, without limitation, pumps and
             9
                  dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
           10
                  them, to transmit money in violation of 18 U.S.C. § 1960(a) directly and proximately resulted in
           11
                  substantial monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged herein.
           12
                        DEFENDANTS CONSPIRED TO LAUNDER, LAUNDERED AND CONTINUE
           13                 TO LAUNDER FUNDS IN VIOLATION OF 18 U.S.C. § 1956
           14             288.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-287 above
           15     as if fully set forth herein.
           16             289.      18 U.S.C. § 1956 provides that “whoever, knowing that the property involved in a
           17     financial transaction represents the proceeds of some form of unlawful activity, conducts or
           18     attempts to conduct such a financial transaction which in fact involves the proceeds of specified
           19     unlawful activity (A)(i) with the intent to promote the carrying on of specified unlawful activity;
           20     or (ii) with intent to engage in conduct constituting a violation of section 7201 or 7206 of the
           21     Internal Revenue Code of 1986; or (B) knowing that the transaction is designed in whole or in
           22     part (i) to conceal or disguise the nature, the location, the source, the ownership, or the control of
           23     the proceeds of specified unlawful activity; or (ii) to avoid a transaction reporting requirement
           24     under State or Federal law, shall be sentenced to a fine of not more than $500,000 or twice the
           25     value of the property involved in the transaction, whichever is greater, or imprisonment for not
           26     more than twenty years, or both.”
           27             290.      Plaintiff Dolgov is informed and believes and thereon alleges that, during the
           28
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             1
                  Relevant Period, Defendants, and each of them, willfully and knowingly did combine, conspire,
             2
                  confederate, and agree together and with each other to knowingly conduct and attempt to conduct
             3
                  financial transactions affecting interstate commerce and foreign commerce, which transactions
             4
                  involved the proceeds of specified unlawful activity, that in, operation of an unlicensed money
             5
                  transmitting business in violation of 18 U.S.C. § 1960(a), as alleged hereinabove, as well as
             6
                  proceeds of money laundering and unlawful cryptocurrency market manipulation, as alleged
             7
                  hereinbelow.
             8
                         291.       Defendants, and each of them, willfully and knowingly did conduct and continue
             9
                  to conduct financial transactions affecting interstate commerce and foreign commerce, which
           10
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
           11
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a) as well as proceeds of
           12
                  unlawful cryptocurrency market manipulation.
           13
                         292.       For example, Defendants, and each of them, transferred, on multiple occasions,
           14
                  proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           15
                  as proceeds from illegal bitcoin Perpetual Swap contracts price manipulation from BitMEX to
           16
                  other cryptocurrency exchanges, including, without limitation, Coinbase Pro, BitStamp and
           17
                  Kraken, with intent to employ those transferred proceeds in further unlawful activity or to launder
           18
                  those proceeds by converting them into fiat currencies or through real estate investment schemes.
           19
                  Those proceeds were in fact subsequently used by Defendants, and each of them, as well as third
           20
                  party perpetrators to perpetrate further market manipulation in violation of applicable laws.
           21
                  Moreover, Defendants, and each of them, used the hereinabove alleged price manipulation
           22
                  schemes, including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation
           23
                  cascades to launder funds between different exchange accounts controlled by Defendants or third
           24
                  persons.
           25
                         293.       As a further example, the effective transmissions of the winnings from market
           26
                  manipulation from the first helper account on BitStamp, Kraken or Coinbase Pro to the second
           27
                  winner account on BitMEX perpetrated by Defendants as described herein constitutes money
           28
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             1
                  laundering in violation of 18 U.S.C. § 1956(a).
             2
                         294.       As yet further example, a substantial portion of the bitcoin-denominated proceeds
             3
                  of market manipulation, money laundering, operating of unlicensed money transmitting business
             4
                  and multitude of various other nefarious acts taking place on the BitMEX platform as alleged in
             5
                  this Complaint, were subsequently converted, by all Defendants, through the Defendant Unknown
             6
                  Exchange, into various fiat currencies, including United States dollars and Hong Kong dollars.
             7
                  All Defendants knew that these financial transactions were designed in whole or in part to conceal
             8
                  or disguise the nature, the location, the source, the ownership, or the control of the proceeds of the
             9
                  specified unlawful activity, namely cryptocurrency market manipulation, money laundering,
           10
                  operating unlicensed money transmitting business and multitude of various other nefarious acts
           11
                  taking place on the BitMEX platform as alleged in this Complaint.
           12
                         295.        As yet further example, a substantial portion of the bitcoin-denominated proceeds
           13
                  of market manipulation, money laundering and multitude of various other nefarious acts taking
           14
                  place on the BitMEX platform were subsequently converted, by Defendants Reed, Agata Reed,
           15
                  Barbara Reed and Trace Reed, into multiple real estate investments that they set up in Wisconsin
           16
                  and Massachusetts. For this purpose, the aforesaid Defendants employed fraudulent nominee
           17
                  shell companies Defendant Grape Park and Defendant Mark Sweep to disguise or conceal the true
           18
                  illegal nature of the funds used to acquire the corresponding real estate properties and the
           19
                  acquired real estate’s true ownership or control. All Defendants knew that the aforesaid financial
           20
                  transactions were designed in whole or in part to conceal or disguise the nature, the location, the
           21
                  source, the ownership, or the control of the proceeds of the specified unlawful activity, namely
           22
                  cryptocurrency market manipulation, money laundering, operating unlicensed money transmitting
           23
                  business and multitude of various other nefarious acts taking place on the BitMEX platform as
           24
                  alleged in this Complaint. All Defendants also knew the tainted nature of the funds in the
           25
                  Defendants’ general account (bitcoin wallet), from which the multiple real estate purchases
           26
                  alleged in this Complaint were ultimately funded.
           27
                         296.       Therefore, Defendants, and each of them, while being employed in or associated
           28
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             1
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
             2
                  § 1956, which further constitute the predicate acts of the Defendants’, and each of them,
             3
                  racketeering activity.
             4
                         297.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
             5
                  alleged herein, namely money laundering in violation of 18 U.S.C. § 1956, are related by having
             6
                  the same or similar purposes of manipulating cryptocurrency markets, generating illicit income,
             7
                  and concealing illegal activities from authorities, results, Defendants – participants, victims,
             8
                  methods of commission or are otherwise interrelated by distinguishing characteristics.
             9
                         298.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           10
                  alleged herein, namely money laundering in violation of 18 U.S.C. § 1956, are continuous as they
           11
                  constitute an open-ended scheme, which poses a threat of continuity through the long duration of
           12
                  the alleged misconduct, namely two years, and the threat of continuing criminal conduct, as the
           13
                  alleged criminal conduct perpetrated by Defendants is still ongoing.
           14
                         299.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants’,
           15
                  and each of them, alleged price manipulation schemes, including, without limitation, pumps and
           16
                  dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
           17
                  them, to launder funds between different exchange accounts controlled by Defendants or third
           18
                  persons in violation of 18 U.S.C. § 1956, directly and proximately resulted in substantial
           19
                  monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged hereinbelow.
           20
                         300.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           21
                  each of them, used at least a portion of the proceeds derived from their money laundering
           22
                  operation in violation of 18 U.S.C. § 1956 to manipulate spot and derivative markets of
           23
                  cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           24
                  monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged herein.
           25
                                 DEFENDANTS ENGAGED IN MONETARY TRANSACTIONS IN
           26                       PROPERTY DERIVED FROM SPECIFIED UNLAWFUL
           27                          ACTIVITY IN VIOLATION OF 18 U.S.C. § 1957
                         301.       Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-300 above
           28
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             1
                  as if fully set forth herein.
             2
                          302.      18 U.S.C. § 1957 provides that “(a) Whoever, in any of the circumstances set forth
             3
                  in subsection (d), knowingly engages or attempts to engage in a monetary transaction in
             4
                  criminally derived property of a value greater than $10,000 and is derived from specified
             5
                  unlawful activity, shall be punished as provided in subsection (b).”
             6
                          303.      Pursuant to 18 USC § 1957(f)(3), the terms “specified unlawful activity” and
             7
                  “proceeds” shall have the meaning given those terms in 18 U.S.C. § 1956.
             8
                          304.      Plaintiff Dolgov is informed and believes and thereon alleges that, during the
             9
                  Relevant Period, Defendants, and each of them, willfully and knowingly attempted to engage and
           10
                  engaged in monetary transactions affecting interstate commerce and foreign commerce, which
           11
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
           12
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           13
                  violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
           14
                  unlawful cryptocurrency market manipulation, as alleged hereinbelow.
           15
                          305.      Defendants, and each of them, willfully and knowingly did conduct and continue
           16
                  to conduct financial transactions affecting interstate commerce and foreign commerce, which
           17
                  transactions involved the proceeds of specified unlawful activity, that in, operation of an
           18
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           19
                  violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
           20
                  unlawful cryptocurrency market manipulation, as alleged herein.
           21
                          306.      For example, Defendants, and each of them, transferred, on a regular basis,
           22
                  proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           23
                  as illegal bitcoin Perpetual Swap contracts price manipulation from BitMEX cryptocurrency
           24
                  exchange to other cryptocurrency exchanges, including, without limitation, Coinbase Pro,
           25
                  BitStamp and Kraken, with intent to employ those transferred proceeds in further unlawful
           26
                  activity. Those proceeds were in fact subsequently used by Defendants, and each of them, as well
           27
                  as third party perpetrators, to perpetrate further market manipulation in violation of applicable
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 116 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                  laws. Moreover, Defendants, and each of them, used the hereinabove alleged price manipulation
             2
                  schemes, including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation
             3
                  cascades to launder funds between different exchange accounts controlled by Defendants or third
             4
                  persons.
             5
                         307.       As a further example, the effective transmissions of the winnings from market
             6
                  manipulation from the first helper account to the second winner account perpetrated by
             7
                  Defendants on behalf of themselves and/or on behalf of other BitMEX users as described herein,
             8
                  with full knowledge of the nature and purpose of the funds involved in the transfer, constitutes
             9
                  violation of 18 U.S.C. § 1957. The Defendants were fully aware of the nature of the transferred
           10
                  funds and that such funds were the proceeds of specified unlawful activity within the meaning of
           11
                  18 U.S.C. § 1956.
           12
                         308.       As yet further example, Defendants, and each of them, knowingly converted
           13
                  through multiple monetary transactions, in interstate or foreign commerce, during the Relevant
           14
                  Period, on a daily basis, including during each of the specific Manipulation Times alleged in
           15
                  Paragraph 353 below, proceeds of the alleged illegal bitcoin Perpetual Swap contracts price
           16
                  manipulation, money laundering, operating unlicensed money transmitting business and other
           17
                  nefarious acts alleged in this Complaint, that took place on the BitMEX platform, into various fiat
           18
                  currencies.
           19
                         309.       Moreover, Defendants, and each of them, knowingly converted through multiple
           20
                  monetary transactions, in interstate or foreign commerce, during the Relevant Period, on or about
           21
                  July 8, 2019 and August 19, 2019, at least $2,325,000 of the fiat currency converted proceeds of
           22
                  the alleged illegal bitcoin Perpetual Swap contracts price manipulation, money laundering,
           23
                  operating unlicensed money transmitting business and other nefarious acts alleged in this
           24
                  Complaint into real estate investments in the United States, including, without limitations
           25
                  properties located in Lake Tomahawk, WI 54539 and Norwell, MA 02061, Ex. 12, 13. The
           26
                  specific purpose of the financial transactions alleged herein was to launder those funds through a
           27
                  real estate investment scheme and conceal their true illegal origin as well as ownership and
           28
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             1
                  control.
             2
                         310.        Therefore, Defendants, and each of them, while being employed in or associated
             3
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
             4
                  § 1957, which further constitute the predicate acts of the Defendants’, and each of them,
             5
                  racketeering activity.
             6
                         311.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
             7
                  alleged herein, namely engaging in monetary transactions in property derived from specified
             8
                  unlawful activity in violation of 18 U.S.C. § 1957, are related by having the same or similar
             9
                  purposes of manipulating cryptocurrency markets, generating illicit income, and concealing
           10
                  illegal activities from authorities, results, Defendants – participants, victims, methods of
           11
                  commission or are otherwise interrelated by distinguishing characteristics.
           12
                         312.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           13
                  alleged herein, namely engaging in monetary transactions in property derived from specified
           14
                  unlawful activity in violation of 18 U.S.C. § 1957, are continuous as they constitute an open-
           15
                  ended scheme, which poses a threat of continuity through the long duration of the alleged
           16
                  misconduct, namely two years, and the threat of continuing criminal conduct, as the alleged
           17
                  criminal conduct perpetrated by Defendants, and each of them, is still ongoing.
           18
                         313.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants’,
           19
                  and each of them, alleged price manipulation schemes, including, without limitation, pumps and
           20
                  dumps, Barts, stop loss hunts and liquidation cascades perpetrated by Defendants, and each of
           21
                  them, to transfer funds derived from specified unlawful activity between different exchange
           22
                  accounts controlled by Defendants or third persons in violation of 18 U.S.C. § 1957, directly and
           23
                  proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiff Dolgov as
           24
                  alleged hereinbelow.
           25
                         314.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           26
                  each of them, used at least a portion of the proceeds from their transactions in property derived
           27
                  from specified unlawful activity in violation of 18 U.S.C. § 1957 to manipulate spot and
           28
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             1
                  derivative markets of cryptocurrencies, as alleged herein, which directly and proximately resulted
             2
                  in the substantial monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged herein.
             3
                                                 DEFENDANTS ENGAGED IN WIRE FRAUD
             4                                      IN VIOLATION OF 18 U.S.C. § 1343
             5            315.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-314 above

             6    as if fully set forth herein.

             7            316.      18 U.S.C. § 1343 provides that “[w]hoever, having devised or intending to devise

             8    any scheme or artifice to defraud, or for obtaining money or property by means of false or

             9    fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by means

           10     of wire, radio, or television communication in interstate or foreign commerce, any writings, signs,

           11     signals, pictures, or sounds for the purpose of executing such scheme or artifice, shall be fined

           12     under this title or imprisoned not more than 20 years, or both...”

           13             317.      Plaintiff Dolgov is informed and believes and thereon alleges that during the

           14     Relevant Period, Defendants, and each of them, devised a scheme or artifice to defraud, namely a

           15     manipulative, fraudulent and deceptive scheme to manipulate the prices of certain cryptocurrency

           16     derivatives, including, without limitation, bitcoin Perpetual Swap contracts, bitcoin swaps, as well

           17     as the cash prices of cryptocurrencies, including, without limitation, cash bitcoin and to obtain

           18     money of other traders by way of injecting false information into markets in order to induce other

           19     traders to open highly leveraged positions on BitMEX and then cause their artificial liquidation in

           20     violation of 7 U.S.C. §§ 9(1), (3) and 13(a)(2). This scheme was devised and intended to

           21     fraudulently benefit Defendants at the expense of retail traders by inducing artificial market price

           22     moves and using such price moves to force liquidations of traders’ positions on the BitMEX

           23     platform, while simultaneously deliberately freezing BitMEX’s platform to impede retail traders’

           24     efforts to salvage their funds. The funds forcibly confiscated from traders as the result of the

           25     liquidations were deposited into the Insurance Fund maintained by Defendants.

           26             318.      Plaintiff Dolgov is informed and believes and thereon alleges that, during the

           27     Relevant Period, Defendants, and each of them, used wire signals to transmit various electronic

           28     orders to multiple cryptocurrency exchanges for the specific purpose of misleading traders and
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             1
                  investors as to the cryptocurrency market’s natural forces of supply and demand and for
             2
                  manipulating prices of spot cryptocurrencies and cryptocurrency derivatives. Those actions
             3
                  further constitute wire fraud in violation of 18 U.S.C. § 1343.
             4
                         319.       Plaintiff Dolgov is informed and believes and thereon alleges that the alleged
             5
                  fraudulent electronic wire transmissions were performed by Defendants on a daily basis,
             6
                  including during each of the specific Manipulation Times alleged in Paragraph 353 below, during
             7
                  the Relevant Period and were carried out from Defendants’ offices located in San Francisco,
             8
                  California and Milwaukee, Wisconsin, and to respective computer servers of Amazon EKS as
             9
                  well as computer serves of multiple other United States based cryptocurrency exchanges that
           10
                  Defendants used to perpetrate their manipulative and fraudulent scheme alleged hereinabove.
           11
                  Plaintiff Dolgov is informed and believes and thereon alleges that each of Defendants HDR,
           12
                  ABS, Hayes, Delo and Reed issued the alleged fraudulent electronic wire transmissions on a daily
           13
                  basis during the Relevant Period, including during each of the specific Manipulation Times
           14
                  alleged in Paragraph 353 below.
           15
                         320.       Plaintiff Dolgov is informed and believes and thereon alleges that the alleged wire
           16
                  transmissions contained, without limitation, electronic orders designed to inject false and
           17
                  misleading information about genuine supply and demand for bitcoin or bitcoin derivatives into
           18
                  the markets and to deceive other participants in the market into believing something untrue,
           19
                  namely that the visible order book accurately reflected market-based forces of supply and
           20
                  demand. These alleged wire transmissions were an illegitimate part of the supply-demand
           21
                  equation, prevented true price discovery, and caused artificial pricing in the cryptocurrency
           22
                  market. The false and misleading information injected by Defendants into the markets was
           23
                  intended to trick other market participants into reacting to an apparent change and imbalance of
           24
                  supply and demand by buying and selling bitcoin Perpetual Swap or spot bitcoin at times, prices
           25
                  and quantities that they otherwise would likely not have traded. Moreover, the alleged wire
           26
                  transmissions further contained, without limitation, electronic orders designed to induce artificial
           27
                  price moves in the cryptocurrency markets in order to force liquidations of traders’ positions on
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 120 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                  the BitMEX exchange for the benefit of Defendants’ Insurance Fund. In addition, the electronic
             2
                  wire transmissions included Defendants’ electronic commands to deliberately freeze servers of
             3
                  the BitMEX platform and Defendants’ electronic commands to generate the fraudulent system
             4
                  overload messages alleged hereinabove. Finally, the electronic wire transmissions included
             5
                  Defendants’ fraudulent transmissions regarding the fake hardware failure in BitMEX’s servers as
             6
                  well as the fake distributed denial-of-service attack (DDoS attack), which took place on or about
             7
                  March 13, 2020.
             8
                         321.       Plaintiff Dolgov is informed and believes and thereon alleges that pumps and
             9
                  dumps, Barts, liquidation cascades and spoofing alleged hereinabove are specific examples of the
           10
                  conduct that was specifically designed by Defendants, and each of them, to mislead Plaintiff
           11
                  Dolgov as well as other traders on the cryptocurrencies market.
           12
                         322.       Plaintiff Dolgov as well as other traders were in fact mislead by Defendants’, and
           13
                  each of them, manipulative and fraudulent acts intended to mislead and defraud, including,
           14
                  without limitation, by pumps and dumps, Barts and spoofing perpetrated by Defendants, and each
           15
                  of them, and placed orders that they would not have otherwise placed.
           16
                         323.       Plaintiff Dolgov, at the time of the alleged manipulative and fraudulent acts
           17
                  intended to mislead and defraud, which were perpetrated by Defendants, and each of them, and at
           18
                  the time Plaintiff Dolgov took the trades herein alleged, was ignorant of the manipulative and
           19
                  fraudulent nature of conduct of the Defendants, and each of them, and believed that the apparent
           20
                  market conditions were in fact dictated by market forces of supply and demand and not the result
           21
                  of false information being injected into the markets by Defendants.
           22
                         324.       Plaintiff Dolgov, at the time the alleged manipulative and fraudulent acts intended
           23
                  to mislead and defraud were made by Defendants, and each of them, and at the time Plaintiff
           24
                  Dolgov took the actions herein alleged, was ignorant of secret intentions of Defendants, and each
           25
                  of them, to mislead and defraud Plaintiff Dolgov and other traders and Plaintiff Dolgov could not,
           26
                  in the exercise of reasonable diligence, have discovered the secret intentions of Defendants, and
           27
                  each of them.
           28
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  ATTORNEYS             COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 121 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                         325.       Had Plaintiff Dolgov known the actual facts, Plaintiff Dolgov would not have
             2
                  taken such alleged actions.
             3
                         326.       If Plaintiff Dolgov had known of the actual intention of Defendants, and each of
             4
                  them, Plaintiff Dolgov would not have taken the alleged trades. Plaintiff Dolgov’s reliance on
             5
                  fraudulent and manipulative conduct of Defendants, and each of them, was justified because
             6
                  Plaintiff Dolgov rightfully assumed that the market conditions of spot bitcoin and bitcoin
             7
                  derivatives markets were due to the actual market forces of supply and demand.
             8
                         327.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
             9
                  alleged herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are related by
           10
                  having the same or similar purposes of manipulating cryptocurrency markets, generating illicit
           11
                  income, and concealing illegal activities from authorities, results, Defendants – participants,
           12
                  victims, methods of commission or are otherwise interrelated by distinguishing characteristics.
           13
                         328.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           14
                  alleged herein, namely engaging in wire fraud in violation of 18 U.S.C. § 1343, are continuous as
           15
                  they constitute an open-ended scheme, which poses a threat of continuity through the long
           16
                  duration of the alleged misconduct, namely two years, and the threat of continuing criminal
           17
                  conduct, as the alleged criminal conduct perpetrated by Defendants is still ongoing.
           18
                         329.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants’
           19
                  hereinabove alleged use of the electronic wire signals to defraud Plaintiff Dolgov as well as other
           20
                  market participants in violation of 18 U.S.C. § 1343 directly and proximately resulted in the
           21
                  substantial monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged hereinbelow.
           22
                         330.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           23
                  each of them, used at least a portion of the proceeds derived from wire fraud in violation of 18
           24
                  U.S.C. § 1343 to manipulate spot and derivative markets of cryptocurrencies, as alleged herein,
           25
                  which directly and proximately resulted in the substantial monetary cryptocurrency trading losses
           26
                  to Plaintiff Dolgov as alleged herein.
           27
           28
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             1        DEFENDANTS ENGAGED IN INTERSTATE TRANSPORTATION OF STOLEN
                              FUNDS IN VIOLATION OF THE NATIONAL STOLEN
             2                        PROPERTY ACT 18 U.S.C. § 2314
             3            331.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-330 above
             4    as if fully set forth herein.
             5            332.      18 U.S.C. § 2314 provides that “[w]hoever transports, transmits, or transfers in
             6    interstate or foreign commerce any goods, wares, merchandise, securities or money, of the value
             7    of $5,000 or more, knowing the same to have been stolen, converted or taken by fraud … [s]hall
             8    be fined under this title or imprisoned not more than ten years, or both.”
             9            333.      Plaintiff Dolgov is informed and believes and thereon alleges that, during the
           10     Relevant Period, Defendants, and each of them, willfully and knowingly transmitted and
           11     transferred in interstate or foreign commerce cryptocurrency, including, without limitation,
           12     bitcoin and stablecoins, knowing that the transferred cryptocurrency was converted or taken by
           13     fraud from Plaintiff Dolgov as well as other cryptocurrency traders as the result of fraudulent
           14     market manipulation as alleged hereinabove.
           15             334.      Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           16     each of them, knowingly transferred and transmitted, in interstate or foreign commerce, during
           17     the Relevant Period, on a daily basis, including during each of the specific Manipulation Times
           18     alleged in Paragraph 353 below, proceeds of the alleged illegal bitcoin Perpetual Swap contracts
           19     price manipulation from manipulation winner accounts as well as other accounts on BitMEX
           20     cryptocurrency exchange to accounts on other cryptocurrency exchanges, including, without
           21     limitation, Coinbase Pro, BitStamp and Kraken, as well as cryptocurrency off-ramp exchanges
           22     and OTC trading desks for subsequent conversion of the ill-gotten bitcoins into fiat currencies,
           23     including United States dollars and Hong Kong dollars. Moreover, Defendants, and each of
           24     them, knowingly transferred and transmitted, in interstate or foreign commerce, on or about July
           25     9, 2019, at least $900,000 of the fiat currency converted proceeds of the alleged illegal bitcoin
           26     Perpetual Swap contracts price manipulation from Defendant Unknown Exchange to Vilas Title
           27     Service Inc., 133 E Division St, Eagle River, WI 54521, United States. Furthermore, Defendants,
           28
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             1
                  and each of them, transferred and transmitted, in interstate or foreign commerce, on or about
             2
                  August 16, 2019, at least $1,425,000 of the fiat currency converted proceeds of the alleged illegal
             3
                  bitcoin Perpetual Swap contracts price manipulation from Defendant Unknown Exchange to
             4
                  Ligris + Associates, 399 Boylston St f7, Boston, MA 02116, United States. The specific purpose
             5
                  of the transfers of funds alleged herein was to launder those funds through a real estate
             6
                  investment scheme and conceal their true illegal origin as well as ownership and control.
             7
                         335.       Coinbase Pro and Kraken are located in California, while BitStamp is located in
             8
                  New York City, New York. The transferred proceeds were converted or taken by fraud by
             9
                  Defendants from Plaintiff Dolgov as well as other cryptocurrency traders as the result of the
           10
                  fraudulent market manipulation as alleged hereinabove. The Defendants were fully aware of the
           11
                  true nature of the transferred proceeds.
           12
                         336.       For example, the effective transmissions of the winnings from market
           13
                  manipulation from the first helper account to the second winner account perpetrated by
           14
                  Defendants as described herein constitutes a violation of 18 U.S.C. § 2314. The Defendants were
           15
                  fully aware of the nature of the transferred funds and that such funds were taken by fraud from
           16
                  Plaintiff Dolgov as well as other cryptocurrency traders.
           17
                         337.       Therefore, Defendants, and each of them, while being employed in or associated
           18
                  with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           19
                  § 2314, which further constitute the predicate acts of the Defendants’, and each of them,
           20
                  racketeering activity.
           21
                         338.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           22
                  alleged herein, namely engaging in interstate transportation of stolen funds in violation of 18
           23
                  U.S.C. § 2314, are related by having the same or similar purposes of manipulating cryptocurrency
           24
                  markets, generating illicit income and concealing illegal activities from authorities, results,
           25
                  Defendants – participants, victims, methods of commission or are otherwise interrelated by
           26
                  distinguishing characteristics.
           27
                         339.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           28
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             1
                  alleged herein, namely engaging in interstate transportation of stolen funds in violation of 18
             2
                  U.S.C. § 2314, are continuous as they constitute an open-ended scheme, which poses a threat of
             3
                  continuity through the long duration of the alleged misconduct, namely two years, and the threat
             4
                  of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants is still
             5
                  ongoing.
             6
                          340.      Plaintiff Dolgov is informed and believes and thereon alleges that Defendants’,
             7
                  and each of them, alleged transfer of proceeds of the alleged illegal bitcoin Perpetual Swap
             8
                  contracts price manipulation from BitMEX cryptocurrency exchange to other cryptocurrency
             9
                  exchanges, including, without limitation, Coinbase Pro, BitStamp and Kraken, in violation of 18
           10
                  U.S.C. § 2314, enabling Defendants, and each of them, to engage in further market manipulation,
           11
                  directly and proximately resulted in substantial monetary cryptocurrency trading losses to
           12
                  Plaintiff Dolgov as alleged hereinbelow.
           13
                          341.      Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           14
                  each of them, used at least a portion of the proceeds derived from the interstate transportation of
           15
                  stolen funds in violation of 18 U.S.C. § 2314 to manipulate spot and derivative markets of
           16
                  cryptocurrencies, as alleged herein, which directly and proximately resulted in the substantial
           17
                  monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged herein.
           18
                         DEFENDANTS ENGAGED IN INTERSTATE AND FOREIGN TRAVEL OR
           19              TRANSPORTATION IN AID OF RACKETEERING ENTERPRISE IN
           20                          VIOLATION OF 18 U.S.C. § 1952
                          342.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-341 above
           21
                  as if fully set forth herein.
           22
                          343.      18 U.S.C. § 1952 provides that “[w]hoever travels in interstate or foreign
           23
                  commerce or uses the mail or any facility in interstate or foreign commerce, with intent to (1)
           24
                  distribute the proceeds of any unlawful activity; … or (3) otherwise promote, manage, establish,
           25
                  carry on, or facilitate the promotion, management, establishment, or carrying on, of any unlawful
           26
                  activity, and thereafter performs or attempts to perform—(A) an act described in paragraph (1) or
           27
                  (3) shall be fined under this title, imprisoned not more than 5 years, or both.”
           28
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             1
                         344.       Plaintiff Dolgov is informed and believes and thereon alleges that, during the
             2
                  Relevant Period, Defendants Hayes, Delo and Reed, and each of them, willfully and knowingly
             3
                  traveled between Hong Kong, United States and Seychelles with intent to distribute the proceeds
             4
                  of an unlawful activity, namely market manipulation in violation of CEA, money laundering,
             5
                  operating unlicensed money transmitting business as well as numerous other nefarious acts that
             6
                  took place on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Hayes,
             7
                  Delo and Reed violated 18 U.S.C. § 1952.
             8
                         345.       Plaintiff Dolgov is informed and believes and thereon alleges that, during the
             9
                  Relevant Period, Defendants Hayes, Delo and Reed, and each of them, willfully and knowingly
           10
                  traveled between Hong Kong, United States and Seychelles with intent to promote, manage,
           11
                  establish, carry on, or facilitate the promotion, management, establishment, or carrying on, of
           12
                  unlawful activity namely market manipulation in violation of CEA, money laundering, operating
           13
                  unlicensed money transmitting business as well as numerous other nefarious acts that took place
           14
                  on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Hayes, Delo and
           15
                  Reed violated 18 U.S.C. § 1952.
           16
                         346.       Plaintiff Dolgov is informed and believes and thereon alleges that, during the
           17
                  Relevant Period, Defendants Reed and Agata Reed, and each of them, willfully and knowingly
           18
                  traveled between Wisconsin and Massachusetts with intent to distribute and reinvest in United
           19
                  States real estate property situated in Norwell, MA 02061 at least $1,425,000 of the proceeds of
           20
                  an unlawful activity, namely market manipulation in violation of CEA, money laundering,
           21
                  operating unlicensed money transmitting business as well as numerous other nefarious acts that
           22
                  took place on the BitMEX platform as alleged in this Complaint. Therefore, Defendants Reed
           23
                  and Agata Reed violated 18 U.S.C. § 1952.
           24
                         347.       Plaintiff Dolgov is informed and believes and thereon alleges that, during the
           25
                  Relevant Period, Defendants Reed and Agata Reed, and each of them, willfully and knowingly
           26
                  traveled between Wisconsin and Massachusetts with intent to promote, manage, establish, carry
           27
                  on, or facilitate the promotion, management, establishment, or carrying on, of unlawful activity
           28
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             1
                  namely market manipulation in violation of CEA, money laundering, operating unlicensed money
             2
                  transmitting business as well as numerous other nefarious acts that took place on the BitMEX
             3
                  platform as alleged in this Complaint. Therefore, Defendants Reed and Agata Reed violated 18
             4
                  U.S.C. § 1952.
             5
                         348.       Therefore, Defendants Hayes, Delo, Reed and Agata Reed, and each of them,
             6
                  while being employed in or associated with the continuing Enterprise as alleged above,
             7
                  committed multiple acts that violated 18 U.S.C. § 1952, which further constitute the predicate acts
             8
                  of the Defendants Hayes, Delo, Reed and Agata Reed, and each of them, racketeering activity.
             9
                         349.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           10
                  alleged herein, namely engaging in interstate and foreign travel or transportation in aid of
           11
                  racketeering enterprise in violation of 18 U.S.C. § 1952, are related by having the same or similar
           12
                  purposes of manipulating cryptocurrency markets, generating illicit income and concealing illegal
           13
                  activities from authorities, results, Defendants – participants, victims, methods of commission or
           14
                  are otherwise interrelated by distinguishing characteristics.
           15
                         350.       Plaintiff Dolgov is informed and believes and thereon alleges that predicate acts
           16
                  alleged herein, namely engaging in interstate and foreign travel or transportation in aid of
           17
                  racketeering enterprise in violation of 18 U.S.C. § 1952, are continuous as they constitute an
           18
                  open-ended scheme, which poses a threat of continuity through the long duration of the alleged
           19
                  misconduct, namely two years, and the threat of continuing criminal conduct, as the alleged
           20
                  criminal conduct perpetrated by Defendants is still ongoing.
           21
                         351.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants’,
           22
                  and each of them, alleged interstate and foreign travel or transportation in aid of racketeering
           23
                  enterprise in violation of 18 U.S.C. § 1952, enabling Defendants, and each of them, to benefit
           24
                  from and continue the market manipulation in violation of CEA, money laundering, operating
           25
                  unlicensed money transmitting business as well as numerous other nefarious acts that took place
           26
                  on the BitMEX platform as alleged in this Complaint, directly and proximately resulted in
           27
                  substantial monetary cryptocurrency trading losses to Plaintiff Dolgov as alleged hereinbelow.
           28
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             1
                             SPECIFIC TIMES OF MARKET MANIPULATION BY DEFENDANTS
             2
                          352.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-351 above
             3
                  as if fully set forth herein.
             4
                          353.      Plaintiff Dolgov is informed and believes and thereon alleges that Defendants
             5
                  themselves manipulated cryptocurrency prices by using their own helper accounts on United
             6
                  States based cryptocurrency exchanges Kraken, Coinbase and BitStamp to place large market
             7
                  orders on those exchanges with maximum slippage to cause large artificial moves in the .BXBT
             8
                  and index price and .BETH index price on a daily basis, including, without limitation, the
             9
                  following specific manipulation times (“Manipulation Times”):
           10
           11
                                                            From                                                     To
           12
                  1.              7AM UTC on November 14, 2018                           12AM UTC on November 15, 2018
           13
                  2.              12AM UTC on November 19, 2018                          9AM UTC on November 20, 2018
           14
                  3.              4PM UTC on November 24, 2018                           11PM UTC on November 25, 2018
           15
                  4               6AM UTC on December 24, 2018                           12AM UTC on December 25, 2018
           16
                  5.              4AM UTC on January 10, 2019                            8PM UTC on January 10, 2020
           17
                  6.              12AM UTC on April 2, 2019                              12PM UTC on April 2, 2019
           18
                  7.              2AM UTC on May 17, 2019                                4AM UTC on May 17, 2019
           19
                  8.              7PM UTC on June 26, 2019                               12AM UTC on June 27, 2019
           20
                  9.              4AM UTC on July 14, 2019                               12AM UTC on July 15, 2019
           21
                  10.             4AM UTC on September 22, 2019                          4PM UTC on September 26, 2019
           22
                  11.             12AM UTC on November 18, 2019                          12AM UTC on November 20, 2019
           23
                  12.             4AM UTC on March 12, 2020                              4AM UTC on March 13, 2020
           24
                  13.             9PM UTC on July 27, 2020                               2AM UTC on July 28, 2020
           25
                  14.             12AM UTC on August 2, 2020                             6AM UTC on August 2, 2020
           26
           27             354.      Additional and other facts regarding Defendants’ market manipulation activities

           28     are hidden from Plaintiff at this time. Such information is uniquely within Defendants’
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             1
                  possession, custody and control. To date, Defendants provided absolutely no discovery to
             2
                  Plaintiff what so ever, despite being served with multiple discovery requests, which Defendants
             3
                  stonewalled. Plaintiff reserves the right to amend or supplement the above list of Manipulation
             4
                  Times after he receives discovery from Defendants.
             5
                      SPECIFIC LOCATIONS AND TIMES OF RICO OVERT ACTS OF DEFENDANTS
             6
                          355.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-354 above
             7
                  as if fully set forth herein.
             8
                          356.      RICO overt acts perpetrated by Defendants are described in the table below. All
             9
                  of those overt acts take place either on United States based cryptocurrency exchanges BitStamp,
           10
                  Coinbase Pro and Kraken or on BitMEX itself, which has the majority of cloud service providers,
           11
                  employees, engineering and software development team and the nerve center of operations in this
           12
                  District. The below table has been prepared based on information and belief of Plaintiff Dolgov:
           13
           14     RICO
                  Overt             RICO Conduct Involved                                          Place of Conduct
           15       Act
           16     1          Defendants transmitting electronic                  This District (BitMEX, having the majority of
                             wire signals to inject false                        cloud service providers, employees, engineering
           17                information as to market forces of                  and software development team and the nerve
                             supply and demand into                              center of operations in this District); BitStamp,
           18                cryptocurrency markets and                          Coinbase Pro and Kraken, all located in the
                             mislead traders to open unfavorable                 United States
           19
                             trading positions to be subsequently
           20                liquidated (e.g. first leg of a Bart,
                             see paragraphs 142-144, 153, 317-
           21                330)
                  Plaintiff entered into unfavorable trading      This District (BitMEX, having the majority of
           22     positions being mislead by false market         cloud service providers, employees, engineering
           23     forces information injected by Defendants       and software development team and the nerve
                                                                  center of operations in this District) and Kraken,
           24                                                     also located in this District
                  2         Defendants electronically             BitStamp, Coinbase Pro and Kraken, all located
           25               transferring (depositing) funds to be in the United States
                            used for manipulation into helper
           26               account(s)
           27     3         Defendants transmitting electronic    BitStamp, Coinbase Pro and Kraken, all located
                            wire signals to deliberately move     in the United States
           28               BitMEX’s .BXBT index price by
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             1               placing large market orders with
                             maximum slippage from the helper
             2               accounts on three illiquid
             3               exchanges used by BitMEX to
                             calculate its .BXBT index
             4    Liquidation cascade that resulted in some of                   This District (BitMEX, having the majority of
                  Plaintiff’s damages due to liquidation of                      cloud service providers, employees, engineering
             5    Plaintiff’s XBTUSD Swap positions takes                        and software development team and the nerve
                  place, directly and proximately caused by the                  center of operations in this District) and Kraken,
             6
                  deliberate .BXBT index price move                              also located in this District
             7    orchestrated by Defendants
                  4          Defendants transmitting electronic                  This District (BitMEX, having the majority of
             8               wire signals to capture multiplied                  cloud service providers, employees, engineering
                             (due to disparity in liquidity)                     and software development team and the nerve
             9               manipulation profits caused by the                  center of operations in this District)
           10                deliberate index price move using
                             winner account(s) on BitMEX
           11     5          Defendants transmitting electronic                  This District, where all three site reliability
                             wire signals to freeze BitMEX                       engineers of BitMEX, who were responsible for
           12                servers and accepting orders on                     the BitMEX trading platform uptime and who
                             only one side of the market to                      personally perpetrated the server freezes, were
           13                exacerbate the price moves during                   located
           14                manipulation times
                  6          Defendants electronically                           This District (BitMEX, having the majority of
           15                transferring (withdrawing) funds                    cloud service providers, employees, engineering
                             from winner account(s) into bitcoin                 and software development team and the nerve
           16                wallet                                              center of operations in this District)
                  7          Defendants transmitting electronic                  BitStamp, Coinbase Pro and Kraken, all located
           17
                             wire signals to convert proceeds of                 in the United States
           18                market manipulation into fiat (legal
                             tender) currencies
           19     8.         Defendant Reed reinvesting                          Wisconsin and Massachusetts
                             converted proceeds of market
           20                manipulation and money laundering
           21                into United States real estate.
                          357.      A summary of alleged RICO predicates perpetrated by Defendants is provided in
           22
                  the table below, which was prepared in accordance with information and belief of Plaintiff. All
           23
                  of those predicates also took place either on United States based cryptocurrency exchanges
           24
                  BitStamp, Coinbase Pro and Kraken and on BitMEX itself, which has the majority of cloud
           25
                  service providers, employees, engineering and software development team and the nerve center of
           26
                  operations in this District:
           27
           28
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             1    RICO Predicate      RICO                                                Place of Conduct
                                   Overt Acts
             2    18 U.S.C. § 1960 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
             3    Unlicensed       7                              providers, employees, engineering and software development
                  Money                                           team and the nerve center of operations in this District);
             4    Transmissions                                   BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States
             5    18 U.S.C. § 1956 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Money            7, 8                           providers, employees, engineering and software development
             6
                  Laundering                                      team and the nerve center of operations in this District);
             7                                                    BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States, Wisconsin and Massachusetts
             8    18 U.S.C. § 1957 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Money            7, 8                           providers, employees, engineering and software development
             9    Laundering                                      team and the nerve center of operations in this District);
           10                                                     BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                  States, Wisconsin and Massachusetts
           11     18 U.S.C. § 1343 1, 2, 3, 4, 5,                 This District (BitMEX, having the majority of cloud service
                  Wire Fraud       6, 7                           providers, employees, engineering and software development
           12                                                     team and the nerve center of operations in this District);
                                                                  BitStamp, Coinbase Pro and Kraken, all located in the United
           13                                                     States
           14     18 U.S.C. § 2314 2, 3, 4, 5, 6,                 This District (BitMEX, having the majority of cloud service
                  Transportation of 7                             providers, employees, engineering and software development
           15     Stolen Property                                 team and the nerve center of operations in this District);
                                                                  BitStamp, Coinbase Pro and Kraken, all located in the United
           16                                                     States
           17
           18            358.       Additional and other facts regarding Defendants’ RICO overt acts are hidden from
           19     Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody and
           20     control. To date, Defendants provided absolutely no discovery to Plaintiff what so ever, despite
           21     being served with multiple discovery requests, which Defendants stonewalled. Plaintiff
           22     accordingly reserves the right to supplement and amend these allegations of RICO overt acts, if
           23     appropriate or necessary, following completion of relevant fact discovery.
           24            359.       A summary of certain specific times of each of the alleged RICO predicates
           25     perpetrated by Defendants is provided in the table below. The below table has been prepared
           26     based on information and belief of Plaintiff Dolgov:
           27
                  RICO Predicate                RICO                 Defendants            Dates When Each RICO Predicate
           28
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             1                              Overt Acts              Involved in                   Occurred
                                                                  RICO Predicate
             2    18 U.S.C. § 1960 2, 3, 4, 5, 6,                 HDR, ABS,      a. 7AM UTC on November 14, 2018 to
                  Unlicensed       7                              Hayes, Delo,   12AM UTC on November 15, 2018;
             3                                                    Reed           b. 12AM UTC on November 19, 2018 to
                  Money
                                                                                 9AM UTC on November 20, 2018;
             4    Transmissions                                                  c. 4PM UTC on November 24, 2018 to
                                                                                 11PM UTC on November 25, 2018;
             5                                                                   d. 4AM UTC on December 24, 2018 to
                                                                                 12AM UTC on December 25, 2018;
             6                                                                   e. 4AM UTC on January 10, 2019 to 8PM
                                                                                 UTC on January 10, 2020;
             7                                                                   f. 12AM UTC on April 2, 2019 to 12PM
                                                                                 UTC on April 2, 2019;
             8                                                                   g. 2AM UTC on May 17, 2019 to 4AM
                                                                                 UTC on May 17, 2019;
             9                                                                   h. 7PM UTC on June 26, 2019 to 12AM
                                                                                 UTC on June 27, 2019;
           10                                                                    i. 4AM UTC on July 14, 2019 to 12AM
                                                                                 UTC on July 15, 2019;
           11                                                                    j. 4AM UTC on September 22, 2019 to
                                                                                 4PM UTC on September 26, 2019
           12                                                                    k. 12AM UTC on November 18, 2019 to
                                                                                 12AM UTC on November 20, 2019
           13                                                                    l. 4AM UTC on March 12, 2020 to 4AM
                                                                                 UTC on March 13, 2020;
           14                                                                    m. 9PM UTC on July 27, 2020 to 2AM
                                                                                 UTC on July 28, 2020; and
           15                                                                    n. 12AM UTC on August 2, 2020 to 6AM
                                                                                 UTC on August 2, 2020.
           16                                                     HDR, ABS,      a. 7AM UTC on November 14, 2018 to
                  18 U.S.C. § 1956 2, 3, 4, 5, 6,
                  Money            7, 8                           Hayes, Delo,   12AM UTC on November 15, 2018;
           17                                                     Reed, Grape    b. 12AM UTC on November 19, 2018 to
                  Laundering
                                                                  Park, Mark     9AM UTC on November 20, 2018;
           18                                                     Sweep          c. 4PM UTC on November 24, 2018 to
                                                                                 11PM UTC on November 25, 2018;
           19                                                                    d. 4AM UTC on December 24, 2018 to
                                                                                 12AM UTC on December 25, 2018;
           20                                                                    e. 4AM UTC on January 10, 2019 to 8PM
                                                                                 UTC on January 10, 2020;
           21                                                                    f. 12AM UTC on April 2, 2019 to 12PM
                                                                                 UTC on April 2, 2019;
           22                                                                    g. 2AM UTC on May 17, 2019 to 4AM
                                                                                 UTC on May 17, 2019;
           23                                                                    h. 7PM UTC on June 26, 2019 to 12AM
                                                                                 UTC on June 27, 2019;
           24                                                                    i. July 7, 2019;
                                                                                 j. 4AM UTC on July 14, 2019 to 12AM
           25                                                                    UTC on July 15, 2019;
                                                                                 k. 4AM UTC on September 22, 2019 to
           26                                                                    4PM UTC on September 26, 2019
                                                                                 l. 12AM UTC on November 18, 2019 to
           27                                                                    12AM UTC on November 20, 2019
                                                                                 m. 4AM UTC on March 12, 2020 to 4AM
           28
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             1                                                                           UTC on March 13, 2020;
                                                                                         n. 9PM UTC on July 27, 2020 to 2AM
             2                                                                           UTC on July 28, 2020; and
                                                                                         o. 12AM UTC on August 2, 2020 to 6AM
             3                                                                           UTC on August 2, 2020.
                  18 U.S.C. § 1957 2, 3, 4, 5, 6,                 HDR, ABS,              a. 7AM UTC on November 14, 2018 to
             4    Money            7, 8                           Hayes, Delo,           12AM UTC on November 15, 2018;
                  Laundering                                      Reed, Grape            b. 12AM UTC on November 19, 2018 to
             5                                                    Park, Mark             9AM UTC on November 20, 2018;
                                                                  Sweep                  c. 4PM UTC on November 24, 2018 to
             6                                                                           11PM UTC on November 25, 2018;
                                                                                         d. 4AM UTC on December 24, 2018 to
             7                                                                           12AM UTC on December 25, 2018;
                                                                                         e. 4AM UTC on January 10, 2019 to 8PM
             8                                                                           UTC on January 10, 2020;
                                                                                         f. 12AM UTC on April 2, 2019 to 12PM
             9                                                                           UTC on April 2, 2019;
                                                                                         g. 2AM UTC on May 17, 2019 to 4AM
           10                                                                            UTC on May 17, 2019;
                                                                                         h. 7PM UTC on June 26, 2019 to 12AM
           11                                                                            UTC on June 27, 2019;
                                                                                         i. July 7, 2019;
           12                                                                            j. 4AM UTC on July 14, 2019 to 12AM
                                                                                         UTC on July 15, 2019;
           13                                                                            k. 4AM UTC on September 22, 2019 to
                                                                                         4PM UTC on September 26, 2019
           14                                                                            l. 12AM UTC on November 18, 2019 to
                                                                                         12AM UTC on November 20, 2019
           15                                                                            m. 4AM UTC on March 12, 2020 to 4AM
                                                                                         UTC on March 13, 2020;
           16                                                                            n. 9PM UTC on July 27, 2020 to 2AM
                                                                                         UTC on July 28, 2020; and
           17                                                                            o. 12AM UTC on August 2, 2020 to 6AM
                                                                                         UTC on August 2, 2020.
           18     18 U.S.C. § 1343 1, 2, 3, 4, 5,                 HDR, ABS,              a. 7AM UTC on November 14, 2018 to
                  Wire Fraud       6, 7                           Hayes, Delo,           12AM UTC on November 15, 2018;
           19                                                     Reed                   b. 12AM UTC on November 19, 2018 to
                                                                                         9AM UTC on November 20, 2018;
           20                                                                            c. 4PM UTC on November 24, 2018 to
                                                                                         11PM UTC on November 25, 2018;
           21                                                                            d. 4AM UTC on December 24, 2018 to
                                                                                         12AM UTC on December 25, 2018;
           22                                                                            e. 4AM UTC on January 10, 2019 to 8PM
                                                                                         UTC on January 10, 2020;
           23                                                                            f. 12AM UTC on April 2, 2019 to 12PM
                                                                                         UTC on April 2, 2019;
           24                                                                            g. 2AM UTC on May 17, 2019 to 4AM
                                                                                         UTC on May 17, 2019;
           25                                                                            h. 7PM UTC on June 26, 2019 to 12AM
                                                                                         UTC on June 27, 2019;
           26                                                                            i. 4AM UTC on July 14, 2019 to 12AM
                                                                                         UTC on July 15, 2019;
           27                                                                            j. 4AM UTC on September 22, 2019 to
                                                                                         4PM UTC on September 26, 2019
           28                                                                            k. 12AM UTC on November 18, 2019 to
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             1                                                                           12AM UTC on November 20, 2019
                                                                                         l. 4AM UTC on March 12, 2020 to 4AM
             2                                                                           UTC on March 13, 2020;
                                                                                         m. 9PM UTC on July 27, 2020 to 2AM
             3                                                                           UTC on July 28, 2020; and
                                                                                         n. 12AM UTC on August 2, 2020 to 6AM
             4                                                                           UTC on August 2, 2020.
                  18 U.S.C. § 2314 2, 3, 4, 5, 6,                 HDR, ABS,              a. 7AM UTC on November 14, 2018 to
             5    Transportation of 7                             Hayes, Delo,           12AM UTC on November 15, 2018;
                  Stolen Property                                 Reed                   b. 12AM UTC on November 19, 2018 to
             6                                                                           9AM UTC on November 20, 2018;
                                                                                         c. 4PM UTC on November 24, 2018 to
             7                                                                           11PM UTC on November 25, 2018;
                                                                                         d. 4AM UTC on December 24, 2018 to
             8                                                                           12AM UTC on December 25, 2018;
                                                                                         e. 4AM UTC on January 10, 2019 to 8PM
             9                                                                           UTC on January 10, 2020;
                                                                                         f. 12AM UTC on April 2, 2019 to 12PM
           10                                                                            UTC on April 2, 2019;
                                                                                         g. 2AM UTC on May 17, 2019 to 4AM
           11                                                                            UTC on May 17, 2019;
                                                                                         h. 7PM UTC on June 26, 2019 to 12AM
           12                                                                            UTC on June 27, 2019;
                                                                                         i. 4AM UTC on July 14, 2019 to 12AM
           13                                                                            UTC on July 15, 2019;
                                                                                         j. 4AM UTC on September 22, 2019 to
           14                                                                            4PM UTC on September 26, 2019
                                                                                         k. 12AM UTC on November 18, 2019 to
           15                                                                            12AM UTC on November 20, 2019
                                                                                         l. 4AM UTC on March 12, 2020 to 4AM
           16                                                                            UTC on March 13, 2020;
                                                                                         m. 9PM UTC on July 27, 2020 to 2AM
           17                                                                            UTC on July 28, 2020; and
                                                                                         n. 12AM UTC on August 2, 2020 to 6AM
           18                                                                            UTC on August 2, 2020.
           19            360.       Additional and other facts regarding Defendants’ RICO overt acts and their timing
           20     are hidden from Plaintiff at this time. Such information is uniquely within Defendants’
           21     possession, custody and control. To date, Defendants provided absolutely no discovery to
           22     Plaintiff what so ever, despite being served with multiple discovery requests, which Defendants
           23     stonewalled. Plaintiff accordingly reserves the right to supplement and amend these allegations
           24     of RICO overt acts and their timing, if appropriate or necessary, following completion of relevant
           25     fact discovery.
           26            361.       The individual roles of all Defendants with respect to RICO predicates are
           27     summarized in the below table, prepared according to information and belief of Plaintiff Dolgov:
           28
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             1

             2
                    Defendant                                                    Role of Defendant
             3
                                         Defendant HDR is a holding company. Despite being incorporated in the
             4
                                         Seychelles, Defendant HDR does not have, and never has had, any operations
             5
                                         or employees in the Seychelles. Defendant HDR operates, or has operated
             6
                                         during the Relevant Period, primarily from San Francisco office of Defendant
             7
                                         ABS and Milwaukee office of Defendant Reed. Defendant HDR was
             8
                  HDR                    responsible for, among other things, the planning of the operation of the
             9
                                         BitMEX platform to effectuate the market manipulation, including, without
           10
                                         limitation deliberate server freezes and fraudulent system overloads alleged
           11
                                         herein as well as effective transfers of market manipulation winnings from
           12
                                         helper accounts to winner accounts and performance of other illegal acts
           13
                                         conducted by the Enterprise.
           14
                                         Defendant ABS designs, develops, implements, operates and supports the
           15
                                         online derivatives trading platform BitMEX from within this District.
           16
                                         Defendant ABS was responsible for, among other things, day to day operations
           17
                                         of the BitMEX platform and effectuating the market manipulation, including,
           18
                  ABS                    without limitation deliberate server freezes and fraudulent system overloads
           19
                                         alleged herein as well as effective transfers of market manipulation winnings
           20
                                         from helper accounts to winner accounts and performance of other illegal acts
           21
                                         conducted by the Enterprise, as well as creating custom software programs and
           22
                                         scripts for performing market manipulation and implementing server freezes.
           23
                                         Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
           24
                                         or disguise the true source of funds used for acquiring the real estate properties
           25
                  Grape Park             and their true ownership and control. Defendant Reed dominates and controls
           26
                                         every aspect of business of Defendant Grape Park and funds its operations.
           27
                                         Defendant Grape Park is an alter ego of Defendant Reed.
           28
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             1
                                       Defendants Grape Park and Mark Sweep were used by the Enterprise to conceal
             2
                                       or disguise the true source of funds used for acquiring the real estate properties
             3
                  Mark Sweep           and their true ownership and control. Defendant Reed dominates and controls
             4
                                       every aspect of business of Defendant Mark Sweep and funds its operations.
             5
                                       Defendant Mark Sweep is an alter ego of Defendant Reed.
             6
                                       Defendant Unknown Exchange was responsible for knowingly, willfully and
             7
                                       deliberately laundering a substantial portion of the bitcoin-denominated
             8
                                       proceeds of market manipulation, money laundering, operating unlicensed
             9    Unknown
                                       money transmitting business and multitude of various other nefarious acts
           10     Exchange
                                       taking place on the BitMEX platform, by means of converting bitcoins into
           11
                                       various traditional (“fiat”) currencies, including United States dollars and Hong
           12
                                       Kong dollars.
           13
                                       Defendant Hayes was responsible for, among other things, conducting overall
           14
                                       planning, oversight and supervision of the affairs of the Enterprise and
           15
                                       coordination between the remaining co-conspirators, as well as controlling bank
           16
                                       accounts and financial flows within the Enterprise. In addition, Defendant
           17
                                       Hayes gave directions to other members of the Enterprise, occupied the top
           18
                                       position in the "chain of command" of the Enterprise through which the affairs
           19
                                       of the Enterprise are conducted and was indispensable to the achievement of the
           20
                  Hayes                Enterprise’s goals of maximizing profits and minimizing trading losses for the
           21
                                       Defendants, and each of them, and their co-conspirators, through unlawful
           22
                                       trading practices, including market manipulation, concealing trading gains
           23
                                       obtained through unlawful practices from regulatory and tax authorities using,
           24
                                       without limitation, money laundering, generating illicit income from unlicensed
           25
                                       money transmissions, promoting and enhancing the racketeering conspiracy and
           26
                                       the activities of the Defendants, and each of them, and their co-conspirators and
           27
                                       concealing the unlawful activities of the Defendants, and each of them, and
           28
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  ATTORNEYS           COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 136 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                                          their co-conspirators from scrutiny by cryptocurrency exchanges and law
             2
                                          enforcement.
             3
                                          Defendant Delo was responsible for performing liquidations of user positions to
             4
                                          rip the benefits of the market manipulation and other illegal acts conducted by
             5
                                          the Enterprise and depositing the liquidation proceeds into Insurance Fund. In
             6
                                          addition, Defendant Delo gave directions to other members and took directions
             7
                                          from Defendant Hayes, occupied a second position in the "chain of command"
             8
                                          through which the affairs of the Enterprise are conducted, knowingly and
             9
                                          eagerly implemented decisions of Defendant Hayes and was indispensable to
           10
                                          the achievement of the Enterprise’s goals of maximizing profits and minimizing
           11
                  Delo                    trading losses for the Defendants, and each of them, and their co-conspirators,
           12
                                          through unlawful trading practices, including market manipulation, concealing
           13
                                          trading gains obtained through unlawful practices from regulatory and tax
           14
                                          authorities using, without limitation, money laundering, generating illicit
           15
                                          income from unlicensed money transmissions, promoting and enhancing the
           16
                                          racketeering conspiracy and the activities of the Defendants, and each of them,
           17
                                          and their co-conspirators and concealing the unlawful activities of the
           18
                                          Defendants, and each of them, and their co-conspirators from scrutiny by
           19
                                          cryptocurrency exchanges and law enforcement.
           20
                                          Defendant Reed was responsible for, among other things, planning and
           21
                                          initiating the deliberate server freezes and fraudulent system overloads on
           22
                                          BitMEX as alleged herein as well as effective transfers of market manipulation
           23
                                          winnings from helper accounts on United States based exchanges Kraken,
           24     Reed
                                          Coinbase and BitStamp to winner accounts on BitMEX, by placing large
           25
                                          market orders on those exchanges with maximum slippage to cause large
           26
                                          artificial moves in the .BXBT and index price and .BETH index price on a daily
           27
                                          basis and performance of other illegal acts conducted by the Enterprise, by
           28
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  ATTORNEYS              COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 137 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                                        issuing electronic wire transmissions containing trading orders and other
             2
                                        computer system commands and writing, deploying and remotely executing
             3
                                        software scripts from his office located in Milwaukee, WI 53202. Defendant
             4
                                        Reed was further responsible for laundering a substantial portion of the tainted
             5
                                        proceeds of the illegal activities on the BitMEX platform from Defendants’
             6
                                        general account (bitcoin wallet) through a real estate investment scheme
             7
                                        involving multiple real estate properties in Wisconsin and Massachusetts, by
             8
                                        concealing the nature of the funds used in acquisition of said properties and the
             9
                                        true state of ownership and control thereof. In addition, Defendant Reed gave
           10
                                        directions to other members and took directions from Defendant Hayes,
           11
                                        occupied a third position in the "chain of command" through which the affairs
           12
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           13
                                        of Defendants Hayes and Delo and was indispensable to the achievement of the
           14
                                        Enterprise’s goals of maximizing profits and minimizing trading losses for the
           15
                                        Defendants, and each of them, and their co-conspirators, through unlawful
           16
                                        trading practices, including market manipulation, concealing trading gains
           17
                                        obtained through unlawful practices from regulatory and tax authorities using,
           18
                                        without limitation, money laundering, generating illicit income from unlicensed
           19
                                        money transmissions, promoting and enhancing the racketeering conspiracy and
           20
                                        the activities of the Defendants, and each of them, and their co-conspirators and
           21
                                        concealing the unlawful activities of the Defendants, and each of them, and
           22
                                        their co-conspirators from scrutiny by cryptocurrency exchanges and law
           23
                                        enforcement.
           24
                                        Defendant Agata Reed was responsible for laundering a substantial portion of
           25
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           26     Agata Reed
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           27
                                        scheme involving real estate properties in Massachusetts, by concealing the
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 138 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                                        nature of the funds used in acquisition of said properties and the true state of
             2
                                        ownership and control thereof. In addition, Defendant Agata Reed gave
             3
                                        directions to other members and took directions from Defendant Reed,
             4
                                        occupied a fourth position in the "chain of command" through which the affairs
             5
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
             6
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
             7
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
             8
                                        for the Defendants, and each of them, and their co-conspirators, through
             9
                                        unlawful trading practices, including market manipulation, concealing trading
           10
                                        gains obtained through unlawful practices from regulatory and tax authorities
           11
                                        using, without limitation, money laundering, generating illicit income from
           12
                                        unlicensed money transmissions, promoting and enhancing the racketeering
           13
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           14
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           15
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
           16
                                        and law enforcement.
           17
                                        Defendant Barbara Reed was responsible for laundering a substantial portion of
           18
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           19
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           20
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           21
                                        of the funds used in acquisition of said properties and the true state of
           22
                  Barbara Reed          ownership and control thereof.             In addition, Defendant Barbara Reed gave
           23
                                        directions to other members and took directions from Defendant Reed,
           24
                                        occupied a fifth position in the "chain of command" through which the affairs
           25
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           26
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           27
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 139 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                                        for the Defendants, and each of them, and their co-conspirators, through
             2
                                        unlawful trading practices, including market manipulation, concealing trading
             3
                                        gains obtained through unlawful practices from regulatory and tax authorities
             4
                                        using, without limitation, money laundering, generating illicit income from
             5
                                        unlicensed money transmissions, promoting and enhancing the racketeering
             6
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
             7
                                        conspirators and concealing the unlawful activities of the Defendants, and each
             8
                                        of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
             9
                                        and law enforcement.
           10
                                        Defendant Trace Reed was responsible for laundering a substantial portion of
           11
                                        the tainted proceeds of the illegal activities on the BitMEX platform from
           12
                                        Defendants’ general account (bitcoin wallet) through a real estate investment
           13
                                        scheme involving real estate properties in Wisconsin, by concealing the nature
           14
                                        of the funds used in acquisition of said properties and the true state of
           15
                                        ownership and control thereof. In addition, Defendant Trace Reed gave
           16
                                        directions to other members and took directions from Defendant Reed,
           17
                                        occupied a sixth position in the "chain of command" through which the affairs
           18
                                        of the Enterprise are conducted, knowingly and eagerly implemented decisions
           19     Trace Reed
                                        of Defendants Hayes, Delo and Reed and was indispensable to the achievement
           20
                                        of the Enterprise’s goals of maximizing profits and minimizing trading losses
           21
                                        for the Defendants, and each of them, and their co-conspirators, through
           22
                                        unlawful trading practices, including market manipulation, concealing trading
           23
                                        gains obtained through unlawful practices from regulatory and tax authorities
           24
                                        using, without limitation, money laundering, generating illicit income from
           25
                                        unlicensed money transmissions, promoting and enhancing the racketeering
           26
                                        conspiracy and the activities of the Defendants, and each of them, and their co-
           27
                                        conspirators and concealing the unlawful activities of the Defendants, and each
           28
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  ATTORNEYS            COMPL. FOR VIOLATION OF RICO (DEMAND FOR JURY TRIAL)   - 140 -   DOLGOV V. HDR ET AL.   CASE NO. 3:20-CV-7140
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             1
                                          of them, and their co-conspirators from scrutiny by cryptocurrency exchanges
             2
                                          and law enforcement.
             3
                          362.       Additional and other facts regarding Defendants’ roles in the Enterprise are hidden
             4
                  from Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody
             5
                  and control. To date, Defendants provided absolutely no discovery to Plaintiff what so ever,
             6
                  despite being served with multiple discovery requests, which Defendants stonewalled. Plaintiff
             7
                  accordingly reserves the right to supplement and amend these allegations of Defendants’ roles in
             8
                  the Enterprise, if appropriate or necessary, following completion of relevant fact discovery.
             9
                          363.       Certain specific electronic wire communications alleged herein are summarized in
           10
                  the following table, prepared based on Plaintiff Dolgov’s information and belief:
           11
           12
                  Type of            Date                    From                     To                       Content or Purpose of
           13     Comm.                                                                                          Communication

           14     Wire          11/14/2018           Hayes (New                 Delo (Hong             Directions and specific
                                                     York)                      Kong)                  instructions on which specific
           15                                                                                          orders to place, software scripts
           16                                                                                          to execute and computer
                                                                                                       commands to issue and how to
           17                                                                                          otherwise manipulate bitcoin
                                                                                                       market for the benefit of
           18                                                                                          Defendants.
           19     Wire          11/14/2018           Hayes (New                 Reed                   Directions and specific
                                                     York)                      (Wisconsin)            instructions on which specific
           20
                                                                                                       orders to place, software scripts
           21                                                                                          to execute and computer
                                                                                                       commands to issue and how to
           22                                                                                          otherwise manipulate bitcoin
                                                                                                       market for the benefit of
           23                                                                                          Defendants.
           24
                  Wire          11/14/2018           Reed                       BitMEX/ABS             Trading orders to inject false
           25                                        (Wisconsin)                (San Francisco)        information as to market forces of
                                                                                                       supply and demand into
           26                                                                                          cryptocurrency markets and
                                                                                                       mislead traders to open
           27                                                                                          unfavorable trading positions to
                                                                                                       be subsequently liquidated, see
           28
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             1                                                                                       paragraphs 142-144, 153, 317-
                                                                                                     330.
             2
             3    Wire          11/14/2018           Reed                       Kraken (San          Trading orders to inject false
                                                     (Wisconsin)                Francisco)           information as to market forces of
             4                                                                                       supply and demand into
                                                                                                     cryptocurrency markets and
             5                                                                                       mislead traders to open
                                                                                                     unfavorable trading positions to
             6                                                                                       be subsequently liquidated.
             7
                  Wire          11/14/2018           Reed                       Bitcoin Network      Instruction for electronically
             8                                       (Wisconsin)                (Cloud)              transferring (depositing) bitcoin
                                                                                                     funds to be used for manipulation
             9                                                                                       into a helper account on Kraken,
                                                                                                     see paragraphs 142-144, 153,
           10                                                                                        317-330.
           11
                  Wire          11/14/2018           Reed                       Kraken (San          Electronic computer instruction
           12                                        (Wisconsin)                Francisco)           to execute large market trading
                                                                                                     order o BTC/USD order book
           13                                                                                        from helper account with
                                                                                                     maximum slippage to deliberately
           14                                                                                        move BitMEX’s .BXBT index
                                                                                                     price.
           15
           16     Wire          11/14/2018           Reed                       BitMEX/ABS           Computer instruction to execute
                                                     (Wisconsin)                (San Francisco)      server freeze application to freeze
           17                                                                                        BitMEX servers and to initiate
                                                                                                     accepting orders on only one side
           18                                                                                        of the market to exacerbate the
                                                                                                     price move.
           19
           20     Wire          11/14/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to test and
                                                     Kong)                      (San Francisco)      prepare liquidation engine for
           21                                                                                        deployment and deploy
                                                                                                     liquidation engine to liquidate
           22                                                                                        trader accounts.
           23     Wire          11/14/2018           Reed                       BitMEX/ABS           Computer instruction to execute
           24                                        (Wisconsin)                (San Francisco)      orders to capture multiplied (due
                                                                                                     to disparity in liquidity)
           25                                                                                        manipulation profits caused by
                                                                                                     the deliberate .BXBT index price
           26                                                                                        move using winner account(s) on
                                                                                                     BitMEX.
           27
                  Wire          11/14/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to transfer
           28
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             1                                       Kong)                      (San Francisco)        trader liquidation proceeds from
                                                                                                       trader wallets into Insurance
             2                                                                                         Fund bitcoin wallet.
             3
                  Wire          11/14/2018           Reed                       BitMEX/ABS             Computer instruction to
             4                                       (Wisconsin)                (San Francisco)        electronically transfer (withdraw)
                                                                                                       funds from winner account(s)
             5                                                                                         into bitcoin wallet.
             6    Wire          11/14/2018           Hayes (New                 Bitcoin Network        Instruction for electronically
                                                     York)                      (Cloud)                transferring (depositing) bitcoin
             7
                                                                                                       funds from bitcoin wallet to
             8                                                                                         account on Coinbase exchange.

             9    Wire          11/14/2018           Hayes (New                 Coinbase (San          Trading orders to convert bitcoin
                                                     York)                      Francisco)             proceeds of market manipulation
           10                                                                                          into United States dollars.
           11     Wire          11/14/2018           Hayes (New                 Coinbase (San          Instruction for electronically
           12                                        York)                      Francisco)             transferring converted U.S. dollar
                                                                                                       proceeds of market manipulation
           13                                                                                          to bank accounts of HDR Global
                                                                                                       Trading Limited, ABS Global
           14                                                                                          Trading Limited, Hayes, Delo
                                                                                                       and Reed.
           15
           16     Wire          11/24/2018           Hayes (New                 Delo (Hong             Directions and specific
                                                     York)                      Kong)                  instructions on which specific
           17                                                                                          orders to place, software scripts
                                                                                                       to execute and computer
           18                                                                                          commands to issue and how to
                                                                                                       otherwise manipulate bitcoin
           19                                                                                          market for the benefit of
           20                                                                                          Defendants.

           21     Wire          11/24/2018           Hayes (New                 Reed                   Directions and specific
                                                     York)                      (Wisconsin)            instructions on which specific
           22                                                                                          orders to place, software scripts
                                                                                                       to execute and computer
           23                                                                                          commands to issue and how to
           24                                                                                          otherwise manipulate bitcoin
                                                                                                       market for the benefit of
           25                                                                                          Defendants.

           26     Wire          11/24/2018           Reed                       BitMEX/ABS             Trading orders to inject false
                                                     (Wisconsin)                (San Francisco)        information as to market forces of
           27                                                                                          supply and demand into
                                                                                                       cryptocurrency markets and
           28
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             1                                                                                       mislead traders to open
                                                                                                     unfavorable trading positions to
             2                                                                                       be subsequently liquidated, see
             3                                                                                       paragraphs 142-144, 153, 317-
                                                                                                     330.
             4
                  Wire          11/24/2018           Reed                       Kraken (San          Trading orders to inject false
             5                                       (Wisconsin)                Francisco)           information as to market forces of
                                                                                                     supply and demand into
             6                                                                                       cryptocurrency markets and
             7                                                                                       mislead traders to open
                                                                                                     unfavorable trading positions to
             8                                                                                       be subsequently liquidated, see
                                                                                                     paragraphs 142-144, 153, 317-
             9                                                                                       330.
           10     Wire          11/24/2018           Reed                       Bitcoin Network      Instruction for electronically
           11                                        (Wisconsin)                (Cloud)              transferring (depositing) bitcoin
                                                                                                     funds to be used for manipulation
           12                                                                                        into a helper account on Kraken.

           13     Wire          11/24/2018           Reed                       Kraken (San          Electronic computer instruction
                                                     (Wisconsin)                Francisco)           to execute large market trading
           14                                                                                        order o BTC/USD order book
                                                                                                     from helper account with
           15
                                                                                                     maximum slippage to deliberately
           16                                                                                        move BitMEX’s .BXBT index
                                                                                                     price.
           17
                  Wire          11/25/2018           Reed                       BitMEX/ABS           Computer instruction to execute
           18                                        (Wisconsin)                (San Francisco)      server freeze application to freeze
                                                                                                     BitMEX servers and to initiate
           19
                                                                                                     accepting orders on only one side
           20                                                                                        of the market to exacerbate the
                                                                                                     price move.
           21
                  Wire          11/25/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to test and
           22                                        Kong)                      (San Francisco)      prepare liquidation engine for
                                                                                                     deployment and deploy
           23                                                                                        liquidation engine to liquidate
           24                                                                                        trader accounts.

           25     Wire          11/25/2018           Reed                       BitMEX/ABS           Computer instruction to execute
                                                     (Wisconsin)                (San Francisco)      orders to capture multiplied (due
           26                                                                                        to disparity in liquidity)
                                                                                                     manipulation profits caused by
           27                                                                                        the deliberate .BXBT index price
           28                                                                                        move using winner account(s) on
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             1                                                                                       BitMEX.
             2    Wire          11/25/2018           Delo (Hong                 BitMEX/ABS           Computer instruction to transfer
             3                                       Kong)                      (San Francisco)      trader liquidation proceeds from
                                                                                                     trader wallets into Insurance
             4                                                                                       Fund bitcoin wallet.

             5    Wire          11/25/2018           Reed                       BitMEX/ABS           Computer instruction to
                                                     (Wisconsin)                (San Francisco)      electronically transfer (withdraw)
             6                                                                                       funds from winner account(s)
                                                                                                     into bitcoin wallet.
             7
             8    Wire          11/25/2018           Hayes (New                 Bitcoin Network      Instruction for electronically
                                                     York)                      (Cloud)              transferring (depositing) bitcoin
             9                                                                                       funds from bitcoin wallet to
                                                                                                     account on Coinbase exchange.
           10
                  Wire          11/25/2018           Hayes (New                 Coinbase (San        Trading orders to convert bitcoin
           11                                        York)                      Francisco)           proceeds of market manipulation
           12                                                                                        into United States dollars.

           13     Wire          11/25/2018           Hayes (New                 Coinbase (San        Instruction for electronically
                                                     York)                      Francisco)           transferring converted U.S. dollar
           14                                                                                        proceeds of market manipulation
                                                                                                     to bank accounts of HDR Global
           15                                                                                        Trading Limited, ABS Global
           16                                                                                        Trading Limited, Hayes, Delo
                                                                                                     and Reed.
           17
                  Wire          5/16/2019            Reed                       BitMEX/ABS           Trading orders to inject false
           18                                        (Wisconsin)                (San Francisco)      information as to market forces of
                                                                                                     supply and demand into
           19                                                                                        cryptocurrency markets and
                                                                                                     mislead traders to open
           20
                                                                                                     unfavorable trading positions to
           21                                                                                        be subsequently liquidated, see
                                                                                                     paragraphs 142-144, 153, 317-
           22                                                                                        330.
           23     Wire          5/16/2019            Reed                       BitStamp             Trading orders to inject false
                                                     (Wisconsin)                (Denver)             information as to market forces of
           24
                                                                                                     supply and demand into
           25                                                                                        cryptocurrency markets and
                                                                                                     mislead traders to open
           26                                                                                        unfavorable trading positions to
                                                                                                     be subsequently liquidated, see
           27                                                                                        paragraphs 142-144, 153, 317-
                                                                                                     330.
           28
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             1
                  Wire          5/16/2019            Reed                       Bitcoin Network      Instruction for electronically
             2                                       (Wisconsin)                (Cloud)              transferring (depositing) bitcoin
                                                                                                     funds to be used for manipulation
             3                                                                                       into a helper account on
                                                                                                     BitStamp.
             4
                  Wire          5/17/2019            Reed                       BitStamp             Electronic computer instruction
             5
                                                     (Wisconsin)                (Denver)             to execute large market trading
             6                                                                                       order on BTC/USD order book
                                                                                                     from helper account with
             7                                                                                       maximum slippage to deliberately
                                                                                                     move BitMEX .BXBT index
             8                                                                                       price.
             9
                  Wire          5/17/2019            Reed                       BitMEX/ABS           Computer instruction to execute
           10                                        (Wisconsin)                (San Francisco)      server freeze application to freeze
                                                                                                     BitMEX servers and to initiate
           11                                                                                        accepting orders on only one side
                                                                                                     of the market to exacerbate the
           12                                                                                        price move.
           13     Wire          5/17/2019            Delo (Hong                 BitMEX/ABS           Computer instruction to test and
           14                                        Kong)                      (San Francisco)      prepare liquidation engine for
                                                                                                     deployment and deploy
           15                                                                                        liquidation engine to liquidate
                                                                                                     trader accounts.
           16
                  Wire          5/17/2019            Reed                       BitMEX/ABS           Computer instruction to executed
           17                                        (Wisconsin)                (San Francisco)      orders to capture multiplied (due
           18                                                                                        to disparity in liquidity)
                                                                                                     manipulation profits caused by
           19                                                                                        the deliberate .BXBT index price
                                                                                                     move using winner account(s) on
           20                                                                                        BitMEX.
           21     Wire          5/17/2019            Reed                       BitMEX/ABS           Computer instruction to
           22                                        (Wisconsin)                (San Francisco)      electronically transfer (withdraw)
                                                                                                     funds from winner account(s)
           23                                                                                        into bitcoin wallet.

           24     Wire          5/17/2019            Delo (Hong                 BitMEX/ABS           Computer instruction to transfer
                                                     Kong)                      (San Francisco)      trader liquidation proceeds from
           25                                                                                        trader wallets into Insurance
                                                                                                     Fund bitcoin wallet.
           26
           27     Wire          5/17/2019            Hayes (New                 Bitcoin Network      Instruction for electronically
                                                     York)                      (Cloud)              transferring (depositing) bitcoin
           28                                                                                        funds from bitcoin wallet to
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             1                                                                                        account on Coinbase exchange.
             2    Wire          5/17/2019            Hayes (New                 Coinbase (San         Trading orders to convert bitcoin
             3                                       York)                      Francisco)            proceeds of market manipulation
                                                                                                      into United States dollars.
             4
                  Wire          5/17/2019            Hayes (New                 Coinbase (San         Instruction for electronically
             5                                       York)                      Francisco)            transferring converted U.S. dollar
                                                                                                      proceeds of market manipulation
             6                                                                                        to bank accounts of HDR Global
                                                                                                      Trading Limited, ABS Global
             7
                                                                                                      Trading Limited, Hayes, Delo
             8                                                                                        and Reed.

             9    Wire          7/3/2019             Reed                       Coinbase (San         Electronic wire transfer
                                                     (Wisconsin)                Francisco)            instructions for transferring
           10                                                                                         $900,000 of converted proceeds
                                                                                                      of money laundering to Vilas
           11
                                                                                                      Title Service Inc., 133 E Division
           12                                                                                         St, Eagle River, WI 54521,
                                                                                                      United States.
           13
                  Wire          7/3/2019             Reed                       Vilas Title           Electronic escrow instructions for
           14                                        (Wisconsin)                Service Inc., 133     reinvesting $900,000 of
                                                                                E Division St,        converted proceeds of money
           15                                                                   Eagle River, WI       laundering into Real Estate
           16                                                                   54521, United         Property 1.
                                                                                States
           17
                  Wire          7/3/2019             Barbara Reed               Reed                  Instructions how to conceal or
           18                                        (Wisconsin)                (Wisconsin)           disguise the nature, the location,
                                                                                                      the source, the ownership, or the
           19                                                                                         control of the proceeds of
           20                                                                                         unlawful activity taking place on
                                                                                                      BitMEX platform using real
           21                                                                                         estate investments in Wisconsin.

           22     Wire          7/3/2019             Trace L.Reed               Reed                  Instructions how to conceal or
                                                     (Wisconsin)                (Wisconsin)           disguise the nature, the location,
           23                                                                                         the source, the ownership, or the
           24                                                                                         control of the proceeds of
                                                                                                      unlawful activity taking place on
           25                                                                                         BitMEX platform using real
                                                                                                      estate investments in Wisconsin.
           26
                  Wire          7/14/2019            Reed                       BitMEX/ABS            Trading orders to inject false
           27                                        (Wisconsin)                (San Francisco)       information as to market forces of
                                                                                                      supply and demand into
           28
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             1                                                                                       cryptocurrency markets and
                                                                                                     mislead traders to open
             2                                                                                       unfavorable trading positions to
             3                                                                                       be subsequently liquidated, see
                                                                                                     paragraphs 142-144, 153, 317-
             4                                                                                       330.

             5    Wire          7/14/2019            Reed                       BitStamp             Trading orders to inject false
                                                     (Wisconsin)                (Denver)             information as to market forces of
             6                                                                                       supply and demand into
             7                                                                                       cryptocurrency markets and
                                                                                                     mislead traders to open
             8                                                                                       unfavorable trading positions to
                                                                                                     be subsequently liquidated, see
             9                                                                                       paragraphs 142-144, 153, 317-
                                                                                                     330.
           10
           11     Wire          7/14/2019            Reed                       Bitcoin Network      Instruction for electronically
                                                     (Wisconsin)                (Cloud)              transferring (depositing) ether
           12                                                                                        funds to be used for manipulation
                                                                                                     into a helper account on
           13                                                                                        BitStamp.
           14     Wire          7/14/2019            Reed                       BitStamp             Electronic computer instruction
                                                     (Wisconsin)                (Denver)             to execute large market trading
           15
                                                                                                     order on ETH/USD order book
           16                                                                                        from helper account with
                                                                                                     maximum slippage to deliberately
           17                                                                                        move BitMEX .BETH index
                                                                                                     price.
           18
                  Wire          7/14/2019            Reed                       BitMEX/ABS           Computer instruction to execute
           19
                                                     (Wisconsin)                (San Francisco)      server freeze application to freeze
           20                                                                                        BitMEX servers and to initiate
                                                                                                     accepting orders on only one side
           21                                                                                        of the market to exacerbate the
                                                                                                     price move.
           22
                  Wire          7/14/2019            Delo (Hong                 BitMEX/ABS           Computer instruction to test and
           23                                        Kong)                      (San Francisco)      prepare liquidation engine for
           24                                                                                        deployment and deploy
                                                                                                     liquidation engine to liquidate
           25                                                                                        trader accounts.

           26     Wire          7/14/2019            Reed                       BitMEX/ABS           Computer instruction to executed
                                                     (Wisconsin)                (San Francisco)      orders to capture multiplied (due
           27                                                                                        to disparity in liquidity)
           28                                                                                        manipulation profits caused by
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             1                                                                                        the deliberate index price move
                                                                                                      using winner account(s) on
             2                                                                                        BitMEX.
             3
                  Wire          7/14/2019            Delo (Hong                 BitMEX/ABS            Computer instruction to transfer
             4                                       Kong)                      (San Francisco)       trader liquidation proceeds from
                                                                                                      trader wallets into Insurance
             5                                                                                        Fund bitcoin wallet.
             6    Wire          7/14/2019            Reed                       BitMEX/ABS            Computer instruction to
                                                     (Wisconsin)                (San Francisco)       electronically transfer (withdraw)
             7
                                                                                                      funds from winner account(s)
             8                                                                                        into bitcoin wallet.

             9    Wire          7/14/2019            Hayes (New                 Bitcoin Network       Instruction for electronically
                                                     York)                      (Cloud)               transferring (depositing) bitcoin
           10                                                                                         funds from bitcoin wallet to
                                                                                                      account on Coinbase exchange.
           11
           12     Wire          7/14/2019            Hayes (New                 Coinbase (San         Trading orders to convert bitcoin
                                                     York)                      Francisco)            proceeds of market manipulation
           13                                                                                         into United States dollars.

           14     Wire          7/14/2019            Hayes (New                 Coinbase (San         Instruction for electronically
                                                     York)                      Francisco)            transferring converted U.S. dollar
           15                                                                                         proceeds of market manipulation
           16                                                                                         to bank accounts of HDR Global
                                                                                                      Trading Limited, ABS Global
           17                                                                                         Trading Limited, Hayes, Delo
                                                                                                      and Reed.
           18
                  Wire          8/16/2019            Reed                       Coinbase (San         Electronic wire transfer
           19                                        (Wisconsin)                Francisco)            instructions for transferring
                                                                                                      $1,425,000 of converted proceeds
           20
                                                                                                      of market manipulation to Ligris
           21                                                                                         + Associates, 399 Boylston St f7,
                                                                                                      Boston, MA 02116, United
           22                                                                                         States.
           23     Wire          8/16/2019            Reed                       Ligris +              Electronic escrow instructions for
                                                     (Wisconsin)                Associates, 399       reinvesting $1,425,000 of
           24
                                                                                Boylston St f7,       converted proceeds of money
           25                                                                   Boston, MA            laundering into Real Estate
                                                                                02116, United         Property 2.
           26                                                                   States
           27     Wire          08/29/2019           Agata Reed                 Secretary of the      Order to form Grape Park LLC
                                                     (Massachusetts)            State of              and to add an officer Agata Maria
           28
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             1                                                                  Delaware              Reed with the purpose to conceal
                                                                                                      or disguise the nature, the
             2                                                                                        location, the source, the
             3                                                                                        ownership, or the control of the
                                                                                                      proceeds of unlawful activity
             4                                                                                        taking place on BitMEX platform
                                                                                                      using real estate investments in
             5                                                                                        Massachusetts.
             6    Wire          11/20/2019           Reed                       Agata Reed            Instructions to form Grape Park
             7                                       (Wisconsin)                (Massachusetts)       LLC in Massachusetts, a branch
                                                                                                      of Defendant Grape Park LLC,
             8                                                                                        with the purpose to conceal or
                                                                                                      disguise the nature, the location,
             9                                                                                        the source, the ownership, or the
                                                                                                      control of the proceeds of
           10                                                                                         unlawful activity taking place on
           11                                                                                         BitMEX platform using real
                                                                                                      estate investments in
           12                                                                                         Massachusetts.

           13     Wire          11/20/2019           Agata Reed                 Secretary of the      Order to form Grape Park LLC
                                                     (Massachusetts)            Commonwealth          and to add an officer Agata Maria
           14                                                                   of Massachusetts      Reed with the purpose to conceal
           15                                                                                         or disguise the nature, the
                                                                                                      location, the source, the
           16                                                                                         ownership, or the control of the
                                                                                                      proceeds of unlawful activity
           17                                                                                         taking place on BitMEX platform
                                                                                                      using real estate investments in
           18                                                                                         Massachusetts.
           19
                  Wire          3/12/2020            Hayes (New                 Reed                  Direction to take BitMEX
           20                                        York)                      (Wisconsin)           platform offline to liquidate
                                                                                                      traders while avoiding tapping
           21                                                                                         into Insurance Fund.
           22     Wire          3/12/2020            Reed                       Site Reliability      Instruction to take BitMEX
                                                     (Wisconsin)                Engineers Jerry       platform offline to liquidate
           23
                                                                                Aldrich, Scott H.     traders while avoiding tapping
           24                                                                   and Armando           into Insurance Fund.
                                                                                Cerna (San
           25                                                                   Francisco)
           26             364.       Plaintiff Dolgov is informed and believes and thereon alleges that the electronic
           27     wire transmission alleged in the previous Paragraph were repeated by Defendants, almost exactly,
           28
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             1
                  during other Manipulation Times.
             2
                         365.       Additional and other facts regarding Defendants’ fraudulent wire communications
             3
                  are hidden from Plaintiff at this time. Such information is uniquely within Defendants’
             4
                  possession, custody and control. To date, Defendants provided absolutely no discovery to
             5
                  Plaintiff what so ever, despite being served with multiple discovery requests, which Defendants
             6
                  stonewalled. Plaintiff accordingly reserves the right to supplement and amend these allegations
             7
                  of Defendants’ fraudulent wire communications, if appropriate or necessary, following
             8
                  completion of relevant fact discovery.
             9
                      MARKET MANIPULATION EVENT ON AUGUST 2, 2020 AND DELETION OF
           10                     EVIDENCE THEREOF BY DEFENDANTS

           11            366.       Bitcoin suffered a price drop of $1,500 within few minutes on Sunday, August 2,
           12     2020. The sudden slide caught many traders off guard, liquidating nearly $1.4 billion worth of
           13     positions across major exchanges. The price drop triggered $144 million worth of sell
           14     liquidations or forced closure of long positions on BitMEX.
           15            367.       Shortly after the crash, on August 2, 2020, at 8:44PM EDT, a brand new account
           16     suddenly popped up on the number one spot on the BitMEX Leaderboard showing nearly
           17     $120,000,000 in profit. Plaintiff Dolgov is informed and believes and thereon alleges that the
           18     aforesaid Leaderboard account was the winner account of Defendants Hayes, Delo and Reed,
           19     which was used by said Defendants to capture the manipulation winnings induced by said
           20     Defendants placing large market orders with maximum slippage from helper accounts on United
           21     States based exchanges Kraken, Coinbase Pro and Kraken to deliberately move the .BXBT index
           22     price, which resulted in the aforesaid August 2, 2020, $1,500 bitcoin price crash and the $144
           23     million worth of sell liquidations of BitMEX Perpetual Swap contracts, which are priced based on
           24     the aforesaid .BXBT index price manipulated by Defendants.
           25            368.        The aforesaid evidence of the winner manipulation account on BitMEX was
           26     deleted by Defendants just one hour later, at 9:45PM EDT. Plaintiff Dolgov is informed and
           27     believes and thereon alleges that the aforesaid Leaderboard account was accidentally listed on the
           28
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             1
                  BitMEX Leaderboard and then, upon discovery, immediately deleted by Defendants, who tried to
             2
                  cover up their market manipulation acts and destroy relevant evidence. Plaintiff Dolgov is
             3
             4
             5
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             1
                  informed and believes and thereon alleges that the aforesaid amount of $120,000,000 in the
             2
                  winner account was Defendants’ profit from perpetrating the aforesaid bitcoin market
             3
                  manipulation event of August 2, 2020.
             4
                         369.       Plaintiff Dolgov is informed and believes and thereon alleges that the second
             5
                  highest ranked BitMEX Leaderboard account Quick-Grove-Mind with almost $100,000,000
             6
                  profit is also a manipulation winner account of the Defendants that was used to capture market
             7
                  manipulation profits. The multimillion-dollar profit gains in that account exactly match the
             8
             9
           10
           11
           12
           13
           14
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           20

           21
           22
           23
           24
           25
                  known bitcoin market manipulation events that took place on or about September 24, 2019,
           26
                  November 18-19, 2019 and March 11-12, 2020, when the .BXBT index price of bitcoin was
           27
                  manipulated by Defendants by placing large sell market orders on United States based Kraken,
           28
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             1
                  Coinbase Pro and BitStamp exchanges, the pricing data from which is used in the .BXBT index
             2
                  calculation, based on which the BitMEX Perpetual Swap contract traded by Plaintiff is priced, in
             3
                  order to intentionally liquidate BitMEX retail traders, including Plaintiff. Notably, this account
             4
                  also miraculously avoided any and all trading losses, posting only multimillion-dollar gains.
             5
                                                         COUNT I
             6     (Conduct Of Or Participation In The Conduct Of Enterprise’s Affairs Through A Pattern
             7                  Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(c))
                          370.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-369 above
             8
                  as if fully set forth herein.
             9
                          371.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           10
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count I
           11
                  Defendants”).
           12
                          372.      During Relevant Period, Enterprise engaged in activities that affect interstate
           13
                  commerce. The Count I Defendants are employed by or associated with the Enterprise.
           14
                          373.      The Count I Defendants agreed to and did conduct and participate in the conduct
           15
                  of the Enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose
           16
                  of intentionally defrauding Plaintiff Dolgov as well as other cryptocurrency traders and
           17
                  misappropriating their cryptocurrency holdings as well as the Purposes alleged above.
           18
                  Specifically, Count I Defendants engaged in continuous pattern of racketeering activity involving,
           19
                  among other unlawful acts, operating an unlicensed money transmitting business in violation of
           20
                  18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), monetary
           21
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           22
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           23
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           24
                  racketeering enterprise in violation of 18 U.S.C. § 1952. The alleged acts were perpetrated by
           25
                  Count I Defendants during Relevant Period on a daily basis, including during each of the
           26
                  Manipulation Times alleged in Paragraph 353, and continue to take place.
           27
                          374.      Pursuant to and in furtherance of their fraudulent scheme, Count I Defendants
           28
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             1
                  committed multiple related acts of operating an unlicensed money transmitting business in
             2
                  violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging
             3
                  in monetary transactions in property derived from specified unlawful activity in violation of 18
             4
                  U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen
             5
                  property in violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
             6
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
             7
                            375.    The acts of operating an unlicensed money transmitting business in violation of 18
             8
                  U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
             9
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           10
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           11
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           12
                  racketeering enterprise in violation of 18 U.S.C. § 1952 set forth above constitute a pattern of
           13
                  racketeering activity pursuant to 18 U.S.C. § 1961(5).
           14
                            376.    Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           15
                  each of them, took part in directing the affairs of the alleged Enterprise by engaging in a
           16
                  continuing pattern of racketeering activity involving, among other unlawful acts, operating an
           17
                  unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           18
                  violation of 18 U.S.C. § 1956(a), engaging in monetary transactions in property derived from
           19
                  specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C.
           20
                  § 1343, interstate transportation of stolen property in violation 18 U.S.C. § 2314 and interstate
           21
                  and foreign travel or transportation in aid of racketeering enterprise in violation of 18 U.S.C.
           22
                  § 1952.
           23
                            377.    The Count I Defendants have directly and indirectly conducted and participated in
           24
                  the conduct of the enterprise’s affairs through the pattern of racketeering and activity described
           25
                  above, in violation of 18 U.S.C. § 1962(c).
           26
                            378.    Plaintiff Dolgov is informed and believes and thereon alleges that Count I
           27
                  Defendants, and each of them, (1) gave or took directions; (2) occupied a position in the "chain of
           28
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             1
                  command" through which the affairs of the Enterprise are conducted; (3) knowingly implemented
             2
                  decisions of upper management; and (4) were indispensable to the achievement of the alleged
             3
                  Enterprise’s goals.
             4
                         379.       Plaintiff Dolgov is informed and believes and thereon alleges that Count I
             5
                  Defendants, and each of them, conducted or participated in the conduct of the affairs of the
             6
                  alleged Enterprise engaging in a continuing pattern of racketeering activity involving, among
             7
                  other unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C.
             8
                  § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
             9
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           10
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           11
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           12
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
           13
                         380.       Plaintiff Dolgov is informed and believes and thereon alleges that Defendants, and
           14
                  each of them, participated in a pattern of racketeering activity, which included at least two acts of
           15
                  racketeering activity including, without limitation, at least two acts of operating an unlicensed
           16
                  money transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of money
           17
                  laundering in violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary transactions
           18
                  in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957, at least two
           19
                  acts of wire fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate transportation of
           20
                  stolen property in violation 18 U.S.C. § 2314 and at least two acts of interstate and foreign travel
           21
                  or transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952. Count I
           22
                  Defendants, and each of them, committed the alleged predicate offenses as a part of conducting or
           23
                  participating in the Enterprise, and, therefore, is liable for the violation of the RICO, 18 U.S.C. §
           24
                  1964(c).
           25
                         381.       As a direct and proximate result of the Count I Defendants’, and each of them,
           26
                  conduct of or participation in the long-running Enterprise, within the meaning of 18 U.S.C. §
           27
                  1961(4), engaging in the continuing pattern of racketeering activity involving, among other
           28
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             1
                  unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. §
             2
                  1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
             3
                  transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
             4
                  1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
             5
                  violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
             6
                  racketeering enterprise in violation of 18 U.S.C. § 1952, Plaintiff Dolgov have been domestically
             7
                  injured in its business and property in the amount to be proven at trial.
             8
                         382.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
             9
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
           10
                  2018, due to a liquidation cascade, when XBTUSD Swap position that Plaintiff Dolgov directly
           11
                  and personally purchased and owned was liquidated. Plaintiff Dolgov is informed and believes
           12
                  and thereon alleges that this liquidation cascade and this loss was directly and proximately caused
           13
                  by an act of money laundering in violation of 18 U.S.C. §§ 1956 and 1957 perpetrated by
           14
                  Defendants themselves, who acted in accordance with their individual roles alleged in Paragraph
           15
                  359, according to a general scheme alleged in Paragraphs 5-11, 356, 363 and involving helper
           16
                  account(s) and winner account(s), which further constituted an act of unlicensed effective
           17
                  transmissions of funds, representing market manipulation winnings, from helper account(s) to
           18
                  winner account(s), which Count I Defendants willfully and deliberately caused with full
           19
                  knowledge of the nature and purpose of the funds involved in the transfer, in violation 18 U.S.C.
           20
                  § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314,
           21
                  in a manner alleged hereinabove.
           22
                         383.       As another example, Plaintiff Dolgov sustained a domestic loss of at least 0.27
           23
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           24
                  November 15, 2018, due to a liquidation cascade, when XBTUSD Swap position that Plaintiff
           25
                  Dolgov directly and personally purchased and owned was liquidated or closed. Plaintiff Dolgov
           26
                  is informed and believes and thereon alleges that this liquidation cascade and this loss was
           27
                  directly and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956
           28
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             1
                  and 1957 perpetrated by Defendants themselves, who acted in accordance with their individual
             2
                  roles alleged in Paragraph 359, according to a general scheme alleged in Paragraphs 5-11, 356,
             3
                  363 and involving helper account(s) and winner account(s), which further constituted an act of
             4
                  unlicensed effective transmissions of funds, representing market manipulation winnings, from
             5
                  helper account(s) to winner account(s), which Count I Defendants willfully and deliberately
             6
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
             7
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a), 18 U.S.C. § 1952 and 18 U.S.C. § 1956(a)
             8
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
             9
                         384.       The aforesaid amounts constitute concrete financial losses of Plaintiff Dolgov.
           10
                  Absent Defendants’ effective transmissions of funds alleged above, these losses would not have
           11
                  taken place.
           12
                         385.       Count I Defendants’ effective transmissions of funds, alleged above, were
           13
                  conducted by Count I Defendants through the same commercial website BitMEX.com, which was
           14
                  and is being extensively used by residents of the United States and this District. Therefore, Count
           15
                  I Defendants’ effective transmissions of funds, which injured Plaintiff, were directly related to the
           16
                  Count I Defendants’ contacts with the United States and this District.
           17
                         386.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
           18
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           19
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
           20
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           21
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           22
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           23
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           24
                  Specifically, Plaintiff Dolgov is informed and believes and thereon alleges that three Site
           25
                  Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within
           26
                  this District, BitMEX servers to freeze during manipulation times, on the direction received from
           27
                  Defendant Reed, who was located in Wisconsin.
           28
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             1
                          387.      In addition, Defendant HDR as well its California alter ego Defendant ABS is a
             2
                  single enterprise with extensive presence in this District (over 80 employees). Moreover, the
             3
                  alleged illegal acts were all performed on servers and other IT infrastructure owned and operated
             4
                  by United States based Amazon EKS with offices in this District. Furthermore, the helper
             5
                  accounts that were vital for Defendants and other perpetrators to manipulate the prices of
             6
                  cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder funds in
             7
                  violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on United
             8
                  States based cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro, two of which
             9
                  are located in the District. Defendants transferred funds to and from those vital United States
           10
                  based accounts in order to conduct the affairs of the Enterprise.
           11
                          388.      Therefore, Count I Defendants, and each of them, are liable, jointly and severally,
           12
                  to Plaintiff Dolgov under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(c)
           13
                  in the amount of triple of Plaintiff Dolgov’s losses to be proven at trial.
           14
                                                        COUNT II
           15      (Conspiracy To Conduct Or Participate In The Conduct Of Enterprise’s Affairs Through
           16              A Pattern Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(d))
                          389.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-388 above
           17
                  as if fully set forth herein.
           18
                          390.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           19
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count II
           20
                  Defendants”).
           21
                          391.      As set forth above, the Count II Defendants agreed and conspired to violate 18
           22
                  U.S.C. § 1962(a) (b) and (c). Specifically, Count II Defendants conspired to: (1) use or invest
           23
                  income that is derived from a pattern of racketeering activity alleged hereinabove in the interstate
           24
                  Enterprise (18 U.S.C. § 1962(a)); (2) acquire or maintain interests in the Enterprise through a
           25
                  pattern of racketeering activity alleged hereinabove (18 U.S.C. § 1962(b)); and (3) conduct and
           26
                  participate in the conduct of the affairs of the Enterprise through a pattern of racketeering activity
           27
                  alleged hereinabove (18 U.S.C. § 1962(c)).
           28
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             1
                         392.       The Count II Defendants have intentionally conspired and agreed to directly and
             2
                  indirectly use or invest income that is derived from a pattern of racketeering activity in an
             3
                  interstate enterprise, acquire or maintain interests in the enterprise through a pattern of
             4
                  racketeering activity alleged hereinabove, and conduct and participate in the conduct of the affairs
             5
                  of the enterprise through a pattern of racketeering activity alleged hereinabove. The Count II
             6
                  Defendants knew that their predicate acts were part of a pattern of racketeering activity alleged
             7
                  hereinabove and agreed to the commission of those acts to further the schemes described above.
             8
                  That conduct constitutes a conspiracy to violate 18 U.S.C.A. § 1962(a), (b) and (c), in violation of
             9
                  18 U.S.C. § 1962(d).
           10
                         393.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
           11
                  Defendants, and each of them, intended to further the operation of an unlicensed money
           12
                  transmitting business in violation of 18 U.S.C. § 1960(a).
           13
                         394.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
           14
                  Defendants, and each of them, intended to further the money laundering endeavor in violation of
           15
                  18 U.S.C. § 1956.
           16
                         395.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
           17
                  Defendants, and each of them, intended to further the transactions in property derived from
           18
                  specified unlawful activity in violation of 18 U.S.C. § 1957.
           19
                         396.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
           20
                  Defendants, and each of them, intended to further the wire fraud in violation of 18 U.S.C. § 1343.
           21
                         397.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
           22
                  Defendants, and each of them, intended to further the interstate transportation of stolen property
           23
                  in violation of 18 U.S.C. § 2314.
           24
                         398.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
           25
                  Defendants, and each of them, intended to further the interstate and foreign travel or
           26
                  transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952.
           27
                         399.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
           28
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             1
                  Defendants, and each of them, have been aware of the essential nature and scope of the alleged
             2
                  Enterprise and intended to participate in it.
             3
                         400.       Plaintiff Dolgov is informed and believes and thereon alleges that Count II
             4
                  Defendants, and each of them, agreed to commit, or participate in, the violation of two predicate
             5
                  offenses, namely at least two acts of operating an unlicensed money transmitting business in
             6
                  violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in violation of 18 U.S.C.
             7
                  § 1956, at least two acts of engaging in monetary transactions in property derived from specified
             8
                  unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of
             9
                  18 U.S.C. § 1343, at least two acts of interstate transportation of stolen property in violation 18
           10
                  U.S.C. § 2314 and at least two acts of interstate and foreign travel or transportation in aid of
           11
                  racketeering enterprise in violation of 18 U.S.C. § 1952.
           12
                         401.       In addition, in furtherance of the alleged conspiracy, and to achieve its purposes,
           13
                  the Defendants committed and caused to be committed the following acts, among others, alleged
           14
                  in this Complaint, in this District and elsewhere: 1) providing traders with extremely high trading
           15
                  leverage (up to 100x); 2) deliberately using .BXBT index price for highly liquid derivatives
           16
                  calculated based on prices of two or three illiquid spot exchanges; 3) enabling manipulators and
           17
                  money launderers to avoid detection by providing them with the ability to open unlimited number
           18
                  of anonymous document check-free trading accounts without any trading and withdrawal limits;
           19
                  4) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
           20
                  some trading orders and reject others during large market moves to exacerbate price fluctuations
           21
                  and cause the most liquidations; and 5) regularly manipulating price of cryptocurrencies
           22
                  including, without limitation, bitcoin, by executing large market orders on illiquid spot exchanges
           23
                  in order to cause massive liquidations in traders’ derivatives positions on BitMEX.
           24
                         402.       As direct and proximate result of the Count II Defendants’ conspiracy, the overt
           25
                  acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff
           26
                  Dolgov have been injured in his business and property in the amount to be proven at trial.
           27
                         403.       As a proximate result of the Count II Defendants’, and each of them, conspiracy to
           28
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             1
                  conduct or participate in the long-running Enterprise, within the meaning of 18 U.S.C. § 1961(4),
             2
                  engaging in the continuing pattern of racketeering activity involving, among other unlawful acts,
             3
                  at least two acts of operating an unlicensed money transmitting business in violation of 18 U.S.C.
             4
                  § 1960(a), at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts
             5
                  of engaging in monetary transactions in property derived from specified unlawful activity in
             6
                  violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
             7
                  least two acts of interstate and foreign travel or transportation in aid of racketeering enterprise in
             8
                  violation of 18 U.S.C. § 1952, at least two acts of interstate transportation of stolen property in
             9
                  violation 18 U.S.C. § 2314 and at least two acts as alleged in Paragraphs 317-326 and 353-365,
           10
                  Plaintiff Dolgov sustained concrete and certain monetary cryptocurrency trading losses in the
           11
                  amount to be proven at trial.
           12
                         404.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
           13
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
           14
                  2018, due to a liquidation cascade, when XBTUSD Bitcoin Perpetual Swaps position that
           15
                  Plaintiff Dolgov directly and personally purchased and owned was liquidated. Plaintiff Dolgov is
           16
                  informed and believes and thereon alleges that this liquidation cascade and this loss was directly
           17
                  and proximately caused by an act of money laundering in violation of 18 U.S.C. §§ 1956 and
           18
                  1957 perpetrated by Defendants themselves, who acted in accordance with their individual roles
           19
                  alleged in Paragraph 361 and according to a general scheme alleged in Paragraphs 5-11, 356, 363
           20
                  and involving helper account(s) and winner account(s), which further constituted an act of
           21
                  unlicensed effective transmissions of funds, representing market manipulation winnings, from
           22
                  helper account(s) to winner account(s), which Count II Defendants willfully and deliberately
           23
                  caused with full knowledge of the nature and purpose of the funds involved in the transfer, in
           24
                  violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a), 18 U.S.C. § 1952
           25
                  and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           26
                         405.       As another example, Plaintiff Dolgov sustained a domestic loss of at least 0.27
           27
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           28
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             1
                  November 15, 2018, due to a liquidation cascade, when XBTUSD Bitcoin Perpetual Swaps
             2
                  position that Plaintiff Dolgov directly and personally purchased and owned was liquidated.
             3
                  Plaintiff Dolgov is informed and believes and thereon alleges that this liquidation cascade and
             4
                  this loss was directly and proximately caused by an act of money laundering in violation of 18
             5
                  U.S.C. §§ 1956 and 1957 perpetrated by Defendants themselves, who acted in accordance with
             6
                  their individual roles alleged in Paragraph 361 and according to a general scheme alleged in
             7
                  Paragraphs 5-11, 356, 363 and involving helper account(s) and winner account(s), which further
             8
                  constituted an act of unlicensed effective transmissions of funds, representing market
             9
                  manipulation winnings, from helper account(s) to winner account(s), which Count II Defendants
           10
                  willfully and deliberately caused with full knowledge of the nature and purpose of the funds
           11
                  involved in the transfer, in violation 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. §
           12
                  1956(a), 18 U.S.C. § 1952 and 18 U.S.C. § 2314, in a manner alleged hereinabove.
           13
                         406.       The aforesaid amounts constitute concrete financial losses of Plaintiff Dolgov.
           14
                  Absent Defendants’ effective transmissions of funds alleged above, these losses would not have
           15
                  taken place.
           16
                         407.       Count II Defendants’ effective transmissions of funds, alleged above, were
           17
                  conducted by Count II Defendants through the same commercial website BitMEX.com, which
           18
                  was and is being extensively used by residents of the United States and this District. Therefore,
           19
                  Count II Defendants’ effective transmissions of funds, which injured Plaintiff, were directly
           20
                  related to the Count II Defendants’ contacts with the United States and this District.
           21
                         408.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
           22
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           23
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
           24
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           25
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           26
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           27
                  the location where the illegal acts and the resulting injuries as alleged herein took place. In
           28
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             1
                  addition, Defendant HDR as well its California alter ego Defendant ABS is a single enterprise
             2
                  with extensive presence in this District (over 74 employees). Specifically, Plaintiff Dolgov is
             3
                  informed and believes and thereon alleges that three Site Reliability Engineers Jerry Aldrich,
             4
                  Scott H. and Armando Cerna personally caused, from within this District, BitMEX servers to
             5
                  freeze during manipulation times, on the direction received from Defendant Reed, who was
             6
                  located in Wisconsin. Moreover, the alleged illegal acts were all performed on servers and other
             7
                  IT infrastructure owned and operated by United States based Amazon EKS with offices in this
             8
                  District. Furthermore, the helper accounts that were vital for Defendants and other perpetrators to
             9
                  manipulate the prices of cryptocurrencies and cryptocurrency derivatives in violation of CEA and
           10
                  to launder funds in violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all
           11
                  maintained on United States based cryptocurrency spot exchanges BitStamp, Kraken and
           12
                  Coinbase Pro, two of which are located in the District. Defendants transferred funds to and from
           13
                  those vital United States based accounts in order to conduct the affairs of the Enterprise.
           14
                          409.      Therefore, Count II Defendants, and each of them, are liable, jointly and severally,
           15
                  to Plaintiff Dolgov under 18 U.S.C. §1964(c) for the violation of the RICO, 18 U.S.C. §1962(d)
           16
                  in the amount of triple of Plaintiff Dolgov’s losses to be proven at trial.
           17
                                                       COUNT III
           18       (Use Of A Manipulative Or Deceptive Device Or Contrivance In Violation Of 7 U.S.C. §
           19                                             9(1))
                          410.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-409 above
           20
                  as if fully set forth herein.
           21
                          411.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           22
                  III Defendants”).
           23
                          412.      Section 6(c)(1) of the CEA, 7 U.S.C. § 9(1), makes it unlawful for “any person,
           24
                  directly or indirectly, to use or employ or attempt to use or employ, in connection with any swap,
           25
                  or a contract of sale of any commodity in interstate commerce, … any manipulative or deceptive
           26
                  device or contrivance, in contravention of such rules and regulations as the Commission shall
           27
                  promulgate.” Regulation 180.1 makes it unlawful for “any person, directly or indirectly, in
           28
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             1
                  connections with any swap, or contract of sale of any commodity in interstate commerce, … to
             2
                  intentionally or recklessly: (1) use or employ or attempt to use or employ, any manipulative
             3
                  device, scheme, or artifice to defraud;... (3) engage, or attempt to engage, in any act practice or
             4
                  course of business, which operates or would operate as a fraud or deceit upon any person....”
             5
                         413.       Count III Defendants, and each of them, intended to affect or acted recklessly with
             6
                  regards to affecting the prices of the bitcoin Perpetual Swap contracts and cash bitcoin and
             7
                  engaged in overt acts in furtherance of their intent.
             8
                         414.       By the foregoing conduct, Count III Defendants, and each of them, intentionally or
             9
                  recklessly used or employed or attempted to use or employ a manipulative device or artifice to
           10
                  defraud and engaged in or attempted to engage in any act, practice or course of business which
           11
                  operated or would operate as a fraud or deceit upon any person, in violation of Section 6(c)(1) of
           12
                  the CEA and Regulation 180.1. Allegations of specific acts constituting fraud set forth in
           13
                  Paragraphs 317-326 above are incorporated as if fully set forth herein.
           14
                         415.       Because the actions of Count III Defendants, and each of them, occurred within
           15
                  the scope of their employment, office, or agency with Defendant HDR, this Defendant is liable as
           16
                  a principal for their violations of Section 6(c)(1) and Regulation 180.1 pursuant to Section
           17
                  2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17 C.F.R. § 1.2 (2018).
           18
                         416.       Each and every overt action in furtherance of the attempt to manipulate prices, and
           19
                  each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(1) of
           20
                  the CEA and Regulation 180.1.
           21
                         417.       As direct and proximate result of the Count III Defendants, and each of them, use
           22
                  of a manipulative device or artifice to defraud as alleged herein, in violation of Section 6(c)(1) of
           23
                  the CEA and Regulation 180.1, including, without limitation, pumps and dumps, Barts,
           24
                  liquidation cascades and spoofing perpetrated by Count III Defendants, Plaintiff Dolgov has been
           25
                  domestically injured in its business and property in the amount to be proven at trial. These acts
           26
                  were an illegitimate part of the supply-demand equation, prevented true price discovery, and
           27
                  caused artificial pricing in the cryptocurrency market.
           28
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             1
                           418.       Plaintiff Dolgov directly traded XBTUSD Swap contracts at the at the time the
             2
                  alleged artificial price existed due to the wrongful conduct of Count III Defendants and each of
             3
                  them.
             4
                           419.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
             5
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
             6
                  2018, when XBTUSD Bitcoin Perpetual Swaps position that Plaintiff Dolgov directly and
             7
                  personally purchased and owned was liquidated by reason of an artificially low price that existed
             8
                  due to a liquidation cascade, which, on information and belief of Plaintiff Dolgov, was directly
             9
                  and proximately caused by Count III Defendants’ and each of them use of manipulative or
           10
                  deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did not
           11
                  use the manipulative or deceptive device or contrivance on that day, the artificially low price
           12
                  would not have existed and the liquidation cascade would not have taken place. In connection
           13
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
           14
                  with their individual roles alleged in Paragraph 361.
           15
                           420.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 0.27 bitcoins,
           16
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 15,
           17
                  2018, when XBTUSD Bitcoin Perpetual Swaps position that Plaintiff Dolgov directly and
           18
                  personally purchased and owned was liquidated by reason of an artificially low price that existed
           19
                  due to a liquidation cascade, which, on information and belief of Plaintiff Dolgov, was directly
           20
                  and proximately caused by Count III Defendants’ and each of them use of manipulative or
           21
                  deceptive device or contrivance on that day as alleged in Paragraphs above. If Defendants did not
           22
                  use the manipulative or deceptive device or contrivance on that day, the artificially low price
           23
                  would not have existed and the liquidation cascade would not have taken place. In connection
           24
                  with the use of manipulative or deceptive device or contrivance, Defendants acted in accordance
           25
                  with their individual roles alleged in Paragraph 361.
           26
                           421.       The aforesaid amounts constitute concrete financial losses of Plaintiff Dolgov.
           27
                  Absent Defendants’ use of manipulative or deceptive device or contrivance alleged above, these
           28
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             1
                  losses would not have taken place.
             2
                         422.       Count III Defendants’ uses of manipulative or deceptive device or contrivance,
             3
                  alleged above, were conducted by Count III Defendants through the same commercial website
             4
                  BitMEX.com, which was and is being extensively used by residents of the United States and this
             5
                  District. Therefore, Count III Defendants’ uses of manipulative or deceptive device or
             6
                  contrivance, which injured Plaintiff, were directly related to the Count III Defendants’ contacts
             7
                  with the United States and this District.
             8
                         423.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
             9
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           10
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
           11
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           12
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           13
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           14
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           15
                  Specifically, Plaintiff Dolgov is informed and believes and thereon alleges that three Site
           16
                  Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within
           17
                  this District, BitMEX servers to freeze during manipulation times, on the direction received from
           18
                  Defendant Reed, who was located in Wisconsin. Moreover, the alleged illegal acts were all
           19
                  performed on servers and other IT infrastructure owned and operated by United States based
           20
                  Amazon EKS with offices in this District. Specifically, Plaintiff Dolgov is informed and believes
           21
                  and thereon alleges that three Site Reliability Engineers Jerry Aldrich, Scott H. and Armando
           22
                  Cerna personally caused, from within this District, BitMEX servers to freeze during manipulation
           23
                  times, on the direction received from Defendant Reed, who was located in Wisconsin.
           24
                  Furthermore, the helper accounts that were vital for Defendants and other perpetrators to
           25
                  manipulate the prices of cryptocurrencies and cryptocurrency derivatives in violation of CEA and
           26
                  to launder funds in violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all
           27
                  maintained on United States based cryptocurrency spot exchanges BitStamp, Kraken and
           28
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             1
                  Coinbase Pro, two of which are located in the District. Defendants transferred funds to and from
             2
                  those vital United States based accounts in order to conduct the affairs of the Enterprise.
             3
                          424.      Therefore, Count III Defendants, and each of them, are liable, jointly and
             4
                  severally, to Plaintiff Dolgov under 7 U.S.C. § 25(a) in the amount to be proven at trial.
             5
                                                         COUNT IV
             6        (Manipulation And Attempted Manipulation Of Bitcoin Swaps And Cash Bitcoin In
                                     Violation Of 7 U.S.C. § 9(3) and 7 U.S.C. § 13(a)(2))
             7
                          425.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-424 above
             8
                  as if fully set forth herein.
             9
                          426.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           10
                  IV Defendants”).
           11
                          427.      Section 6(c)(3) of the CEA, 7 U.S.C. § 9(3), makes it unlawful for “any person,
           12
                  directly or indirectly, to manipulate or attempt to manipulate the price of any swap or of any
           13
                  commodity in interstate commerce....”
           14
                          428.      Section 9(a)(2) of the CEA, 7 U.S.C. § 13(a)(2), makes it unlawful for “[a]ny
           15
                  person to manipulate or attempt to manipulate the price of any commodity in interstate
           16
                  commerce, … or of any swap.”
           17
                          429.      Regulation 180.2 makes it “unlawful for any person, directly or indirectly, to
           18
                  manipulate or attempt to manipulate the price of any swap, or of any commodity in interstate
           19
                  commerce,..”
           20
                          430.      Count IV Defendants, and each of them, possessed an ability to influence market
           21
                  prices of spot bitcoin and bitcoin derivatives, including Perpetual Swaps. Specifically, as Count
           22
                  IV Defendants, and each of them, accumulated hundreds of millions of dollars in bitcoin. With
           23
                  such a large amount of bitcoin available for trading, Count IV Defendants have had and continue
           24
                  to have the ability to move bitcoin market price and the price of Perpetual Swaps very
           25
                  substantially.
           26
                          431.      Plaintiff Dolgov is informed and believes and thereon alleges that Count IV
           27
                  Defendants, and each of them, acting in furtherance of the manipulative, fraudulent and deceptive
           28
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             1
                  scheme to manipulate the prices of certain cryptocurrency derivatives, including, without
             2
                  limitation, bitcoin future contracts, bitcoin Perpetual Swaps, as well as the cash prices of
             3
                  cryptocurrencies, including, without limitation, cash bitcoin caused an artificial price of spot
             4
                  bitcoin and bitcoin derivatives. The artificial price was further caused by diminished investor
             5
                  confidence resulting from the abusive market conduct of Count IV Defendants.
             6
                           432.     Allegations of specific acts constituting fraud set forth in Paragraphs 317-326
             7
                  above are incorporated as if fully set forth herein. These acts were an illegitimate part of the
             8
                  supply-demand equation, prevented true price discovery, and caused artificial pricing in the
             9
                  cryptocurrency market.
           10
                           433.     Plaintiff Dolgov is informed and believes and thereon alleges that Count IV
           11
                  Defendants, and each of them, caused an artificial price of spot bitcoin and bitcoin derivatives in
           12
                  order to trigger a specific price-based market event, such as a liquidation cascade or execution of
           13
                  stop loss orders of other traders.
           14
                           434.     Plaintiff Dolgov is informed and believes and thereon alleges that Count IV
           15
                  Defendants, and each of them, specifically intended to cause the alleged artificial price of spot
           16
                  bitcoin and bitcoin derivatives in order to trigger a specific price-based market event, such as a
           17
                  liquidation cascade or execution of stop loss orders of other traders.
           18
                           435.     By the foregoing conduct, Count IV Defendants, and each of them, manipulated or
           19
                  attempted to manipulate the price of a swap and a price of the commodity in interstate commerce
           20
                  underlying such swap, in violation of Sections 6(c)(3) and 9(a)(2) of the CEA and Regulation
           21
                  180.2.
           22
                           436.     Because the actions of Count IV Defendants, and each of them, occurred within
           23
                  the scope of their employment, office, or agency with Defendant HDR, and Defendants HDR is
           24
                  liable as a principal for their violations of Sections 6(c)(3) and 9(a)(2) of the CEA and Regulation
           25
                  180.2 pursuant to Section 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), and Regulation 1.2, 17
           26
                  C.F.R. § 1.2 (2018).
           27
                           437.     Each and every overt action in furtherance of the attempt to manipulate prices, and
           28
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             1
                  each act of manipulation is alleged herein as a separate and distinct violation of Section 6(c)(3)
             2
                  and 9(a)(2) of the CEA and Regulation 180.2.
             3
                         438.       Plaintiff Dolgov traded (directly or indirectly) the spot bitcoin and/or bitcoin
             4
                  derivatives at the time the alleged artificial price existed due to the wrongful conduct of Count IV
             5
                  Defendants and each of them.
             6
                         439.       As an example, Plaintiff Dolgov sustained a domestic loss of at least 3.93 bitcoins,
             7
                  on a domestic United States based cryptocurrency exchange BitMEX, on or about November 25,
             8
                  2018, when XBTUSD Perpetual Swap position that Plaintiff Dolgov directly and personally
             9
                  purchased and owned was liquidated by reason of an artificially low price that existed due to a
           10
                  liquidation cascade, which, on information and belief of Plaintiff Dolgov, was directly and
           11
                  proximately caused by Count IV Defendants’ and each of them market manipulation on that day
           12
                  as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially low
           13
                  price would not have existed and the liquidation cascade would not have taken place. In
           14
                  connection with the market manipulation, Defendants acted in accordance with their individual
           15
                  roles alleged in Paragraph 361.
           16
                         440.       As another example, Plaintiff Dolgov sustained a domestic loss of at least 0.27
           17
                  bitcoins, on a domestic United States based cryptocurrency exchange BitMEX, on or about
           18
                  November 15, 2018, when XBTUSD Perpetual Swap position that Plaintiff Dolgov directly and
           19
                  personally purchased and owned was liquidated by reason of an artificially low price that existed
           20
                  due to a liquidation cascade, which, on information and belief of Plaintiff Dolgov, was directly
           21
                  and proximately caused by Count IV Defendants’ and each of them market manipulation on that
           22
                  day as alleged in Paragraphs above. If Defendants did not manipulate the market, the artificially
           23
                  low price would not have existed and the liquidation cascade would not have taken place. In
           24
                  connection with the market manipulation, Defendants acted in accordance with their individual
           25
                  roles alleged in Paragraph 361.
           26
                         441.       As a proximate result of the Count IV Defendants’, and each of them,
           27
                  manipulation or attempted to manipulation of the price of certain cryptocurrency derivatives,
           28
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             1
                  including, without limitation, bitcoin swaps, as well as the cash prices of cryptocurrencies,
             2
                  including, without limitation, cash bitcoin, which caused an artificial price of spot bitcoin and
             3
                  bitcoin derivatives, Plaintiff sustained concrete monetary cryptocurrency Domestic Injury in the
             4
                  amount to be proven at trial..
             5
                          442.      The aforesaid amounts constitute concrete financial losses of Plaintiff Dolgov.
             6
                  Absent Defendants’ market manipulation alleged above, these losses would not have taken place.
             7
                          443.      Count IV Defendants’ market manipulation, alleged above, was conducted by
             8
                  Count IV Defendants through the same commercial website BitMEX.com, which was and is
             9
                  being extensively used by residents of the United States and this District. Therefore, Count IV
           10
                  Defendants’ market manipulation, which injured Plaintiff, was directly related to the Count IV
           11
                  Defendants’ contacts with the United States and this District.
           12
                          444.      Because the vast majority of BitMEX personnel, as alleged in Paragraph 100,
           13
                  almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
           14
                  alleged in Paragraph 101, and almost all vital external service providers to BitMEX, as alleged in
           15
                  Paragraph 83, are located in this District, and because Defendant ABS, which formally employs
           16
                  this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
           17
                  operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
           18
                  the location where the illegal acts and the resulting injuries as alleged herein took place.
           19
                  Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           20
                  and operated by United States based Amazon EKS with offices in this District. Furthermore, the
           21
                  helper accounts that were vital for Defendants and other perpetrators to manipulate the prices of
           22
                  cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder funds in
           23
                  violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on United
           24
                  States based cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro and Defendants
           25
                  transferred funds to and from those vital United States based accounts in order to conduct the
           26
                  affairs of the Enterprise.
           27
                          445.      Therefore, Count IV Defendants, and each of them, are liable, jointly and
           28
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             1
                  severally, to Plaintiff Dolgov under 7 U.S.C. § 25(a) in the amount to be proven at trial.
             2
                                                                      COUNT V
             3                                          (Principal Agent Liability Under CEA)

             4            446.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-445 above

             5    as if fully set forth herein.

             6            447.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count

             7    V Defendants”).

             8            448.      Each Count V Defendant is liable under Section 2(a)(1)(B) of the CEA, 7 U.S.C. §

             9    2(a)(1)(B), for the manipulative acts of their agents, representatives, and/or other persons acting

           10     for them in the scope of their employment.

           11             449.      Plaintiff Dolgov sustained and is entitled to actual damages for the violations of

           12     the CEA alleged herein.

           13                                          COUNT VI
                   (Aiding and Abetting Manipulation Of Bitcoin Swaps And Cash Bitcoin In Violation Of 7
           14                                        U.S.C. § 25(a)(1))
           15             450.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-449 above
           16     as if fully set forth herein.
           17             451.      This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           18     VI Defendants”).
           19             452.      Count VI Defendants, and each of them, knowingly aided, abetted, counseled,
           20     induced and/or procured the violations of the CEA by Andrianov and unknown third persons as
           21     alleged herein. In addition, Defendant ABS knowingly aided, abetted, counseled, induced and/or
           22     procured the violations of the CEA by Defendants HDR, Hayes, Delo and Reed. Each Count VI
           23     Defendant did so with knowledge of other Defendants’ and unknown third persons’ manipulation
           24     of cryptocurrency prices through manipulative trades, and substantially and willfully intended to
           25     assist these manipulations to cause artificial prices, during the Relevant Period, in violation of
           26     Sections 13 and 22(a)(1) of the CEA, 7 U.S.C. §§ 13c(a) and 25(a)(1). For example, Defendant
           27     HDR knowingly aided and abetted Andrianov and unknown third persons in violation of the CEA
           28
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             1
                  by enabling the price manipulators to open unlimited number of anonymous trading accounts on
             2
                  HDR exchange and thereby hindering detection of said manipulation. Each of the Count VI
             3
                  Defendants HDR, Hayes, Delo, Reed was responsible for implementing this policy on the
             4
                  BitMEX exchange. Moreover, Defendant HDR knowingly aided and abetted Andrianov and
             5
                  unknown third persons in violation of the CEA by providing high leverage, by deliberately
             6
                  designing BitMEX indexes based on price data for cryptocurrencies from just three exchanges –
             7
                  BitStamp, Kraken and Coinbase Pro, all three of which have way lower liquidity than BitMEX
             8
                  and by using deliberate server freezes and fraudulent “system overloads” events to accept some
             9
                  trading orders and reject others during large market moves in order to exacerbate the artificial
           10
                  prices and increase the number of liquidations to benefit Defendants. Moreover, Defendant ABS
           11
                  knowingly aided, abetted, counseled, induced and/or procured the violations of the CEA by
           12
                  Defendants HDR, Hayes, Delo and Reed by furnishing to said Defendants software tools
           13
                  designed to cause deliberate server freezes alleged hereinabove using services of at least three
           14
                  Site Reliability Engineers: Jerry Aldrich, Scott H. and Armando Cerna, who created those tools
           15
                  and who all reside in and operate from this District.
           16
                          453.       As a proximate result of the Count VI Defendants’ actions as alleged herein,
           17
                  Plaintiff Dolgov sustained concrete monetary cryptocurrency Domestic Injury in the amount to be
           18
                  proven at trial.
           19
                          454.       Therefore, Count VI Defendants, and each of them, are liable, jointly and
           20
                  severally, to Plaintiff Dolgov under 7 U.S.C. § 25(a) in the amount to be proven at trial.
           21
                                                                               COUNT VII
           22                                                                  (Negligence)
           23             455.       Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-454 above
           24     as if fully set forth herein.
           25             456.       This Count is against Defendants HDR, ABS, Hayes, Delo and Reed (the “Count
           26     VII Defendants”).
           27             457.       California law imposes a duty to prevent purely economic loss to third parties in
           28
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             1
                  financial transactions. The foundational case on this subject outlines six factors for establishing a
             2
                  duty to protect against economic loss: “[1] the extent to which the transaction was intended to
             3
                  affect the plaintiff, [2] the foreseeability of harm to him, [3] the degree of certainty that the
             4
                  plaintiff suffered injury, [4] the closeness of the connection between the defendant’s conduct and
             5
                  the injury suffered, [5] the moral blame attached to the defendant’s conduct, and [6] the policy of
             6
                  preventing future harm.” Biakanja v. Irving, 49 Cal. 2d 647, 650 (1958).
             7
                         458.       Plaintiff Dolgov traded on BitMEX platform XBTUSD Bitcoin Perpetual Swaps.
             8
                  Plaintiff Dolgov was enticed to trade on BitMEX due to Defendants’ own predatory advertising
             9
                  tactics. Therefore, Count VII Defendants owed a duty to Plaintiff Dolgov to maintain a
           10
                  functional cryptocurrency derivatives marketplace. In re Facebook, Inc., IPO Securities and
           11
                  Derivative Litigation, 986 F. Supp. 2d 428 (S.D.N.Y. 2013) (NASDAQ owed investors a duty to
           12
                  properly process orders). Berk v. Coinbase, Case No. 18-cv-01364-VC, Dkt. 75 (Judge Chhabria
           13
                  held that Coinbase owed duty to its traders to maintain a functional cryptocurrency trading
           14
                  marketplace).
           15
                         459.       Moreover, Plaintiff Dolgov is informed and believes and thereon alleges that
           16
                  Count VII Defendants, and each of them, specifically intended to affect the prices of the bitcoin
           17
                  Perpetual Swap contracts and cash bitcoin in order to trigger specific market events as alleged
           18
                  above. For example, Count VII Defendants, and each of them, intended to cause the price of
           19
                  bitcoin Perpetual Swap contracts or cash bitcoin to reach levels that would trigger liquidation
           20
                  cascades and execution of other traders’ stop loss orders, as specifically alleged above. Thus,
           21
                  Count VII Defendants, and each of them, specifically intended to affect traders like Plaintiff
           22
                  Dolgov, by causing their financial ruin by triggering liquidation of their positions or by causing
           23
                  triggering of execution of their stop loss orders. Moreover, Count VII Defendants, and each of
           24
                  them, specifically intended to financially benefit from the financial ruin of other traders by buying
           25
                  spot bitcoin and bitcoin derivatives at artificially below market prices or by selling spot bitcoin
           26
                  and bitcoin derivatives at artificially above market prices. In addition, Count VII Defendants, and
           27
                  each of them, specifically intended to financially benefit from the financial ruin of other traders
           28
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             1
                  by liquidating trading positions of such trades by way of inducing artificial price moves and
             2
                  forcibly confiscating their collateral for the benefit of the Insurance Fund.
             3
                           460.       Because of Count VII Defendants’, and each of them, specific intent to trigger the
             4
                  alleged market events, financial harm and even ruin to traders like Plaintiff Dolgov was
             5
                  completely and entirely foreseeable to Defendants, and each of them. In fact, it was Defendants’,
             6
                  and each of them, specific intent to become unjustly enriched by reason of financially harming or
             7
                  ruining traders like Plaintiff Dolgov.
             8
                           461.       By reason of Count VII Defendants’, and each of them, breach of the legal duty to
             9
                  prevent economic harm to traders like Plaintiff Dolgov, imposed by California law, Plaintiff
           10
                  Dolgov sustained ascertainable, concrete and certain monetary trading losses in the amount to be
           11
                  proven at trial.
           12
                           462.       Count VII Defendants’, and each of them, conduct, namely unlawful market
           13
                  manipulation alleged above, was specifically intended to cause injury to traders like Plaintiff
           14
                  Dolgov.
           15
                           463.       Count VII Defendants’, and each of them, conduct was clearly fraudulent,
           16
                  unlawful and was motivated purely by personal greed. Thus, a high degree of moral blame is
           17
                  attached to the Count VII Defendants’, and each of them, intentional spot bitcoin as well as
           18
                  bitcoin derivatives market manipulation activities.
           19
                           464.       The State of California has a strong policy of preventing future harm to traders like
           20
                  Plaintiff Dolgov from unlawful and fraudulent conduct by Count VII Defendants, and each of
           21
                  them.
           22
                           465.       Accordingly, under California law, Count VII Defendants, and each of them, owed
           23
                  a legal duty to prevent economic harm to Plaintiff Dolgov.
           24
                           466.       Count VII Defendants, and each of them, breached the alleged legal duty to
           25
                  prevent economic harm to Plaintiff Dolgov by recklessly or negligently taking offline the
           26
                  BitMEX platform on or about March 13, 2020 and by recklessly or negligently manipulating the
           27
                  prices of spot bitcoin and bitcoin derivatives and thereby causing an economic injury to Plaintiff
           28
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             1
                  Dolgov.
             2
                          467.      As a factual (but for) and proximate (legal) result of the Count VII Defendants’,
             3
                  and each of them, negligent market manipulation activities, Plaintiff Dolgov sustained certain and
             4
                  concrete monetary cryptocurrency trading losses in the amount to be proven at trial.
             5
                          468.      In addition, Count VII Defendants, and each of them, breached the legal duty to
             6
                  maintain a functional cryptocurrency marketplace by recklessly or negligently taking offline the
             7
                  BitMEX platform on or about March 13, 2020.
             8
                          469.      As a factual (but for) and proximate (legal) result of the Count VII Defendants’,
             9
                  and each of them, breach of the legal duty to maintain a functional cryptocurrency marketplace,
           10
                  Plaintiff Dolgov sustained certain and concrete monetary cryptocurrency trading losses in the
           11
                  amount to be proven at trial.
           12
                          470.      The aforesaid amount constitutes a certain and concrete financial loss of the
           13
                  Plaintiff Dolgov factually (directly) and legally (proximately) caused by Count VII Defendants’,
           14
                  and each of them, unlawful conduct.
           15
                                                                               COUNT VIII
           16                                                                    (Fraud)
           17             471.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-470 above
           18     as if fully set forth herein.
           19             472.      This Count is against Defendants HDR, ABS, Hayes, Delo, Reed, Agata Reed,
           20     Barbara Reed and Trace Reed (the “Count VIII Defendants”).
           21             473.      Pursuant to California law, “fraud may arise from conduct that is designed to
           22     mislead, and not only from verbal or written statements.” Tenet Healthsystem Desert, Inc. v. Blue
           23     Cross of California (2016) 245 Cal.App.4th 821, 839 [199 Cal.Rptr.3d 901].
           24             474.      Allegations of specific acts constituting fraud set forth in Paragraphs 317-326
           25     above are incorporated as if fully set forth herein.
           26             475.      Count VIII Defendants’, and each of them, market manipulation including, without
           27     limitation, pumps and dumps, Barts and spoofing, were the conduct that was specifically designed
           28
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             1
                  to mislead traders like Plaintiff Dolgov. For example, as alleged hereinabove, pumps and dumps,
             2
                  Barts and spoofing were perpetrated by Count VIII Defendants, and each of them, with the
             3
                  specific purpose of deceiving other market participants as to market-based forces of supply and
             4
                  demand for an asset and enticing unsuspecting traders, or other trading algorithms, to follow the
             5
                  trade and place orders that they would not have otherwise placed. Moreover, pumps and dumps,
             6
                  Barts and spoofing were intended by Count VIII Defendants, and each of them, to trick other
             7
                  market participants into reacting to an apparent change and imbalance of supply and demand by
             8
                  buying and selling bitcoin Perpetual Swaps at times, prices and quantities that they otherwise
             9
                  would likely not have traded.
           10
                         476.       Thus, pumps and dumps, Barts and spoofing were examples of the conduct that
           11
                  was specifically designed by Count VIII Defendants, and each of them, to mislead Plaintiff
           12
                  Dolgov as well as other traders.
           13
                         477.       Plaintiff Dolgov as well as other traders were in fact mislead by Count VIII
           14
                  Defendants’, and each of them, manipulative and fraudulent acts intended to mislead and defraud,
           15
                  including, without limitation, by pumps and dumps, Barts and spoofing perpetrated by Count VIII
           16
                  Defendants, and each of them, and placed orders that they would not have otherwise placed.
           17
                         478.       Plaintiff Dolgov, at the time of the alleged manipulative and fraudulent acts
           18
                  intended to mislead and defraud, which were perpetrated by Count VIII Defendants, and each of
           19
                  them, and at the time Plaintiff Dolgov took the trades herein alleged, was ignorant of the
           20
                  manipulative and fraudulent nature of conduct of the Count VIII Defendants, and each of them,
           21
                  and believed that the market conditions were in fact dictated by market forces of supply and
           22
                  demand.
           23
                         479.       Plaintiff Dolgov, at the time the alleged manipulative and fraudulent acts intended
           24
                  to mislead and defraud were made by Count VIII Defendants, and each of them, and at the time
           25
                  Plaintiff Dolgov took the actions herein alleged, was ignorant of secret intentions of Count VIII
           26
                  Defendants, and each of them, to mislead and defraud Plaintiff Dolgov and other traders and
           27
                  Plaintiff Dolgov could not, in the exercise of reasonable diligence, have discovered the secret
           28
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             1
                  intentions of Count VIII Defendants, and each of them.
             2
                          480.      Had Plaintiff Dolgov known the actual facts, Plaintiff Dolgov would not have
             3
                  taken such alleged actions.
             4
                          481.      If Plaintiff Dolgov had known of the actual intention of Count VIII Defendants,
             5
                  and each of them, Plaintiff Dolgov would not have taken the alleged trades. Plaintiff Dolgov’s
             6
                  reliance on fraudulent and manipulative conduct of Count VIII Defendants, and each of them,
             7
                  was justified because Plaintiff Dolgov rightfully assumed that the market conditions of spot
             8
                  bitcoin and bitcoin derivatives markets were due to the actual market forces of supply and
             9
                  demand.
           10
                          482.      As a proximate result of fraud and deceit perpetrated by Count VIII Defendants,
           11
                  and each of them, and based on the facts herein alleged, Plaintiff Dolgov have been damaged in
           12
                  the amount to be proven at trial.
           13
                          483.      In doing the wrongful acts herein alleged, Count VIII Defendants, and each of
           14
                  them, acted with oppression, fraud, and malice, and Plaintiff Dolgov is entitled to punitive
           15
                  damages in the amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
           16
                                                                           COUNT IX
           17                                                           (Civil Conspiracy)
           18             484.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-483 above
           19     as if fully set forth herein.
           20             485.      This Count is against Defendants HDR, ABS, Hayes, Delo, Reed, Agata Reed,
           21     Barbara Reed and Trace Reed (the “Count IX Defendants”).
           22             486.      At some time point during the Relevant Period, Count IX Defendants, and each of
           23     them, knowingly and willfully conspired and agreed among themselves to defraud traders by
           24     perpetrating a manipulative, fraudulent and deceptive scheme to manipulate the prices of certain
           25     cryptocurrency derivatives, including, without limitation, bitcoin swaps, as well as the cash prices
           26     of cryptocurrencies, including, without limitation, cash bitcoin.
           27             487.      Count IX Defendants, and each of them, did the acts and things hereinabove
           28
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             1
                  alleged pursuant to, and in furtherance of, the conspiracy and hereinabove alleged agreement.
             2
                          488.      Count IX Defendants, and each of them, furthered the alleged conspiracy by
             3
                  cooperation with, or by lending aid and encouragement to, or ratification and adoption of the acts
             4
                  of other Count IX Defendants, and each of them.
             5
                          489.      Count IX Defendants, and each of them, were fully aware that the other
             6
                  Defendants, and each of them, planned to perpetrate fraud and deceit upon Plaintiff Dolgov as
             7
                  well as other traders.
             8
                          490.      Count IX Defendants, and each of them, agreed with the other Count IX
             9
                  Defendants, and each of them, and intended that the alleged fraud and deceit be committed upon
           10
                  Plaintiff Dolgov and other traders.
           11
                          491.      As a proximate result of the fraud and deceit perpetrated by Count IX Defendants,
           12
                  and each of them, and according to the facts herein alleged, Plaintiff Dolgov have been damaged
           13
                  in the amount to be proven at trial.
           14
                          492.      In doing the wrongful acts herein alleged, Count IX Defendants, and each of them,
           15
                  acted with oppression, fraud, and malice, and Plaintiff Dolgov is entitled to punitive damages in
           16
                  the amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
           17
                                                           COUNT X
           18          (Unfair Business Practices In Violation Of Cal. Bus. & Prof. Code §§ 17200 et seq.)
           19             493.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-492 above
           20     as if fully set forth herein.
           21             494.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           22     Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count X
           23     Defendants”).
           24             495.      By reason of Count X Defendants’, and each of them, fraudulent, deceptive,
           25     unfair, and other wrongful conduct as herein alleged, said Count X Defendants, and each of them,
           26     have violated Cal. Bus. & Prof. Code §§ 17200 et seq. by consummating an unlawful, unfair, and
           27     fraudulent business practice, designed to deprive Plaintiff Dolgov of his bitcoin holdings.
           28
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             1
                          496.      “The ‘unlawful’ practices prohibited by Cal. Bus. & Prof. Code §§ 17200 et seq.
             2
                  are any practices forbidden by law, be it civil or criminal, federal, state, or municipal, statutory,
             3
                  regulatory, or court-made. Watson Labs., Inc. v. Rhone-Poulenc Rorer, Inc., (C.D. Cal 2001) 178
             4
                  F.Supp.2d 1099, 1120; People v. McKale, (1979) 25 Cal.3d 626.
             5
                          497.      Count X Defendants’, and each of them, unlawful practices for purposes of Cal.
             6
                  Bus. & Prof. Code §§ 17200 et seq. include, without limitation, the hereinabove-alleged unlawful
             7
                  acts perpetrated by Defendants, and each of them, which violate the following criminal statutes:
             8
                          a.        18 U.S.C. § 1343 (wire fraud);
             9
                          b.        18 U.S.C. § 1952 (engaging in interstate and foreign travel or transportation in aid
           10
                  of racketeering enterprise);
           11
                          c.        18 U.S.C. § 1956(a) (money laundering);
           12
                          d.        18 U.S.C. § 1957(a) (engaging in monetary transactions in property derived from
           13
                  specified unlawful activity);
           14
                          e.        18 U.S.C. § 1960(a) (conducting, controlling, managing, supervising, directing, or
           15
                  owning all or part of an unlicensed money transmitting business);
           16
                          f.        18 U.S.C. § 2314 (interstate transportation of stolen property);
           17
                          g.        18 U.S.C. § 1962(c) (conducting or participating, directly or indirectly, in the
           18
                  conduct of enterprise’s affairs through a pattern of racketeering activity);
           19
                          h.        18 U.S.C. § 1962(d) (conspiracy to conduct or participate, directly or indirectly, in
           20
                  the conduct of enterprise’s affairs through a pattern of racketeering activity);
           21
                          i.        Cal. Fin. Code § 2152(b) (engaging in unlicensed money transmitting business in
           22
                  California);
           23
                          j.        31 U.S.C. § 5318(h)(1) (failing to establish an anti-money laundering program at a
           24
                  financial institution);
           25
                          k.        31 U.S.C. § 5318(l) (failing to implement reasonable procedures to verify the
           26
                  identity of any person seeking to open an account, failing to maintain records of information used
           27
                  to verify a person’s identify, and failing to consult lists of known or suspected terrorists or
           28
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             1
                  terrorist organizations);
             2
                          l.        31 U.S.C. § 5322(a) (criminal violation of Bank Secrecy Act);
             3
                          m.        31 U.S.C. § 5322(c) (criminal violation of Bank Secrecy Act); and
             4
                          n.        18 U.S.C. § 371 (conspiracy to commit offense or to defraud United States).
             5
                          498.      Count X Defendants’, and each of them, ‘unlawful’ practices for purposes of Cal.
             6
                  Bus. & Prof. Code §§ 17200 et seq. further include, without limitation, the hereinabove-alleged
             7
                  unlawful acts perpetrated by Count X Defendants, and each of them, that violate the following
             8
                  civil statutes:
             9
                          o.        7 U.S.C. § 9(1) (using a manipulative or deceptive device or contrivance in
           10
                  connection with bitcoin Perpetual Swaps and cash bitcoin);
           11
                          p.        7 U.S.C. § 9(3) (manipulation and attempted manipulation of bitcoin Perpetual
           12
                  Swaps and cash bitcoin);
           13
                          q.        7 U.S.C. § 13(a)(2) (manipulation and attempted manipulation of bitcoin Perpetual
           14
                  Swaps and cash bitcoin).
           15
                          r.        7 U.S.C. § 6(a) (2018), or, alternatively, 7 U.S.C. § 4(b) and 17 C.F.R. § 48.3
           16
                  (2019) (offering, entering into, confirming the execution of, or otherwise dealing in, off-exchange
           17
                  commodity futures transactions);
           18
                          s.        7 U.S.C. § 6c(b) (2018), and 17 C.F.R. § 32.2 (2019) (offering, entering into,
           19
                  confirming the execution of, or transacting in off- exchange transactions in commodity options);
           20
                          t.        7 U.S.C. § 6d (2018) (acting as an unregistered FCM);
           21
                          u.        7 U.S.C. § 7b-3(1) (2018), and 17 C.F.R. § 37.3(a)(1) (2019) (operating a facility
           22
                  for the trading or processing of swaps without being registered as a SEF or as a DCM);
           23
                          v.        17 C.F.R. § 166.3 (2019) (failing to supervise); and
           24
                          w.        17 C.F.R. § 42.2 (2019) (failing to comply with applicable provisions of the Bank
           25
                  Secrecy Act).
           26
                          499.      Allegations of specific acts constituting fraud set forth in Paragraphs 317-326
           27
                  above are incorporated as if fully set forth herein. These acts constitute “fraudulent, deceptive,
           28
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             1
                  unfair” acts for purposes of Cal. Bus. & Prof. Code §§ 17200 et seq.
             2
                          500.      Thus, by reason of the foregoing, Count X Defendants have violated Bus. & Prof.
             3
                  Code §§ 17200 et seq. by consummating an unlawful, unfair, deceptive and fraudulent business
             4
                  practice, designed to deprive Plaintiff Dolgov of his bitcoin holdings.
             5
                          501.      By reason of the foregoing and as a proximate result of Count X Defendants’, and
             6
                  each of them, violation of Cal. Bus. & Prof. Code §§ 17200 et seq. as herein alleged, Plaintiff
             7
                  Dolgov has been damaged in the amount to be proven at trial.
             8
                          502.      Therefore, Plaintiff Dolgov is entitled to restitution from Count X Defendants, and
             9
                  each of them, in the amount to be proven at trial.
           10
                                                                      COUNT XI
           11                                               (Unjust Enrichment (Restitution))
           12             503.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-502 above
           13     as if fully set forth herein.
           14             504.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           15     Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XI
           16     Defendants”).
           17             505.      As a result of the unlawful actions of c set forth hereinabove, Count XI
           18     Defendants, and each of them, have received a financial benefit at the expense of Plaintiff
           19     Dolgov.
           20             506.      Count XI Defendants, and each of them, had knowledge of the alleged benefit.
           21             507.      Count XI Defendants, and each of them, voluntarily accepted and retained the
           22     benefit obtained.
           23             508.      For example, Defendants Agata Reed, Barbara Reed and Trace Reed are in
           24     possession of two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA
           25     02061, with the aggregate market value of over $2,500,000, acquired using funds misappropriated
           26     from Plaintiff through market manipulation and laundered by Defendants through the Defendant
           27     Unknown Exchange and thir real estate money laundering scheme.
           28
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             1
                          509.      The circumstances render Count XI Defendants’ retention of the benefit
             2
                  inequitable unless Count XI Defendants, and each of them, pay to Plaintiff Dolgov the value of
             3
                  the benefit.
             4
                          510.      Count XI Defendants, and each of them, have been unjustly enriched at the
             5
                  expense of Plaintiff Dolgov.
             6
                          511.      Plaintiff Dolgov is entitled to damages as a result of Count XI Defendants’, and
             7
                  each of them, unjust enrichment, including the disgorgement of all benefits unlawfully obtained
             8
                  by Count XI Defendants, and each of them, from Plaintiff Dolgov.
             9
                          512.      As a result of the actions of Count XI Defendants, and each of them, set forth
           10
                  hereinabove, Defendants, and each of them, became unjustly enriched, and as a result thereof,
           11
                  Plaintiff Dolgov is entitled to damages in the amount to be proven at trial, which constitutes a
           12
                  certain and concrete financial loss of the Plaintiff Dolgov factually (directly) and legally
           13
                  (proximately) caused by Count XI Defendants, and each of them, unlawful conduct.
           14
                                                                         COUNT XII
           15                                                         (Constructive Trust)
           16             513.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-512 above
           17     as if fully set forth herein.
           18             514.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
           19     Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XII
           20     Defendants”).
           21             515.      By reason of the fraudulent and otherwise wrongful manner in which the Count
           22     XII Defendants, or any of them, obtained their alleged right, claim or interest in and to the
           23     property of Plaintiff Dolgov, Count XII Defendants and each of them, have no legal or equitable
           24     right, claim or interest therein, but, instead, Count XII Defendants, and each of them are
           25     involuntary trustees holding said property and profits therefrom in constructive trust for Plaintiff
           26     Dolgov with the duty to convey the same to Plaintiff Dolgov forthwith.
           27
           28
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             1                                                                 COUNT XIII
                                                                               (Accounting)
             2
                          516.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-515 above
             3
                  as if fully set forth herein.
             4
                          517.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Unknown
             5
                  Exchange, Hayes, Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XIII
             6
                  Defendants”).
             7
                          518.      As a result of the actions of Count XIII Defendants, and each of them, set forth
             8
                  hereinabove, Count XIII Defendants, and each of them, have received money, which is due to
             9
                  Plaintiff Dolgov from Count XIII Defendants, and each of them, as previously alleged.
           10
                          519.      The amount of money due from Count XIII Defendants to Plaintiff Dolgov is
           11
                  unknown to Plaintiff Dolgov and cannot be ascertained without an accounting of the receipts and
           12
                  disbursements of Count XIII Defendants, and each of them, in connection with the alleged
           13
                  unlawful market manipulation by Count XIII Defendants.
           14
                          520.      Plaintiff Dolgov has demanded an accounting of the aforementioned receipts and
           15
                  disbursements of Count XIII Defendants, and each of them, in connection with the alleged
           16
                  unlawful market manipulation and payment of the amount found due, but Count XIII Defendants,
           17
                  and each of them, have failed and refused, and continue to fail and refuse, to render such an
           18
                  accounting and to pay such sum.
           19
                                                                               COUNT XIV
           20                                                                  (Conversion)
           21             521.      Plaintiff Dolgov incorporates the allegations set forth in Paragraphs 1-520 above

           22     as if fully set forth herein

           23             522.      This Count is against Defendants HDR, ABS, Grape Park, Mark Sweep, Hayes,

           24     Delo, Reed, Agata Reed, Barbara Reed and Trace Reed (the “Count XIV Defendants”).

           25             523.      During the Relevant Period, Plaintiff was and still is the owner and is entitled to

           26     the possession of the following property, namely his valuable bitcoin holdings deposited in

           27     Plaintiff’s BitMEX trading account.

           28             524.      At various times mentioned in this Complaint, Defendants took the above-
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             1
                  mentioned property, including Plaintiff’s valuable bitcoin holdings deposited in Plaintiff’s
             2
                  respective BitMEX and Kraken trading accounts from Plaintiff’s possession and converted the
             3
                  same to their own use.
             4
                         525.       For example, Defendants Agata Reed, Barbara Reed and Trace Reed are in
             5
                  possession of two real estate properties located in Lake Tomahawk, WI 54539 and Norwell, MA
             6
                  02061, with the aggregate market value of over $2,500,000, acquired using funds misappropriated
             7
                  from Plaintiff through market manipulation and laundered by Defendants through the Defendant
             8
                  Unknown Exchange and their real estate money laundering scheme.
             9
                         526.       As a proximate result of Defendants’ conversion alleged herein, Plaintiff Dolgov is
           10
                  entitled to damages in the amount to be proven at trial, which constitutes a certain and concrete
           11
                  financial loss of Plaintiff Dolgov factually (directly) and legally (proximately) caused by Count
           12
                  XIV Defendants, and each of them, conversion.
           13
                                                                               PRAYER
           14
                         By reason of the foregoing, Plaintiff Dolgov respectfully request that this Court:
           15
                         (a)        enter a judgment that Defendants, and each of them, conducted or participated in
           16
                  the conduct of enterprise’s affairs through a pattern of racketeering activity in violation of 18
           17
                  U.S.C. § 1962(c);
           18
                         (b)        enter a judgment that Defendants, and each of them, conspired to conduct or
           19
                  participate in the conduct of enterprise’s affairs through a pattern of racketeering activity in
           20
                  violation of 18 U.S.C. § 1962(d);
           21
                         (c)        enter a judgment that Defendants, and each of them, have used deceptive or
           22
                  manipulative device in connection with cryptocurrencies Perpetual Swap contracts,
           23
                  cryptocurrencies swaps and cash cryptocurrencies in violation of 7 U.S.C. § 9(1);
           24
                         (d)        enter a judgment that Defendants, and each of them, have manipulated prices of
           25
                  cryptocurrencies Perpetual Swap contracts, cryptocurrencies swaps and cash cryptocurrencies in
           26
                  violation of 7 U.S.C. §§ 9(3) and 13(a)(2);
           27
                         (e)        enter a judgment that Defendants, and each of them, have aided and abetted
           28
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             1
                  manipulation of prices of cryptocurrencies Perpetual Swap contracts, cryptocurrencies swaps and
             2
                  cash cryptocurrencies by the other Defendants and third persons;
             3
                         (f)        enter a judgment that Defendants, and each of them, have acted negligently;
             4
                         (g)        enter a judgment that Defendants, and each of them, have perpetrated fraud upon
             5
                  Plaintiff Dolgov;
             6
                         (h)        enter a judgment that Defendants, and each of them, have conspired to perpetrate
             7
                  fraud upon Plaintiff Dolgov;
             8
                         (i)        enter a judgment that Defendants, and each of them, have engaged in unfair
             9
                  business practices in violation of Cal. Bus. & Prof. Code §§ 17200 et seq.;
           10
                         (j)        preliminarily and permanently enjoin Defendants, and each of them, their officers,
           11
                  subsidiaries, affiliates distributors, agents, servants, employees, attorneys, and all persons in
           12
                  active concert with them, from any further violation of Federal and California laws;
           13
                         (k)        enter a judgment that Defendants, and each of them, because unjustly enriched at
           14
                  the expense of Plaintiff Dolgov;
           15
                         (l)        impose a constructive trust over Defendants, and each of them, for the benefit of
           16
                  Plaintiff Dolgov;
           17
                         (m)        order an accounting of the alleged receipts and disbursements of Defendants, and
           18
                  each of them, in connection with the alleged unlawful market manipulation and payment of the
           19
                  amount found due to Plaintiff Dolgov;
           20
                         (n)        enter judgment that Defendants, and each of them, acted with malice, fraud and
           21
                  oppression;
           22
                         (o)        award compensatory damages to Plaintiff Dolgov and against all Defendants, and
           23
                  each of them, jointly and severally, in the amount to be proven at trial.
           24
                         (p)        award treble damages to Plaintiff Dolgov and against all Defendants, and each of
           25
                  them, jointly and severally, in the amount to be proven at trial pursuant to 18 U.S.C. § 1964(c);
           26
                         (q)        award reasonable attorney fees, costs and prejudgment interest to Plaintiff Dolgov
           27
                  and against all Defendants, and each of them, jointly and severally;
           28
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             1
                         (r)        award Plaintiff Dolgov exemplary and punitive damages, pursuant to Cal. Civ.
             2
                  Code § 3294, against all Defendants, and each of them, jointly and severally, in the amount of
             3
                  $50,000,000; and
             4
                         (s)        award Plaintiff Dolgov such other relief as this Court deems just and proper.
             5
             6    Dated: October 14, 2020                                                Respectfully submitted,

             7                                                                           By: /s/ Pavel I. Pogodin
                                                                                                Pavel I. Pogodin
             8
                                                                                         CONSENSUS LAW
             9                                                                           Pavel I. Pogodin, Ph.D., Esq.
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           13                                                                            Email: pp@consensuslaw.io
                                                                                         Attorneys for Plaintiff Dmitry Dolgov
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             1                                                  DEMAND FOR JURY TRIAL
             2
             3    Pursuant to Fed. R. Civ. P. 38, Plaintiff Dolgov demands trial by jury of all issues triable to a
             4    jury.
             5
                  Dated: October 14, 2020                                                  Respectfully submitted,
             6
                                                                                           By: /s/ Pavel I. Pogodin
             7                                                                                    Pavel I. Pogodin
             8                                                                             CONSENSUS LAW
             9                                                                             Pavel I. Pogodin, Ph.D., Esq.
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